     Case 5:23-cv-04996-SVK     Document 1-1     Filed 09/28/23     Page 1 of 112




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 9 Attorneys for Defendant
   CRISIS24 PROTECTIVE SOLUTIONS, LP
10

11                            UNITED STATES DISTRICT COURT

12                          NORTHERN DISTRICT OF CALIFORNIA

13                                      SAN JOSE DIVISION

14

15 RUSTIN FOX and GABRIELE SANTI,                Case No.
   individuals, on behalf of themselves and on
16 behalf of all persons similarly situated,
                   Plaintiffs,                   DECLARATION OF JOSEPH D. LEE IN
17                                               SUPPORT OF NOTICE OF REMOVAL
           vs.                                   OF ACTION PURSUANT TO 28 U.S.C.
18                                               §§ 1332, 1441, 1446, AND 1453
   CRISIS24 PROTECTIVE SOLUTIONS, LP, a
19 Limited Partnership; and DOES 1 through 50,
   inclusive,                                    Complaint Filed:    July 7, 2023
20
                   Defendants.
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                 DECLARATION OF JOSEPH D. LEE IN SUPPORT OF NOTICE OF REMOVAL
     Case 5:23-cv-04996-SVK          Document 1-1       Filed 09/28/23      Page 2 of 112




 1          I, Joseph D. Lee, declare as follows:

 2          1.      I am a member of the law firm of Munger, Tolles & Olson LLP, counsel for

 3 Defendant Crisis24 Protective Solutions, LP. I am admitted to practice in the State of California

 4 and in the United States District Court for the Northern District of California. The facts set forth

 5 herein are known to me personally, and, if called as a witness, I could and would testify

 6 competently thereto.

 7          2.      Attached hereto as Exhibit A is a true and correct copy of a service package

 8 reflecting that, on September 1, 2023, Plaintiffs Rustin Fox and Gabriele Santi (together

 9 “Plaintiffs”) served on Crisis24 Protective Solutions, LP’s registered agent via process server the

10 following documents: the Summons, Complaint, Civil Lawsuit Notice, Civil Case Cover Sheet,

11 Santa Clara County Superior Court Alternative Dispute Resolution Information Sheet, and

12 Superior Court of California, County of Santa Clara Complex Civil Guidelines.

13          3.      As reflected in the attached Complaint, on July 7, 2023, Plaintiffs, on behalf of

14 themselves and on behalf of all persons similarly situated, filed a class action complaint in the

15 Superior Court of the State of California for the County of Santa Clara against Defendant Crisis24

16 Protective Solutions, LP (“Crisis24”), entitled Rustin Fox and Gabriele Santi, individuals, on

17 behalf of themselves and on behalf of all persons similarly situated v. Crisis24 Protective

18 Solutions, LP, a Limited Partnership; and DOES 1 through 50, inclusive, Case No. 23CV418864

19 (the “State Court Action”). A true and correct copy of the Complaint in the State Court Action is

20 included in Exhibit A attached hereto.

21          4.      On September 27, 2023 Defendant Crisis24 filed its Answer and General Denial in

22 the State Court Action. A true and correct copy of the Answer is attached as Exhibit B.

23          5.      Exhibits A and B collectively comprise all of the documents filed thus far in the

24 State Court Action.

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                                                      -1-
                    DECLARATION OF JOSEPH D. LEE IN SUPPORT OF NOTICE OF REMOVAL
     Case 5:23-cv-04996-SVK         Document 1-1        Filed 09/28/23     Page 3 of 112




 1          6.     Defendant' Notice of Removal is being filed September 28, 2023, within 30 days of

 2 the date of service on Defendant. It is therefore timely filed pursuant to 28 U.S.C. § 1446(b).

 3          I declare under penalty of perjury under the laws of the United States of America and the

 4 State of California that the foregoing is true and correct.
 5          This declaration was executed on September 28, 2023, at Los Angeles, California.

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                   DECLARATION OF JOSEPH D. LEE IN SUPPORT OF NOTICE OF REMOVAL
Case 5:23-cv-04996-SVK   Document 1-1   Filed 09/28/23   Page 4 of 112




 EXHIBIT A
   Case 5:23-cv-04996-SVK                      Document 1-1            Filed 09/28/23            Page 5 of 112
                                                                                                          CT Corporation
,, Wolters Kluwer                                                                         Service of Process Notification
                                                                                                                   09/01/2023
                                                                                                     CT Log Nu mber 544639800



 Service of Process Transmittal Summary

 TO:       GPS Legal Notices Crisis24
           Crisis24, Inc.
           2000 NW CORPORATE BLVD
           BOCA RATON, FL33431-7304


 RE:       Process Served in California

 FOR:      Crisis24 Protective Solutions, LP (Domestic State: DE)



 ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOUOWS:

 TlnE OF ACTION:                          Re: RUSTIN FOX and GABRIELE SANTI, individuals, on behalf of themselves and on behalf
                                          of all persons similarly situated // To: Crisis24 Protective Solutions, LP

 CASE#:                                   23CV418864

 NATURE OF ACTION:                        Employee Litigation

 PROCESS SERVED ON:                       CT Corporation System, GLENDALE, CA

 DATE/METHOD OF SERVICE:                  By Process Server on 09/01/ 2023 at 11:55

 JURISDICTION SERVED:                     California

 ACTION ITEMS:                            SOP Papers with Transmittal, via UPS Next Day Air

                                          Image SOP

                                          Email Notification, GPS Legal Notices Crisis24 gpslegalnotice@crisis24.com

                                          Email Notification, STACIE JOYNER-PETTWAY stacie.joyner-pettway@crisis24.com

                                          Email Notification, Gabriela Gonzalez gabriela.gonzalez@crisis24.com


 REGISTERED AGENT CONTACT:                CT Corporation System
                                          330 N BRAND BLVD
                                          STE 700
                                          GLENDALE, CA 91203
                                          877-467-3525
                                          SmallBusinessTeam@wolterskluwer.com




 The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
 and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
 information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
 included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
 d isclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
 contained therein.




                                                                                                                       Page 1 of 1
                Case 5:23-cv-04996-SVK     Document 1-1              Filed 09/28/23   Page 6 of 112


                                                                                  ®®    Wolters Kluwer

                               PROCESS SERVER DELIVERY DETAILS



Date:                                                 Fri, Sep 1, 2023
Server Name:                                          COUNTY LEGAL




 Entity Served                   crisis24 protective solutions, Ip


 Case Number                     23CV418864
 Jurisdiction                    CA



                                                      Inserts
                Case 5:23-cv-04996-SVK                      Document 1-1                Filed 09/28/23                 Page 7 of 112
                                                                                                                                                      SUM-100
                                          SUMMONS                                                                          FOR COURT USE ONLY
                                                                                                                       (SOLO PARA USO DE LA CORTE)
                                   (CITACION JUDICIAL)
NOTICE TO DEFENDANT:                                                                                          E-FILED
(AV/SO AL DEMANDADO):
CRISIS24 PROTECTIVE SOLUTIONS, LP, a Limited Partnership; and                                                 7/7/2023 1:10 PM
DOES 1 through 50, inclusive,                                                                                 Clerk of Court
                                                                                                              Superior Court of CA,
YOU ARE BEING SUED BY Pl.AINTIFF:                                                                             County of Santa Clara
(LO ESTA DEMANDANDO EL DEMANDANTE):                                                                           23CV418864
RUSTIN FOX and GABRIELE SANTI, individuals, on behalf of                                                      Reviewed By: R. Cachux
themselves and on behalf of all persons similarly situated,                                                   Envelope: 12421879
 NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 JA VISO/ Lohan demandado. Si no responde dentro de 30 dfas, la corte puede decidir en su contra sin escuchar su versi6n. Lea la inforrnaci6n a
 continuaci6n.
    Tiene 30 DIAS DE CALENDAR/O despues de que le entreguen es/a citaci6n y papeles legales para presentar una respuesta por escrito en es/a
 corte y hacer que se entregue una copia al demandante. Una carta o una 1/amada telef6nica no lo protegen. Su respuesta por escrito tiene que eslar
 en Formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos forrnularios de la corte y mas inforrnaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.govJ, en la
 biblioteca de /eyes de su condado o en /a corte que le quede mas cerca. Si no puede pagar /a cuola de presentaci6n. pida al secretario de la corte
 que le de un forrnulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y /a corte le
 podra quitar su sue/do, dinero y bienes sin mas advertencia.
   Hay otros requisites leg ales. Es recomendable que 1/ame a un abogado inmediatamente. Si no conoce a un abogado, puede 1/amar a un servicio de
 remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
 programa de servicios leg ales sin fines de lucro. Puede encontrar estos grupos sin fines de /ucro en el sitio web de California Legal Services,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.govJ o poniendose en contacto con /a corte o el
 colegio de abogados locales. AV/SO: Por ley, /a carte tiene derecho a reclamar /as cuolas y /os costos exentos por imponer un gravamen sobre
 cualquier recuperaci6n de $10,000 6 mas de valor recibida median le un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la corte antes de que /a corte pueda desechar el caso.

The name and address of the court is:                                                                    CASE NUMBER:
                                                                                                         (N/Jmero del Caso/:
(El nombrey direcci6n de la corte es):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SANTA CLARA .__                                                     _______________
                                                                                                              23CV418864                                           _,
Downtown
191 North First Street, San Jose, CA 95113
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direcci6n y el numero de telefono de/ abogado de/ demandante. o de/ demandante que no tiene abogado, es):
Norman B. Blumenthal                 (Bar# 68687)                                                                      Fax No.: (858) 551-1232
Blumenthal Nordrehaug Bhowmik De Blouw LLP, 2255 Calle Clara, La Jolla, CA 92037                                     Phone No.: (858) 551-1223
DATE: 7/7/2023 1:10 PM                   Clerk of Court              Clerk, by     R. Cachux                                             , Deputy
(Fecha)                                                              (Secretario)                                                                      (AdJunto)
(For proof of service of this summons. use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citati6n use el formulario Proof of Service of Summons, (POS-010)).
                                  NOTICE TO THE PERSON SERVED: You are served
                                  1.      D
                                          as an individual defendant.
                                  2.      D
                                          as the person sued under the fictitious name of (specify):


                                     3. [X] on behalf of (specify): CRISIS24 PROTECTIVE SOLUTIONS, LP

                                          under:   D      CCP 416.10 (corporation)                        D         CCP 416.60 (minor)
                                                   D      CCP 416.20 (defunct corporation)                D         CCP 416.70 (conservatee)
                                                   [XJ    CCP 416.40 (association or partnership)         D         CCP 416.90 (authorized person)
                                                   D    other (specify):
                                     4.   D     by personal delivery on (date):
                                                                                                                                                         Pa e 1 of 1
 Form Adopted !or Mandatory Use                                       SUMMONS                                                  Code ol Civil Procedure§§ 412.20. 465
   Judicial Council ol Calilomia                                                                                                                 www.cout1info.ca.gov
  SUM-100 (Rev. July 1. 2009]                                                                       LexlsNexis® Alllomated California Judicial Council Forms
     Case 5:23-cv-04996-SVK                   Document 1-1           Filed 09/28/23   Page 8 of 112

                                                                                 E-FILED
                                                                                 7/7/2023 1:10 PM
 1    BLUMENTHAL NORDREHAUG BHOWMIK DE BLOUW LLP
                                                                                 Clerk of Court
      Norman B. Blumenthal (State Bar #068687)                                   Superior Court of CA,
 2    Kyle R. Nordrehaug (State Bar #205975)                                     County of Santa Clara
      Aparajit Bhowmik (State Bar #248066)                                       23CV418864
 3    Nicholas J. De Blouw (State Bar #280922)                                   Reviewed By: R. Cachux
      2255 Calle Clara
 4    La Jolla, CA 92037
      Telephone: (858)55 I- I 223
 5    Facsimile: (858) 551-1232
      Website: www.bamlawca.com
 6
      Attorneys for Plaintiff
 7
                                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8
                                            IN AND FOR THE COUNTY OF SANTA CLARA
 9                                                                          23CV418864
       RUSTIN FOX and GABRIELE SANTI, individuals, on            Case No. _ _ _ _ _ __
10     behalfofthemselves and on behalfofall persons similarly   CLASS ACTION COMPLAINT FOR:
       situated,                                                 I. UNFAIR COMPETITION IN VIOLATION OF CAL.
11                                                               BUS. & PROF. CODE§§ 17200, et seq.;
                                                                 2. FAILURE TOP AY MINIMUM WAGES IN
12                                                               VIOLATION OF CAL. LAB. CODE§§ I 194, I 197 &
                            Plaintiffs,                          I 197.1;
13                                                               3. FAILURE TO PAY OVERTIME WAGES IN
       vs.                                                       VIOLATION OF CAL. LAB. CODE§ 510;
14                                                               4. FAILURE TO PROVIDE REQUIRED MEAL PERIODS
       CRISIS24 PROTECTIVE SOLUTIONS, LP, a Limited              IN VIOLATION OF CAL. LAB. CODE §§ 226. 7 & 512
15     Partnership; and DOES I through 50, inclusive,            AND THE APPLICABLE IWC WAGE ORDER;
                                                                 5. FAILURE TO PROVIDE REQUIRED REST PERIODS
16                                                               IN VIOLATION OF CAL. LAB. CODE§§ 226.7 & 512
                                                                 AND THE APPLICABLE IWC WAGE ORDER;
17                          Defendants.                          6. FAILURE TO PROVIDE ACCURATE ITEMIZED
                                                                 STATEMENTS IN VIOLATION OF CAL. LAB. CODE §
18                                                               226;
                                                                 7. FAILURE TO REIMBURSE EMPLOYEES FOR
19                                                               REQUIRED EXPENSES IN VIOLATION OF CAL. LAB.
                                                                 CODE§ 2802;
20                                                               8. FAILURE TO PROVIDE WAGES WHEN DUE IN
                                                                 VIOLATION OF CAL. LAB. CODE§§ 201, 202 AND 203;
21                                                               9. FAILURE TO PAY SICK PAY WAGES IN VIOLATION
                                                                 OF CAL. LAB CODE §§201-204, 233,246;
22                                                               I 0. DISCRIMINATION AND RETALIATION IN
                                                                 VIOLATION OF FEHA;
23                                                               11. FAILURE TO PROVIDE REASONABLE
                                                                 ACCOMMODATION IN VIOLATION OF CAL. GOV.
24                                                               CODE § J2940(m);
                                                                 12. FAILURE TO PROVIDE REASONABLE
25                                                               ACCOMMODATION IN VIOLATION OF CAL. GOV.
                                                                 CODE§ 12940(m); and,
26                                                               13. WRONGFUL TERMINATION IN VIOLATION OF
                                                                 PUBLIC POLICY.
27                                                               DEMAND FOR A JURY TRIAL

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                                                                 1
                                                   CLASS ACTION COMPLAINT
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 1           Rustin Fox and Gabriele Santi ("PLAINTIFFS"), individuals, on behalf of themselves
 2    and all other similarly situated current and former employees allege on information and belief,
 3    except for their own acts and knowledge which are based on personal knowledge, the following.
 4
 5                                            THE PARTIES
 6           1.        Crisis24 Protective Solutions, LP ("DEFENDANT") is a limited partnership that
 7    at all relevant times mentioned herein conducted and continues to conduct substantial business
 8    in California.
 9           2.        DEFENDANT provides security services in California.
10           3.        PlaintiffF ox was employed by DEFENDANT in California from October of 2022
11    to January of 2023. Plaintiff Fox was at all times classified by DEFENDANT as a non-exempt
12    employee, paid on an hourly basis, and entitled to the legally required meal and rest periods and
13    payment of minimum and overtime wages due for all time worked.
14           3.        Plaintiff Santi has been employed by DEFENDANT in California since September
15    of 2022. Plaintiff Santi was at all times classified by DEFENDANT as a non-exempt employee,
16    paid on an hourly basis, and entitled to the legally required meal and rest periods and payment
17    of minimum and overtime wages due for all time worked.
18           4.        PLAINTIFFS bring this Class Action on behalf of themselves and a California
19    class, defined as all individuals who are or previously were employed by DEFENDANT in
20    California, including any employees staffed with DEFENDANT by a third party, and classified
21    as non-exempt employees (the "CALIFORNIA CLASS") at any time during the period
22    beginning four (4) years prior to the filing of this Complaint and ending on the date as
23    determined by the Court (the "CALIFORNIA CLASS PERIOD"). The amount in controversy
24    for the aggregate claim of CALIFORNIA CLASS Members is under five million dollars
25    ($5,000,000.00).
26           5.        PLAINTIFFS bring this Class Action on behalf of themselves and a
27    CALIFORNIA CLASS in order to fully compensate the CALIFORNIA CLASS for their
28    losses incurred during the CALIFORNIA CLASS PERIOD caused by DEFENDANT's
                                                      2
                                          CLASS ACTION COMPLAINT
     Case 5:23-cv-04996-SVK        Document 1-1       Filed 09/28/23    Page 10 of 112




 1 policy and practice which failed to lawfully compensate these employees. DEFENDANT's
 2    policy and practice alleged herein was an unlawful, unfair and deceptive business practice
 3    whereby DEFENDANT retained and continues to retain wages due PLAINTIFFS and the
 4    other members of the CALIFORNIA CLASS. PLAINTIFFS and the other members of the
 5    CALIFORNIA CLASS seek an injunction enjoining such conduct by DEFENDANT in the
 6    future, relief for the named PLAINTIFFS and the other members of the CALIFORNIA
 7    CLASS who have been economically injured by DEFENDANT's past and current unlawful
 8    conduct, and all other appropriate legal and equitable relief.
 9           6.     The true names and capacities, whether individual, corporate, subsidiary,
10    partnership, associate or otherwise of defendants DOES 1 through 50, inclusive, are
11    presently unknown to PLAINTIFFS who therefore sue these Defendants by such fictitious
12    names pursuant to Cal. Civ. Proc. Code§ 474. PLAINTIFFS will seek leave to amend this
13    Complaint to allege the true names and capacities of Does 1 through 50, inclusive, when
14    they are ascertained. PLAINTIFFS are informed and believe, and based upon that
15    information and belief allege, that the Defendants named in this Complaint, including DOES
16     1 through 50, inclusive, are responsible in some manner for one or more of the events and
17    happenings that proximately caused the injuries and damages hereinafter alleged.
18           7.     The agents, servants and/or employees of the Defendants and each of them
19    acting on behalf of the Defendants acted within the course and scope of his, her or its
20    authority as the agent, servant and/or employee of the Defendants, and personally
21    participated in the conduct alleged herein on behalf of the Defendants with respect to the
22    conduct alleged herein. Consequently, the acts of each Defendant are legally attributable to
23    the other Defendants and all Defendants arejointly and severally liable to PLAINTIFFS and
24    the other members of the CALIFORNIA CLASS, for the loss sustained as a proximate result
25    of the conduct of the Defendants' agents, servants and/or employees.
26 Ill
27 Ill
28 Ill
                                                     3
                                         CLASS ACTION COMPLAINT
     Case 5:23-cv-04996-SVK       Document 1-1       Filed 09/28/23    Page 11 of 112




 1                                         THE CONDUCT
 2
 3           8.     Pursuant to the Industrial Welfare Commission Wage Orders, DEFENDANT
 4    was required to pay PLAINTIFFS and CALIFORNIA CLASS Members for all their time
 5    worked, meaning the time during which an employee is subject to the control of an
 6    employer, including all the time the employee is suffered or permitted to work.
 7    DEFENDANT requires PLAINTIFFS and CALIFORNIA CLASS Members to work
 8    without paying them for all the time they are under DEFENDANT's control. Among other
 9    things, DEFENDANT requires PLAINTIFFS to work while clocked out during what is
10    supposed to be PLAINTIFFS' off-duty meal break. PLAINTIFFS were from time to time
11    interrupted by work assignments while clocked out for what should have been
12    PLAINTIFFS' off-duty meal break. DEFENDANT, as a matter of established company
13    policy and procedure, administers a uniform practice of rounding the actual time worked and
14    recorded by PLAINTIFFS and CALIFORNIA CLASS Members, always to the benefit of
15    DEFENDANT, so that during the course of their employment, PLAINTIFFS and
16    CALIFORNIA CLASS Members are paid less than they would have been paid had they
17    been paid for actual recorded time rather than "rounded" time. Additionally, DEFENDANT
18    engages in the practice of requiring PLAINTIFFS and CALIFORNIA CLASS Members to
19    perform work off the clock in that DEFENDANT, as a condition of employment, required
20    these employees to submit to mandatory temperature checks and symptom questionnaires for
21    COVID-19 screening prior to clocking into DEFENDANT's timekeeping system for the
22    workday. As a result, PLAINTIFFS and other CALIFORNIA CLASS Members forfeit
23    minimum wage, overtime wage compensation, and off-duty meal breaks by working without
24    their time being correctly recorded and without compensation at the applicable rates.
25    DEFENDANT's policy and practice not to pay PLAINTIFFS and other CALIFORNIA
26    CLASS Members for all time worked, is evidenced by DEFENDANT's business records.
27           9.     State and federal law provides that employees must be paid overtime and meal
28    and rest break premiums at one-and-one-half times their "regular rate of pay."
                                                    4
                                        CLASS ACTION COMPLAINT
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 1 PLAINTIFFS and other CALIFORNIA CLASS Members are compensated at an hourly rate
 2     plus incentive pay that is tied to specific elements of an employee's performance.
 3            10.    The second component of PLAINTIFFS' and other CALIFORNIA CLASS
 4     Members' compensation is DEFENDANT's non-discretionary incentive program that paid
 5     PLAINTIFFS and other CALIFORNIA CLASS Members incentive wages based on their
 6     performance for DEFENDANT. The non-discretionary incentive program provided all
 7     employees paid on an hourly basis with incentive compensation when the employees met the
 8     various performance goals set by DEFENDANT. However, when calculating the regular
 9     rate of pay in order to pay overtime and meal and rest break premiums to PLAINTIFFS and
10     other CALIFORNIA CLASS Members, DEFENDANT failed to include the incentive
11     compensation as part of the employees' "regular rate of pay" for purposes of calculating
12     overtime pay and meal and rest break premium pay. Management and supervisors described
13     the incentive program to potential and new employees as part of the compensation package.
14     As a matter oflaw, the incentive compensation received by PLAINTIFFS and other
15     CALIFORNIA CLASS Members must be included in the "regular rate of pay." The failure
16     to do so has resulted in a underpayment of overtime compensation and meal and rest break
17    premiums to PLAINTIFFS and other CALIFORNIA CLASS Members by DEFENDANT.
18            11.    As a result of their rigorous work schedules, PLAINTIFFS and other
19     CALIFORNIA CLASS Members were from time to time unable to take thirty (30) minute
20     off duty meal breaks and were not fully relieved of duty for their meal periods.
21     PLAINTIFFS and other CALIFORNIA CLASS Members were required from time to time
22     to perform work as ordered by DEFENDANT for more than five (5) hours during some
23     shifts without receiving a meal break. Further, DEFENDANT from time to time failed to
24    provide PLAINTIFFS and CALIFORNIA CLASS Members with a second off-duty meal
25    period for some workdays in which these employees were required by DEFENDANT to
26     work ten (10) hours of work. DEFENDANT also engaged in the practice of rounding the
27    meal period times to avoid paying penalties to PLAINTIFFS and other CALIFORNIA
28    CLASS Members. PLAINTIFFS and other members of the CALIFORNIA CLASS
                                                     5
                                         CLASS ACTION COMPLAINT
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 1 therefore forfeit meal breaks without additional compensation and in accordance with
 2    DEFENDANT' s corporate policy and practice.
 3           12.    During the CALIFORNIA CLASS PERIOD, PLAINTIFFS and other
 4    CALIFORNIA CLASS Members were also required from time to time to work in excess of
 5    four (4) hours without being provided ten (10) minute rest periods. Further, these employees
 6    were denied their first rest periods of at least ten (10) minutes for some shifts worked of at
 7    least two (2) to four (4) hours from time to time, a first and second rest period of at least ten
 8    (10) minutes for some shifts worked of between six (6) and eight (8) hours from time to
 9    time, and a first, second and third rest period of at least ten (10) minutes for some shifts
10    worked often (10) hours or more from time to time. PLAINTIFFS and other CALIFORNIA
11    CLASS Members were also not provided with one hour wages in lieu thereof. Additionally,
12    the applicable California Wage Order requires employers to provide employees with off-
13    duty rest periods, which the California Supreme Court defined as time during which an
14    employee is relieved from all work related duties and free from employer control. In so
15    doing, the Court held that the requirement under California law that employers authorize and
16    permit all employees to take rest period means that employers must relieve employees of all
17    duties and relinquish control over how employees spend their time which includes control
18    over the locations where employees may take their rest period. Employers cannot impose
19    controls that prohibit an employee from taking a brief walk - five minutes out, five minutes
20    back. Here, DEFENDANT' s policy restricted PLAINTIFFS and other CALIFORNIA
21    CLASS Members from unconstrained walks and is unlawful based on DEFENDANT's rule
22    which states PLAINTIFFS and other CALIFORNIA CLASS Members cannot leave the
23    work premises during their rest period.
24           13.    During the CALIFORNIA CLASS PERIOD, DEFENDANT failed to
25    accurately record and pay PLAINTIFFS and other CALIFORNIA CLASS Members for the
26    actual amount of time these employees worked. Pursuant to the Industrial Welfare
27    Commission Wage Orders, DEFENDANT was required to pay PLAINTIFFS and other
28    CALIFORNIA CLASS Members for all time worked, meaning the time during which an
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 1    employee was subject to the control of an employer, including all the time the employee was
 2    permitted or suffered to permit this work. DEFENDANT required these employees to work
 3    off the clock without paying them for all the time they were under DEFENDANT's control.
 4    As such, DEFENDANT knew or should have known that PLAINTIFFS and the other
 5    members of the CALIFORNIA CLASS were under compensated for all time worked. As a
 6    result, PLAINTIFFS and other CALIFORNIA CLASS Members forfeited time worked by
 7    working without their time being accurately recorded and without compensation at the
 8    applicable minimum wage and overtime wage rates. To the extent that the time worked off
 9    the clock does not qualify for overtime premium payment, DEFENDANT fails to pay
10    minimum wages for the time worked off-the-clock in violation of Cal. Lab. Code §§ 1194,
11     1197, and 1197 .1.
12            14.   From time to time, DEFENDANT also failed to provide PLAINTIFFS and the
13    other members of the CALIFORNIA CLASS with complete and accurate wage statements
14    which failed to show, among other things, the correct gross and net wages earned. Cal. Lab.
15    Code § 226 provides that every employer shall furnish each of his or her employees with an
16    accurate itemized wage statement in writing showing, among other things, gross wages
17    earned and all applicable hourly rates in effect during the pay period and the corresponding
18    amount of time worked at each hourly rate. PLAINTIFFS and CALIFORNIA CLASS
19    Members were paid on an hourly basis. As such, the wage statements should reflect all
20    applicable hourly rates during the pay period and the total hours worked, and the applicable
21    pay period in which the wages were earned pursuant to California Labor Code Section
22    226(a). The wage statements DEFENDANT provided to PLAINTIFFS and other
23    CALIFORNIA CLASS Members failed to identify such information. More specifically, the
24    wage statements failed to identify the accurate total hours worked each pay period. When
25    the hours shown on the wage statements were added up, they did not equal the actual total
26    hours worked during the pay period in violation of Cal. Lab. Code 226(a)(2). Aside, from
27    the violations listed above in this paragraph, DEFENDANT failed to issue to PLAINTIFFS
28    an itemized wage statement that lists all the requirements under California Labor Code 226
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 l    et seq. As a result, DEFENDANT from time to time provided PLAINTIFFS and the other
 2    members of the CALIFORNIA CLASS with wage statements which violated Cal. Lab. Code
 3    § 226.

 4             15.    Cal. Lab. Code§ 204(d) provides, the requirements of this section shall be

 5    deemed satisfied by the payment of wages for weekly, biweekly, or semimonthly payroll if
 6    the wages are paid not more than seven (7) calendar days following the close of the payroll
 7    period. Cal. Lab. Code § 210 provides:

 8             [IJn addition to, and entirely independent and apart from, any other penalty provided
      m        this article, every person who fails to pay the wages of each employee as provided in
 9             Sections ... .204 ... shall be subject to a civil penalty as follows: (I) For any initial
               violation, one hundred dollars ($100) for each failure to pay each employee; (2) For
10             each subsequent violation, or any willful or intentional v10lation, two hundred dollars
               ($200) for each failure to pay each employee, plus 25 percent of the amount
11             unlawfully withheld.

12             16.    DEFENDANT from time to time failed to pay PLAINTIFFS and members of
13    the CALIFORNIA LABOR SUB-CLASS Members within seven (7) days of the close of the
14    payroll period in accordance with Cal. Lab. Code§ 204(d), including but not limited to for
15    the "Hourly" regular wage payments.

16             17.    DEFENDANT underpaid sick pay wages to PLAINTIFFS and other
17    CALIFORNIA CLASS Members by failing to pay such wages at the regular rate of pay in
18    violation of Cal. Lab. Code Section 246. Specifically, PLAINTIFFS and other non-exempt
19    employees earn non-discretionary remuneration. Rather than pay sick pay at the regular rate
20    of pay, DEFENDANT underpaid sick pay to PLAINTIFFS and other CALIFORNIA
21    CLASS Members at their base rates of pay.

22             18.    Cal. Lab. Code Section 246(1)(2) requires that paid sick time for nonexempt
23    employees be calculated by dividing the employee's total wages, not including overtime
24    premium pay, by the employee's total hours worked in the full pay periods of the prior 90
25    days of employment.

26             19.    DEFENDANT violated Cal. Lab. Code Section 246 by failing to pay sick pay
27    at the regular rate of pay. PLAINTIFFS and CALIFORNIA CLASS Members routinely
28    earned non-discretionary incentive wages which increased their regular rate of pay.
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 1    However, when sick pay was paid, it was paid at the base rate of pay for PLAINTIFFS and

 2    members of the CALIFORNIA CLASS, as opposed to the correct, higher regular rate of pay,
 3    as required under Cal. Lab. Code Section 246.

 4           20.    As a pattern and practice, DEFENDANT regularly failed to pay PLAINTIFFS

 5    and other members of the CALIFORNIA CLASS their correct wages and accordingly owe
 6    waiting time penalties pursuant to Cal. Lab. Code Section 203. Further, PLAINTIFFS are

 7    informed and believe and based thereon allege that such failure to pay sick pay at regular
 8    rate was willful, such that PLAINTIFFS and members of the CALIFORNIA CLASS whose
 9    employment has separated are entitled to waiting time penalties pursuant to Cal. Lab. Code

10    Sections 201-203.

11           21.    Pursuant to Cal. Lab. Code Section 221, "It shall be unlawful for any employer
12    to collect or receive from an employee any part of wages theretofore paid by said employer
13    to said employee." DEFENDANT failed to pay all compensation due to PLAINTIFFS and
l4    other CALIFORNIA LABOR SUB-CLASS Members, made unlawful deductions from

15    compensation payable to PLAINTIFFS and CALIFORNIA LABOR SUB-CLASS
l6    Members, failed to disclose all aspects of the deductions from compensation payable to
17    PLAINTIFFS and CALIFORNIA LABOR SUB-CLASS Members, and thereby failed to
18    pay these employees all wages due at each applicable pay period and upon termination.
l9    PLAINTIFFS and members of the CALIFORNIA LABOR SUB-CLASS seek recovery of

20    all illegal deductions from wages according to proof, related penalties, interest, attorney fees

21    and costs.

22           22.    DEFENDANT intentionally and knowingly failed to reimburse and indemnify
23    PLAINTIFFS and the other CALIFORNIA CLASS Members for required business expenses
24    incurred by the PLAINTIFFS and other CALIFORNIA CLASS Members in direct

25    consequence of discharging their duties on behalf of DEFENDANT. Under California

26    Labor Code Section 2802, employers are required to indemnify employees for all expenses

27    incurred in the course and scope of their employment. Cal. Lab. Code § 2802 expressly

28    states that "an employer shall indemnify his or her employee for all necessary expenditures
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 1 or losses incurred by the employee in direct consequence of the discharge of his or her
 2    duties, or of his or her obedience to the directions of the employer, even though unlawful,
 3    unless the employee, at the time of obeying the directions, believed them to be unlawful."

 4               23.   In the course of their employment PLAINTIFFS and other CALIFORNIA

 5    CLASS Members as a business expense, were required by DEFENDANT to use their own
 6    personal cellular phones as a result of and in furtherance of their job duties as employees for
 7    DEFENDANT but are not reimbursed or indemnified by DEFENDANT for the cost
 8    associated with the use of their personal cellular phones for DEFENDANT's benefit.
 9    Specifically, PLAINTIFFS and other CALIFORNIA CLASS Members were required by
1o DEFENDANT to use their personal cellular phones. As a result, in the course of their
ll    employment with DEFENDANT, PLAINTIFFS and other members of the CALIFORNIA
12    CLASS incurred unreimbursed business expenses which included, but were not limited to,
13    costs related to the use of their personal cellular phones all on behalf of and for the benefit
14    of DEFENDANT.

15               24.   In violation of the applicable sections of the California Labor Code and the
16    requirements of the applicable Industrial Welfare Commission ("IWC") Wage Order,
17    DEFENDANT as a matter of company policy, practice and procedure, intentionally,
18    knowingly and systematically failed to provide PLAINTIFFS and the other Aggrieved
19    Employees suitable seating when the nature of these employees' work reasonably permitted

20    sitting.

21               25.   DEFENDANT knew or should have known that PLAINTIFFS and other
22    Aggrieved Employees were entitled to suitable seating and/or were entitled to sit when it did
23    not interfere with the performance of their duties, and that DEFENDANT did not provide
24    suitable seating and/or did not allow them to sit when it did not interfere with the
25    performance of their duties.

26               26.   By reason of this conduct applicable to PLAINTIFFS and all Aggrieved
27    Employees, DEFENDANT violated California Labor Code Section 1198 and California
28    Code of Regulations, Title 8, Section 11070(14) (Failure to Provide Seating), Wage Order
                                                      10
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 1 4-2001, Section 14 by failing to provide suitable seats. PLAINTIFFS seek penalties on
 2    behalf of PLAINTIFFS and other Aggrieved Employees as provided herein. Providing
 3    suitable seating is the DEFENDANT's burden. As a result ofDEFENDANT's intentional

 4    disregard of the obligation to meet this burden, DEFENDANT violated the California Labor
 5    Code and regulations promulgated thereunder as herein alleged.

 6           27.    Specifically as to PLAINTIFFS, DEFENDANT failed to provide all the
 7    legally required off-duty meal and rest breaks to PLAINTIFFS as required by the applicable
 8    Wage Order and Labor Code and failed to pay PLAINTIFFS all minimum and overtime
 9    wages due to PLAINTIFFS. DEFENDANT did not have a policy or practice which

1o provided timely off-duty meal and rest breaks to PLAINTIFFS and also failed to compensate
11    PLAINTIFFS for PLAINTIFFS' missed meal and rest breaks. The nature of the work
12    performed by the PLAINTIFFS did not prevent PLAINTIFFS from being relieved of all of
13    PLAINTIFFS' duties for the legally required off-duty meal periods. As a result,
14    DEFENDANT's failure to provide PLAINTIFFS with the legally required meal periods is
l5    evidenced by DEFENDANT's business records.

16
                                    JURISDICTION AND VENUE
17
             28.    This Court has jurisdiction over this Action pursuant to California Code of
18
      Civil Procedure, Section 410.10 and California Business & Professions Code, Section
19
      17203. This action is brought as a Class Action on behalf of PLAINTIFFS and similarly
20
      situated employees of DEFENDANT pursuant to Cal. Code of Civ. Proc.§ 382.
21
             29.    Venue is proper in this Court pursuant to California Code of Civil Procedure,
22
      Sections 395 and 395.5, because PLAINTIFFS worked in this County for DEFENDANT
23
      and DEFENDANT (i) currently maintains and at all relevant times maintained offices and
24
      facilities in this County and/or conducts substantial business in this County, and (ii)
25
      committed the wrongful conduct herein alleged in this County against members of the
26    CALIFORNIA CLASS.
27
28
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 1                                   THE CALIFORNIA CLASS

 2           30.     PLAINTIFFS bring the First Cause of Action for Unfair, Unlawful and
 3    Deceptive Business Practices pursuant to Cal. Bus. & Prof. Code§§ 17200, et seq. (the
 4    "UCL") as a Class Action, pursuant to Cal. Code of Civ. Proc. § 382, on behalf of a

 5    California class, defined as all individuals who are or previously were employed by
 6    DEFENDANT in California, including any employees staffed with DEFENDANT by a third
 7    party, and classified as non-exempt employees (the "CALIFORNIA CLASS") at any time
 8    during the period beginning four (4) years prior to the filing of this Complaint and ending on
 9    the date as determined by the Court (the "CALIFORNIA CLASS PERIOD"). The amount
10    in controversy for the aggregate claim of CALIFORNIA CLASS Members is under five
11    million dollars ($5,000,000.00).

12           31.     To the extent equitable tolling operates to toll claims by the CALIFORNIA
13    CLASS against DEFENDANT, the CALIFORNIA CLASS PERIOD should be adjusted

14    accordingly.

15           32.     DEFENDANT, as a matter of company policy, practice and procedure, and in
16    violation of the applicable Labor Code, Industrial Welfare Commission ("IWC") Wage
17    Order requirements, and the applicable provisions of California law, intentionally,
18    knowingly, and wilfully, engaged in a practice whereby DEFENDANT failed to record all
19    meal and rest breaks missed by PLAINTIFFS and other CALIFORNIA CLASS Members,
20    even though DEFENDANT enjoyed the benefit of this work, required employees to perform
21    this work and permits or suffers to permit this work.

22           33.     DEFENDANT has the legal burden to establish that each and every
23    CALIFORNIA CLASS Member was paid accurately for all meal and rest breaks missed as
24    required by California laws. The DEFENDANT, however, as a matter of policy and
25    procedure failed to have in place during the CALIFORNIA CLASS PERIOD and still fails
26    to have in place a policy or practice to ensure that each and every CALIFORNIA CLASS
27    Member is paid as required by law. This common business practice is applicable to each
28    and every CALIFORNIA CLASS Member can be adjudicated on a class-wide basis as
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 1    unlawful, unfair, and/or deceptive under Cal. Business & Professions Code§§ 17200, et seq.
 2    (the "UCL") as causation, damages, and reliance are not elements of this claim.

 3            34.    The CALIFORNIA CLASS, is so numerous that joinder of all CALIFORNIA
 4    CLASS Members is impracticable.

 5            35.    DEFENDANT violated the rights of the CALIFORNIA CLASS under
 6    California law by:

 7                   (a)    Committing an act of unfair competition in violation of, Cal. Bus. &

 8                          Prof. Code§§ 17200, et seq. (the "UCL"), by unlawfully, unfairly

 9                          and/or deceptively having in place company policies, practices and

10                          procedures that failed to record and pay PLAINTIFFS and the other

11                          members of the CALIFORNIA CLASS for all time worked, including

12                          minimum wages owed and overtime wages owed for work performed

13                          by these employees; and,

14                   (b)    Committing an act of unfair competition in violation of the UCL, by

15                          failing to provide the PLAINTIFFS and the other members of the

16                          CALIFORNIA CLASS with the legally required meal and rest periods.

17            36.    This Class Action meets the statutory prerequisites for the maintenance of a
18     Class Action as set forth in Cal. Code of Civ. Proc. § 382, in that:

19                   (a)    The persons who comprise the CALIFORNIA CLASS are so numerous

20                          that the joinder of all such persons is impracticable and the disposition

21                          of their claims as a class will benefit the parties and the Court;

22                   (b)    Nearly all factual, legal, statutory, declaratory and injunctive relief

23                          issues that are raised in this Complaint are common to the

24                          CALIFORNIA CLASS will apply to every member of the

25                          CALIFORNIA CLASS;

26                   (c)    The claims of the representative PLAINTIFFS are typical of the claims

27                          of each member of the CALIFORNIA CLASS. PLAINTIFFS, like all

28                          the other members of the CALIFORNIA CLASS, were classified as a

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 1                          non-exempt employee paid on an hourly basis who was subjected to the

 2                          DEFENDANT's deceptive practice and policy which failed to provide

 3                          the legally required meal and rest periods to the CALIFORNIA CLASS

 4                          and thereby underpaid compensation to PLAINTIFFS and

 5                          CALIFORNIA CLASS. PLAINTIFFS sustained economic injury as a

 6                          result ofDEFENDANT's employment practices. PLAINTIFFS and the

 7                          members of the CALIFORNIA CLASS were and are similarly or

 8                          identically harmed by the same unlawful, deceptive and unfair

 9                          misconduct engaged in by DEFENDANT; and,

10                   (d)    The representative PLAINTIFFS will fairly and adequately represent

11                          and protect the interest of the CALIFORNIA CLASS, and have

12                          retained counsel who are competent and experienced in Class Action

13                          litigation. There are no material conflicts between the claims of the

14                          representative PLAINTIFFS and the members of the CALIFORNIA

15                          CLASS that would make class certification inappropriate. Counsel for

16                          the CALIFORNIA CLASS will vigorously assert the claims of all

17                          CALIFORNIA CLASS Members.

18            37.    In addition to meeting the statutory prerequisites to a Class Action, this action
19     is properly maintained as a Class Action pursuant to Cal. Code of Civ. Proc. § 382, in that:

20                   (a)    Without class certification and determination of declaratory, injunctive,

21                          statutory and other legal questions within the class format, prosecution

22                          of separate actions by individual members of the CALIFORNIA

23                          CLASS will create the risk of:

24                          1)     Inconsistent or varying adjudications with respect to individual

25                                 members of the CALIFORNIA CLASS which would establish

26                                 incompatible standards of conduct for the parties opposing the

27                                 CALIFORNIA CLASS; and/or,

28
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 1                      2)     Adjudication with respect to individual members of the

 2                             CALIFORNIA CLASS which would as a practical matter be

 3                             dispositive of interests of the other members not party to the

 4                             adjudication or substantially impair or impede their ability to

 5                             protect their interests.

 6                (b)   The parties opposing the CALIFORNIA CLASS have acted or refused

 7                      to act on grounds generally applicable to the CALIFORNIA CLASS,

 8                      making appropriate class-wide relief with respect to the CALIFORNIA

 9                      CLASS as a whole in that DEFENDANT failed to pay all wages due to

10                      me!_llbers of the CALIFORNIA CLASS as required by law;

11                             With respect to the First Cause of Action, the final relief on

12                             behalf of the CALIFORNIA CLASS sought does not relate

13                             exclusively to restitution because through this claim

14                             PLAINTIFFS seek declaratory relief holding that the

15                             DEFENDANT's policy and practices constitute unfair

16                             competition, along with declaratory relief, injunctive relief, and

17                             incidental equitable relief as may be necessary to prevent and

18                             remedy the conduct declared to constitute unfair competition;

19                (c)   Common questions of law and fact exist as to the members of the

20                      CALIFORNIA CLASS, with respect to the practices and violations of

21                      California law as listed above, and predominate over any question

22                      affecting only individual CALIFORNIA CLASS Members, and a Class

23                      Action is superior to other available methods for the fair and efficient

24                      adjudication of the controversy, including consideration of:

25                             The interests of the members of the CALIFORNIA CLASS in

26                             individually controlling the prosecution or defense of separate

27                             actions in that the substantial expense of individual actions will

28                             be avoided to recover the relatively small amount of economic
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 1                            losses sustained by the individual CALIFORNIA CLASS

 2                            Members when compared to the substantial expense and burden

 3                            of individual prosecution of this litigation;

 4                     2)     Class certification will obviate the need for unduly duplicative

 5                            litigation that would create the risk of:

 6                            A.     Inconsistent or varying adjudications with respect to

 7                                   individual members of the CALIFORNIA CLASS, which

 8                                   would establish incompatible standards of conduct for the

 9                                   DEFENDANT; and/or,

10                            B.     Adjudications with respect to individual members of the

11                                   CALIFORNIA CLASS would as a practical matter be

12                                   dispositive of the interests of the other members not

13                                   parties to the adjudication or substantially impair or

14                                   impede their ability to protect their interests;

15                     3)     In the context of wage litigation because a substantial number of

16                            individual CALIFORNIA CLASS Members will avoid asserting

17                            their legal rights out of fear of retaliation by DEFENDANT,

18                            which may adversely affect an individual's job with

19                            DEFENDANT or with a subsequent employer, the Class Action

20                            is the only means to assert their claims through a representative;

21                            and,

22                     4)     A class action is superior to other available methods for the fair

23                            and efficient adjudication of this litigation because class

24                            treatment will obviate the need for unduly and unnecessary

25                            duplicative litigation that is likely to result in the absence of

26                            certification of this action pursuant to Cal. Code of Civ. Proc. §

27                            382.

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 1          38.    This Court should permit this action to be maintained as a Class Action
 2    pursuant to Cal. Code of Civ. Proc. § 382 because:

 3                 (a)    The questions of law and fact common to the CALIFORNIA CLASS

 4                        predominate over any question affecting only individual CALIFORNIA

 5                        CLASS Members because the DEFENDANT's employment practices

 6                        are applied with respect to the CALIFORNIA CLASS;

 7                 (b)    A Class Action is superior to any other available method for the fair

 8                        and efficient adjudication of the claims of the members of the

 9                        CALIFORNIA CLASS because in the context of employment litigation

10                        a substantial number of individual CALIFORNIA CLASS Members

11                        will avoid asserting their rights individually out of fear of retaliation or

12                        adverse impact on their employment;

13                 (c)    The members of the CALIFORNIA CLASS are so numerous that it is

14                        impractical to bring all members of the CALIFORNIA CLASS before

15                        the Court;

16                 (d)    PLAINTIFFS, and the other CALIFORNIA CLASS Members, will not

17                        be able to obtain effective and economic legal redress unless the action

18                        is maintained as a Class Action;

19                 (e)    There is a community of interest in obtaining appropriate legal and

20                        equitable relief for the acts of unfair competition, statutory violations

21                        and other improprieties, and in obtaining adequate compensation for

22                        the damages and injuries which DEFENDANT's actions have inflicted

23                        upon the CALIFORNIA CLASS;

24                 (f)    There is a community of interest in ensuring that the combined assets of

25                        DEFENDANT are sufficient to adequately compensate the members of

26                        the CALIFORNIA CLASS for the injuries sustained;

27                 (g)    DEFENDANT has acted or refused to act on grounds generally

28                        applicable to the CALIFORNIA CLASS, thereby making final class-
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 1                          wide relief appropriate with respect to the CALIFORNIA CLASS as a

 2                          whole;

 3                   (h)    The members of the CALIFORNIA CLASS are readily ascertainable

 4                          from the business records of DEFENDANT; and,

 5                   (i)    Class treatment provides manageable judicial treatment calculated to

 6                          bring a efficient and rapid conclusion to all litigation of all wage and

 7                          hour related claims arising out of the conduct of DEFENDANT as to

 8                          the members of the CALIFORNIA CLASS.

 9            39.    DEFENDANT maintains records from which the Court can ascertain and
10     identify by job title each of DEFENDANT's employees who have been intentionally

11     subjected to DEFENDANT's company policy, practices and procedures as herein alleged.
12     PLAINTIFFS will seek leave to amend the Complaint to include any additional job titles of
13     similarly situated employees when they have been identified.

14
15                             THE CALIFORNIA LABOR SUB-CLASS

16            40.    PLAINTIFFS further bring the Second, Third, Fourth, Fifth, Sixth, Seventh,
17     Eighth and Ninth cau,ses Action on behalf of a California sub-class, defined as all members
18     of the CALIFORNIA CLASS who are or previously were employed by DEFENDANT in
19     California, including any employees staffed with DEFENDANT by a third party, and
20     classified as non exempt employees (the "CALIFORNIA LABOR SUB-CLASS") at any
2l     time during the period three (3) years prior to the filing of the complaint and ending on the
22     date as determined by the Court (the "CALIFORNIA LABOR SUB-CLASS PERIOD")
23     pursuant to Cal. Code of Civ. Proc. § 382. The amount in controversy for the aggregate
24     claim of CALIFORNIA LABOR SUB-CLASS Members is under five million dollars
25     ($5,000,000.00).

26            41.    DEFENDANT, in violation of the applicable Labor Code, Industrial Welfare

27     Commission ("IWC") Wage Order requirements, and the applicable provisions of California
28     law, intentionally, knowingly, and wilfully, engaged in a practice whereby DEFENDANT
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 1    failed to correctly calculate compensation for the time worked by PLAINTIFFS and the
 2    other members of the CALIFORNIA LABOR SUB-CLASS and reporting time wages owed
 3    to these employees, even though DEFENDANT enjoyed the benefit of this work, required
 4    employees to perform this work and permitted or suffered to permit this work.
 5    DEFENDANT has denied these CALIFORNIA LABOR SUB-CLASS Members wages to
 6    which these employees are entitled in order to unfairly cheat the competition and unlawfully
 7    profit. To the extent equitable tolling operates to toll claims by the CALIFORNIA LABOR
 8     SUB-CLASS against DEFENDANT, the CALIFORNIA LABOR SUB-CLASS PERIOD
 9     should be adjusted accordingly.
10            42.    DEFENDANT maintains records from which the Court can ascertain and
11    identify by name and job title, each ofDEFENDANT's employees who have been
12    intentionally subjected to DEFENDANT's company policy, practices and procedures as
13    herein alleged. PLAINTIFFS will seek leave to amend the complaint to include any
14     additional job titles of similarly situated employees when they have been identified.
15            43.    The CALIFORNIA LABOR SUB-CLASS is so numerous that joinder of all
16     CALIFORNIA LABOR SUB-CLASS Members is impracticable.
17            44.    Common questions of law and fact exist as to members of the CALIFORNIA
18     LABOR SUB-CLASS, including, but not limited, to the following:
19                   (a)    Whether DEFENDANT unlawfully failed to correctly calculate and pay
20                          compensation due to members of the CALIFORNIA LABOR SUB-
21                          CLASS for missed meal and rest breaks in violation of the California
22                          Labor Code and California regulations and the applicable California
23                          Wage Order;
24                   (b)    Whether DEFENDANT failed to provide the PLAINTIFFS and the
25                          other members of the CALIFORNIA LABOR SUB-CLASS with
26                          accurate itemized wage statements;
27                   (c)    Whether DEFENDANT has engaged in unfair competition by the
28                          above-listed conduct;
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 1                (d)    The proper measure of damages and penalties owed to the members of
 2                       the CALIFORNIA LABOR SUB-CLASS; and,
 3                (e)    Whether DEFENDANT's conduct was willful.
 4          45.   DEFENDANT violated the rights of the CALIFORNIA LABOR SUB-
 5    CLASS under California law by:
 6                (a)    Violating Cal. Lab. Code§ 510, by failing to correctly pay the
 7                       PLAINTIFFS and the members of the CALIFORNIA LABOR SUB-
 8                       CLASS all wages due for overtime worked, for which DEFENDANT is
 9                       liable pursuant to Cal. Lab. Code § 1194;
10                (b)    Violating Cal. Lab. Code§§ 1194, 1197 & 1197.1 et seq., by failing to
11                       accurately pay PLAINTIFFS and the members of the CALIFORNIA
12                       LABOR SUB-CLASS the correct minimum wage pay for which
13                       DEFENDANT is liable pursuant to Cal. Lab. Code§§ 1194 and 1197;
14                (c)    Violating Cal. Lab. Code § 226, by failing to provide PLAINTIFFS and
15                       the members of the CALIFORNIA LABOR SUB-CLASS with an
16                       accurate itemized statement in writing showing the corresponding
17                       correct amount of wages earned by the employee;
18                (d)    Violating Cal. Lab. Code§§ 226.7 and 512, by failing to provide
19                       PLAINTIFFS and the other members of the CALIFORNIA LABOR
20                       SUB-CLASS with all legally required off-duty, uninterrupted thirty
21                       (30) minute meal breaks and the legally required off-duty rest breaks;
22                (e)    Violating Cal. Lab. Code§§ 201, 202 and/or 203, which provides that
23                       when an employee is discharged or quits from employment, the
24                       employer must pay the employee all wages due without abatement, by
25                       failing to tender full payment and/or restitution of wages owed or in the
26                       manner required by California law to the members of the
27                       CALIFORNIA LABOR SUB-CLASS who have terminated their
28                       employment; and,
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 1                  (f)    Violating Cal. Lab. Code § 2802 by failing to reimburse PLAINTIFFS
 2                         and the CALIFORNIA LABOR SUB-CLASS members with necessary
 3                         expenses incurred in the discharge of their job duties.
 4           46.    This Class Action meets the statutory prerequisites for the maintenance of a
 5    Class Action as set forth in Cal. Code of Civ. Proc. § 382, in that:
 6                  (a)    The persons who comprise the CALIFORNIA LABOR SUB-CLASS
 7                         are so numerous that the joinder of all CALIFORNIA LABOR SUB-
 8                         CLASS Members is impracticable and the disposition of their claims as
 9                         a class will benefit the parties and the Court;
10                  (b)    Nearly all factual, legal, statutory, declaratory and injunctive relief
11                         issues that are raised in this Complaint are common to the
12                         CALIFORNIA LABOR SUB-CLASS and will apply to every member
13                         of the CALIFORNIA LABOR SUB-CLASS;
14                  (c)    The claims of the representative PLAINTIFFS are typical of the claims
15                         of each member of the CALIFORNIA LABOR SUB-CLASS.
16                         PLAINTIFFS, like all the other members of the CALIFORNIA
17                         LABOR SUB-CLASS, were non-exempt employees paid on an hourly
18                         basis who was subjected to the DEFENDANT's practice and policy
19                         which failed to pay the correct amount of wages due to the
20                         CALIFORNIA LABOR SUB-CLASS. PLAINTIFFS sustained
21                         economic injury as a result of DEFENDANT's employment practices.
22                         PLAINTIFFS and the members of the CALIFORNIA LABOR SUB-
23                         CLASS were and are similarly or identically harmed by the same
24                         unlawful, deceptive, and unfair misconduct engaged in by
25                         DEFENDANT; and,
26                  (d)    The representative PLAINTIFFS will fairly and adequately represent
27                         and protect the interest of the CALIFORNIA LABOR SUB-CLASS,
28                         and have retained counsel who are competent and experienced in Class
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 1                         Action litigation. There are no material conflicts between the claims of
 2                         the representative PLAINTIFFS and the members of the
 3                         CALIFORNIA LABOR SUB-CLASS that would make class
 4                         certification inappropriate. Counsel for the CALIFORNIA LABOR
 5                         SUB-CLASS will vigorously assert the claims of all CALIFORNIA
 6                         LABOR SUB-CLASS Members.
 7          47.     In addition to meeting the statutory prerequisites to a Class Action, this action
 8    is properly maintained as a Class Action pursuant to Cal. Code of Civ. Proc. § 382, in that:
 9                  (a)    Without class certification and determination of declaratory, injunctive,
10                         statutory and other legal questions within the class format, prosecution
11                         of separate actions by individual members of the CALIFORNIA
12                         LABOR SUB-CLASS will create the risk of:
13                         1)     Inconsistent or varying adjudications with respect to individual
14                                members of the CALIFORNIA LABOR SUB-CLASS which
15                                would establish incompatible standards of conduct for the
16                                parties opposing the CALIFORNIA LABOR SUB-CLASS; or,
17                         2)     Adjudication with respect to individual members of the
18                                CALIFORNIA LABOR SUB-CLASS which would as a
19                                practical matter be dispositive of interests of the other members
20                                not party to the adjudication or substantially impair or impede
21                                their ability to protect their interests.
22                  (b)    The parties opposing the CALIFORNIA LABOR SUB-CLASS have
23                         acted or refused to act on grounds generally applicable to the
24                         CALIFORNIA LABOR SUB-CLASS, making appropriate class-wide
25                         relief with respect to the CALIFORNIA LABOR SUB;.CLASS as a
26                         whole in that DEFENDANT fails to pay all wages due. Including the
27                         correct wages for all time worked by the members of the
28                         CALIFORNIA LABOR SUB-CLASS as required by law;
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 1                (c)   Common questions of law and fact predominate as to the members of
 2                      the CALIFORNIA LABOR SUB-CLASS, with respect to the practices
 3                      and violations of California Law as listed above, and predominate over
 4                      any question affecting only individual CALIFORNIA LABOR SUB-
 5                      CLASS Members, and a Class Action is superior to other available
 6                      methods for the fair and efficient adjudication of the controversy,
 7                      including consideration of:
 8                      1)     The interests of the members of the CALIFORNIA LABOR
 9                             SUB-CLASS in individually controlling the prosecution or
10                             defense of separate actions in that the substantial expense of
11                             individual actions will be avoided to recover the relatively small
12                             amount of economic losses sustained by the individual
13                             CALIFORNIA LABOR SUB-CLASS Members when compared
14                             to the substantial expense and burden of individual prosecution
15                             of this litigation;
16                      2)     Class certification will obviate the need for unduly duplicative
17                             litigation that would create the risk of:
18                             A.      Inconsistent or varying adjudications with respect to
19                                    individual members of the CALIFORNIA LABOR SUB-
20                                    CLASS, which would establish incompatible standards of
21                                    conduct for the DEFENDANT; and/or,
22                            B.      Adjudications with respect to individual members of the
23                                    CALIFORNIA LABOR SUB-CLASS would as a
24                                    practical matter be dispositive of the interests of the other
25                                    members not parties to the adjudication or substantially
26                                    impair or impede their ability to protect their interests;
27                      3)    In the context of wage litigation because a substantial number of
28                             individual CALIFORNIA LABOR SUB-CLASS Members will
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 1                               avoid asserting their legal rights out of fear of retaliation by
 2                               DEFENDANT, which may adversely affect an individual's job
 3                               with DEFENDANT or with a subsequent employer, the Class
 4                               Action is the only means to assert their claims through a
 5                               representative; and,
 6                        4)     A class action is superior to other available methods for the fair
 7                               and efficient adjudication of this litigation because class
 8                               treatment will obviate the need for unduly and unnecessary
 9                               duplicative litigation that is likely to result in the absence of
10                               certification of this action pursuant to Cal. Code of Civ. Proc. §
11                               382.
12          48.    This Court should permit this action to be maintained as a Class Action
13    pursuant to Cal. Code of Civ. Proc. § 382 because:
14                 (a)    The questions of law and fact common to the CALIFORNIA LABOR
15                        SUB-CLASS predominate over any question affecting only individual
16                        CALIFORNIA LABOR SUB-CLASS Members;
17                 (b)    A Class Action is superior tci any other available method for the fair
18                        and efficient adjudication of the claims of the members of the
19                        CALIFORNIA LABOR SUB-CLASS because in the context of
20                        employment litigation a substantial number of individual
21                        CALIFORNIA LABOR SUB-CLASS Members will avoid asserting
22                        their rights individually out of fear of retaliation or adverse impact on
23                        their employment;
24                 (c)    The members of the CALIFORNIA LABOR SUB-CLASS are so
25                        numerous that it is impractical to bring all members of the
26                        CALIFORNIA LABOR SUB-CLASS before the Court;
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 1                (d)   PLAINTIFFS, and the other CALIFORNIA LABOR SUB-CLASS
 2                      Members, will not be able to obtain effective and economic legal
 3                      redress unless the action is maintained as a Class Action;
 4                (e)   There is a community of interest in obtaining appropriate legal and
 5                      equitable relief for the acts of unfair competition, statutory violations
 6                      and other improprieties, and in obtaining adequate compensation for
 7                      the damages and injuries which DEFENDANT's actions have inflicted
 8                      upon the CALIFORNIA LABOR SUB-CLASS;
 9                (f)   There is a community of interest in ensuring that the combined assets of
10                      DEFENDANT are sufficient to adequately compensate the members of
11                      the CALIFORNIA LABOR SUB-CLASS for the injuries sustained;
12                (g)   DEFENDANT has acted or refused to act on grounds generally
13                      applicable to the CALIFORNIA LABOR SUB-CLASS, thereby
14                      making final class-wide relief appropriate with respect to the
15                      CALIFORNIA LABOR SUB-CLASS as a whole;
16                (h)   The members of the CALIFORNIA LABOR SUB-CLASS are readily
17                      ascertainable from the business records of DEFENDANT. The
18                      CALIFORNIA LABOR SUB-CLASS consists of all CALIFORNIA
19                      CLASS Members who worked for DEFENDANT in California at any
20                      time during the CALIFORNIA LABOR SUB-CLASS PERIOD; and,
21                (i)   Class treatment provides manageable judicial treatment calculated to
22                      bring a efficient and rapid conclusion to all litigation of all wage and
23                      hour related claims arising out of the conduct of DEFENDANT as to
24                      the members of the CALIFORNIA LABOR SUB-CLASS.
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 1                                      FIRST CAUSE OF ACTION
 2                                   For Unlawful Business Practices
 3                            [Cal. Bus. And Prof. Code§§ 17200, et seq.]
 4         (By PLAINTIFFS and the CALIFORNIA CLASS and Against All Defendants)
 5            49.    PLAINTIFFS, and the other members of the CALIFORNIA CLASS, reallege
 6     and incorporate by this reference, as though fully set forth herein, the prior paragraphs of
 7     this Complaint.
 8            50.    DEFENDANT is a "person" as that term is defined under Cal. Bus. and Prof.
 9     Code § 17021.
10            51.    California Business & Professions Code§§ 17200, et seq. (the "UCL")
11     defines unfair competition as any unlawful, unfair, or fraudulent business act or practice.
12     Section 17203 authorizes injunctive, declaratory, and/or other equitable relief with respect to
13     unfair competition as follows:
14            Any person who engages, has engaged, or proposes to engage in unfair
              competition may be enjoined in any court of competent jurisdiction. The court
15            may make such orders or judgments, including the appointment of a receiver,
              as may be necessary to prevent the use or employment by any person of any
16            practice which constitutes unfair competition, as defined in this chapter, or as
              may be necessary to restore to any person in interest any money or property,
17            real or J?~rsonal, which may have been acquired by means of such unfair
              competition.
18
       Cal. Bus. & Prof. Code § 17203.
19
              52.    By the conduct alleged herein, DEFENDANT has engaged and continues to
20
       engage in a business practice which violates California law, including but not limited to, the
21
       applicable Industrial Wage Order(s), the California Code of Regulations and the California
22
       Labor Code including Sections 204, 210, 221, 226. 7, 246, 510, 512, 1194, 1197, 1197 .1,
23
       1198, 2802 and the Fair Labor Standards Act and federal regulations promulgated
24
       thereunder, for which this Court should issue declaratory and other equitable relief pursuant
25
       to Cal. Bus. & Prof. Code § 17203 as may be necessary to prevent and remedy the conduct
26
       held to constitute unfair competition, including restitution of wages wrongfully withheld.
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 1           53.    By the conduct alleged herein, DEFENDANT's practices were unlawful and
 2    unfair in that these practices violate public policy, were immoral, unethical, oppressive,
 3    unscrupulous or substantially injurious to employees, and were without valid justification or
 4    utility for which this Court should issue equitable and injunctive relief pursuant to Section
 5    17203 of the California Business & Professions Code, including restitution of wages
 6    wrongfully withheld.
 7           54.    By the conduct alleged herein, DEFENDANT's practices were deceptive and
 8    fraudulent in that DEFENDANT's policy and practice failed to provide the legally mandated
 9    meal and rest periods, the required amount of compensation for missed meal and rest
10    periods and overtime and minimum wages owed, failed to timely pay wages, and failed to
11    reimburse all necessary business expenses incurred, and failed to provide Fair Labor
12    Standards Act overtime wages due for overtime worked as a result of failing to include non-
13    discretionary incentive compensation into their regular rates of pay for purposes of
14    computing the proper overtime pay due to a business practice that cannot be justified,
15    pursuant to the applicable Cal. Lab. Code, and Industrial Welfare Commission requirements
16    in violation of Cal. Bus. Code §§ 17200, et seq., and for which this Court should issue
17    injunctive and equitable relief, pursuant to Cal. Bus. & Prof. Code § 17203, including
18    restitution of wages wrongfully withheld.
19           55.    By the conduct alleged herein, DEFENDANT's practices were also unlawful,
20    unfair and deceptive in that DEFENDANT's employment practices caused PLAINTIFFS
21    and the other members of the CALIFORNIA CLASS to be underpaid during their
22    employment with DEFENDANT.
23           56.    By the conduct alleged herein, DEFENDANT's practices were also unlawful,
24    unfair and deceptive in that DEFENDANT's policies, practices and procedures failed to
25    provide all legally required meal breaks to PLAINTIFFS and the other members of the
26    CALIFORNIA CLASS as required by Cal. Lab. Code§§ 226.7 and 512.
27           57.    Therefore, PLAINTIFFS demand on behalf of themselves and on behalf of
28    each CALIFORNIA CLASS Member, one (1) hour of pay for each workday in which an
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 1     off-duty meal period was not timely provided for each five (5) hours of work, and/or one (1)
 2     hour of pay for each workday in which a second off-duty meal period was not timely
 3     provided for each ten (10) hours of work.
 4            58.     PLAINTIFFS further demand on behalf of themselves and each member of the
 5     CALIFORNIA LABOR SUB-CLASS, one (1) hour of pay for each workday in which an off
 6     duty paid rest period was not timely provided as required by law.
 7            59.     By and through the unlawful and unfair business practices described herein,
 8     DEFENDANT has obtained valuable property, money and services from PLAINTIFFS and
 9     the other members of the CALIFORNIA CLASS, including earned wages for all time
10     worked, and has deprived them of valuable rights and benefits guaranteed by law and
11     contract, all to the detriment of these employees and to the benefit of DEFENDANT so as to
12     allow DEFENDANT to unfairly compete against competitors who comply with the law.
13            60.     All the acts described herein as violations of, among other things, the
14     Industrial Welfare Commission Wage Orders, the California Code of Regulations, and the
15     California Labor Code, were unlawful and in violation of public policy, were immoral,
16     unethical, oppressive and unscrupulous, were deceptive, and thereby constitute unlawful,
17     unfair and deceptive business practices in violation of Cal. Bus. & Prof. Code §§ 17200, et
18     seq.
19            61.     PLAINTIFFS and the other members of the CALIFORNIA CLASS are
20     entitled to, and do, seek such relief as may be necessary to restore to them the money and
21     property which DEFENDANT has acquired, or of which PLAINTIFFS and the other
22     members of the CALIFORNIA CLASS have been deprived, by means of the above
23     described unlawful and unfair business practices, including earned but unpaid wages for all .
24     time worked.
25            62.     PLAINTIFFS and the other members of the CALIFORNIA CLASS are
26     further entitled to, and do, seek a declaration that the described business practices are
27     unlawful, unfair and deceptive, and that injunctive relief should be issued restraining
28     DEFENDANT from engaging in any unlawful and unfair business practices in the future.
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 1           63.    PLAINTIFFS and the other members of the CALIFORNIA CLASS have no
 2    plain, speedy and/or adequate remedy at law that will end the unlawful and unfair business
 3    practices of DEFENDANT. Further, the practices herein alleged presently continue to occur
 4    unabated. As a result of the unlawful and unfair business practices described herein,
 5    PLAINTIFFS and the other members of the CALIFORNIA CLASS have suffered and will
 6    continue to suffer irreparable legal and economic harm unless DEFENDANT is restrained
 7    from continuing to engage in these unlawful and unfair business practices.
 8
 9                                 SECOND CAUSE OF ACTION
10                               For Failure To Pay Minimum Wages
11                            [Cal. Lab. Code§§ 1194, 1197 and 1197.1]
12                 (By PLAINTIFFS and the CALIFORNIA LABOR SUB-CLASS
13                                    and Against All Defendants)
14           64.    PLAINTIFFS, and the other members of the CALIFORNIA LABOR SUB-
15    CLASS, reallege and incorporate by this reference, as though fully set forth herein, the prior
16    paragraphs of this Complaint.
17           65.    PLAINTIFFS and the other members of the CALIFORNIA LABOR SUB-
18    CLASS bring a claim for DEFENDANT's willful and intentional violations of the
19    California Labor Code and the Industrial Welfare Commission requirements for
20    DEFENDANT's failure to accurately calculate and pay minimum wages to PLAINTIFFS
21    and CALIFORNIA CLASS Members.
22           66.    Pursuant to Cal. Lab. Code § 204, other applicable laws and regulations, and
23    public policy, an employer must timely pay its employees for all hours worked.
24           67.    Cal. Lab. Code § 1197 provides the minimum wage for employees fixed by
25    the commission is the minimum wage to be paid to employees, and the payment of a less
26    wage than the minimum so fixed in unlawful.
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 1               68.   Cal. Lab. Code§ 1194 establishes an employee's right to recover unpaid
 2    wages, including minimum wage compensation and interest thereon, together with the costs
 3    of suit.
 4               69.   DEFENDANT maintained a wage practice of paying PLAINTIFFS and the
 5    other members of the CALIFORNIA LABOR SUB-CLASS without regard to the correct
 6    amount of time they work. As set forth herein, DEFENDANT's policy and practice was to
 7    unlawfully and intentionally deny timely payment of wages due to PLAINTIFFS and the
 8    other members of the CALIFORNIA LABOR SUB-CLASS.
 9               70.   DEFENDANT's unlawful wage and hour practices manifested, without
10    limitation, applicable to the CALIFORNIA LABOR SUB-CLASS as a whole, as a result of
11    implementing a policy and practice that denies accurate compensation to PLAINTIFFS and
12    the other members of the CALIFORNIA LABOR SUB-CLASS in regards to minimum
13    wage pay.
14               71.   In committing these violations of the California Labor Code, DEFENDANT
15    inaccurately calculated the correct time worked and consequently underpaid the actual time
16    worked by PLAINTIFFS and other members of the CALIFORNIA LABOR SUB-CLASS.
17    DEFENDANT acted in an illegal attempt to avoid the payment of all earned wages, and
18    other benefits in violation of the California Labor Code, the Industrial Welfare Commission
19    requirements and other applicable laws and regulations.
20               72.   As a direct result ofDEFENDANT's unlawful wage practices as alleged
21    herein, PLAINTIFFS and the other members of the CALIFORNIA LABOR SUB-CLASS
22    did not receive the correct minimum wage compensation for their time worked for
23    DEFENDANT.
24               73.   During the CALIFORNIA LABOR SUB-CLASS PERIOD; DEFENDANT
25    required, permitted or suffered PLAINTIFFS and CALIFORNIA LABOR SUB-CLASS
26    Members to work without paying them for all the time they were under DEFENDANT's
27    control. During the CALIFORNIA LABOR SUB-CLASS PERIOD, PLAINTIFFS and the
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 1    other members of the CALIFORNIA LABOR SUB-CLASS were paid less for time worked
 2    that they were entitled to, constituting a failure to pay all earned wages.
 3           74.    By virtue ofDEFENDANT's unlawful failure to accurately pay all earned
 4    compensation to PLAINTIFFS and the other members of the CALIFORNIA LABOR SUB-
 5    CLASS for the true time they worked, PLAINTIFFS and the other members of the
 6    CALIFORNIA LABOR SUB-CLASS have suffered and will continue to suffer an
 7    economic injury in amounts which are presently unknown to them and which will be
 8    ascertained according to proof at trial.
 9           75.    DEFENDANT knew or should have known that PLAINTIFFS and the other
10    members of the CALIFORNIA LABOR SUB-CLASS were under compensated for their
11    time worked. DEFENDANT elected, either through intentional malfeasance or gross
12    nonfeasance, to not pay employees for their labor as a matter of company policy, practice
13    and procedure, and DEFENDANT perpetrated this scheme by refusing to pay PLAINTIFFS
14    and the other members of the CALIFORNIA LABOR SUB-CLASS the correct minimum
15    wages for their time worked.
16           76.    In performing the acts and practices herein alleged in violation of California
17    labor laws, and refusing to compensate the members of the CALIFORNIA LABOR SUB-
18    CLASS for all time worked and provide them with the requisite compensation,
19    DEFENDANT acted and continues to act intentionally, oppressively, and maliciously
20    toward PLAINTIFFS and the other members of the CALIFORNIA LABOR SUB-CLASS
21    with a conscious and utter disregard for their legal rights, or the consequences to them, and
22    with the despicable intent of depriving them of their property and legal rights, and otherwise
23    causing them injury in order to increase company profits at the expense of these employees.
24           77.    PLAINTIFFS and the other members of the CALIFORNIA LABOR SUB-
25    CLASS therefore request recovery of all unpaid wages, according to proof, interest,
26    statutory costs, as well as the assessment of any statutory penalties against DEFENDANT,
27    in a sum as provided by the California Labor Code and/or other applicable statutes. To the
28    extent minimum wage compensation is determined to be owed to the CALIFORNIA
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 1    LABOR SUB-CLASS Members who have terminated their employment, DEFENDANT's
 2    conduct also violates Labor Code§§ 201 and/or 202, and therefore these individuals are also
 3    be entitled to waiting time penalties under Cal. Lab. Code § 203, which penalties are sought
 4    herein on behalf of these CALIFORNIA LABOR SUB-CLASS Members. DEFENDANT's
 5    conduct as alleged herein was willful, intentional and not in good faith. Further,
 6    PLAINTIFFS and other CALIFORNIA LABOR SUB-CLASS Members are entitled to seek
 7    and recover statutory costs.
 8
 9                                    THIRD CAUSE OF ACTION
10                           For Failure To Pay Overtime Co,npensation
11                                       [Cal. Lab. Code § 510]
12       (By PLAINTIFFS and the CALIFORNIA LABOR SUB-CLASS and Against All
13                                            Defendants)
14           78.    PLAINTIFFS, and the other members of the CALIFORNIA LABOR SUB-
15    CLASS, reallege and incorporate by this reference, as though full set forth herein, the prior
16    paragraphs of this Complaint.
17           79.    PLAINTIFFS and the other members of the CALIFORNIA LABOR SUB-
18    CLASS bring a claim for DEFENDANT's willful and intentional violations of the
19 • California Labor Code and the Industrial Welfare Commission requirements for
20    DEFENDANT's failure to pay these employees for all overtime worked, including, work
21    performed in excess of eight (8) hours in a workday, and/or twelve (12) hours in a workday,
22    and/or forty (40) hours in any workweek.
23           80.    Pursuant to Cal. Lab. Code § 204, other applicable laws and regulations, and
24    public policy, an employer must timely pay its employees for all hours worked.
25           81.    Cal. Lab. Code § 510 further provides that employees in California shall not
26    be employed more than eight (8) hours per workday and more than forty (40) hours per
27    workweek unless they receive additional compensation beyond their regular wages in
28    amounts specified by law.
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 1           82.    Cal. Lab. Code§ 1194 establishes an employee's right to recover unpaid
 2     wages, including minimum wage and overtime compensation and interest thereon, together
 3     with the costs of suit. Cal. Lab. Code § 1198 further states that the employment of an
 4     employee for longer hours than those fixed by the Industrial Welfare Commission is
 5    unlawful.
 6           83.    During the CALIFORNIA LABOR SUB-CLASS PERIOD, PLAINTIFFS and
 7    CALIFORNIA LABOR SUB-CLASS Members were required, permitted or suffered by
 8     DEFENDANT to work for DEFENDANT and were not paid for all the time they worked,
 9     including overtime work.
             84.    DEFENDANT's unlawful wage and hour practices manifested, without
11     limitation, applicable to the CALIFORNIA LABOR SUB-CLASS as a whole, as a result of
12    implementing a policy and practice that failed to accurately record overtime worked by
13    PLAINTIFFS and other CALIFORNIA LABOR SUB-CLASS Members and denied
14    accurate compensation to PLAINTIFFS and the other members of the CALIFORNIA
15    LABOR SUB-CLASS for overtime worked, including, the overtime work performed in
16    excess of eight (8) hours in a workday, and/or twelve (12) hours in a workday, and/or forty
17    (40) hours in any workweek.
18           85.    In committing these violations of the California Labor Code, DEFENDANT
19    inaccurately recorded overtime worked and consequently underpaid the overtime worked by
20    PLAINTIFFS and other CALIFORNIA LABOR-SUB CLASS Members. DEFENDANT
21    acted in an illegal attempt to avoid the payment of all earned wages, and other benefits in
22    violation of the California Labor Code, the Industrial Welfare Commission requirements
23    and other applicable laws and regulations. As a direct result of DEFENDANT's unlawful
24    wage practices as alleged herein, the PLAINTIFFS and the other members of the
25    CALIFORNIA LABOR SUB-CLASS did not receive full compensation for overtime
26     worked.
27           86.    Cal. Lab. Code § 515 sets out various categories of employees who are exempt
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 1     from the overtime requirements of the law. None of these exemptions are applicable to the
 2     PLAINTIFFS and the other members of the CALIFORNIA LABOR SUB-CLASS. Further,
 3     PLAINTIFFS and the other members of the CALIFORNIA LABOR SUB-CLASS were not
 4     subject to a valid collective bargaining agreement that would preclude the causes of action
 5     contained herein this Complaint. Rather, PLAINTIFFS bring this Action on behalf of
 6     themselves and the CALIFORNIA LABOR SUB-CLASS based on DEFENDANT's
 7     violations of non-negotiable, non-waiveable rights provided by the State of California.
 8            87.    During the CALIFORNIA LABOR SUB-CLASS PERIOD, PLAINTIFFS
 9     and the other members of the CALIFORNIA LABOR SUB-CLASS have been paid less for
10     overtime worked that they are entitled to, constituting a failure to pay all earned wages.
11            88.    DEFENDANT failed to accurately pay the PLAINTIFFS and the other
12     members of the CALIFORNIA LABOR SUB-CLASS overtime wages for the time they
13     worked which was in excess of the maximum hours permissible by law as required by Cal.
14     Lab. Code§§ 510, 1194 & 1198, even though PLAINTIFFS and the other members of the
15     CALIFORNIA LABOR SUB-CLASS were required to work, and did in fact work, overtime
16     as to which DEFENDANT failed to accurately record and pay as evidenced by
17     DEFENDANT's business records and witnessed by employees.
18            89.    By virtue of DEFENDANT's unlawful failure to accurately pay all earned
19     compensation to PLAINTIFFS and the other members of the CALIFORNIA LABOR SUB-
20     CLASS for the true amount of time they worked, PLAINTIFFS and the other members of
21     the CALIFORNIA LABOR SUB-CLASS have suffered and will continue to suffer an
22    economic injury in amounts which are presently unknown to them and which will be
23    ascertained according to proof at trial.
24            90.    DEFENDANT knew or should have known that PLAINTIFFS and the other
25     members of the CALIFORNIA LABOR SUB-CLASS were under compensated for all
26     overtime worked. DEFENDANT elected, either through intentional malfeasance or gross
27    nonfeasance, to not pay employees for their labor as a matter of company policy, practice
28
                                                     34
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 1    and procedure, and DEFENDANT perpetrated this scheme by refusing to pay PLAINTIFFS
 2     and the other members of the CALIFORNIA LABOR SUB-CLASS for overtime worked.
 3            91.    In performing the acts and practices herein alleged in violation of California
 4     labor laws, and refusing to compensate the members of the CALIFORNIA LABOR SUB-
 5    CLASS for all overtime worked and provide them with the requisite overtime compensation,
 6     DEFENDANT acted and continues to act intentionally, oppressively, and maliciously
 7     toward PLAINTIFFS and the other members of the CALIFORNIA LABOR SUB-CLASS
 8    with a conscious of and utter disregard for their legal rights, or the consequences to them,
 9     and with the despicable intent of depriving them of their property and legal rights, and
10     otherwise causing them injury in order to increase company profits at the expense of these
11    employees.
12          • 92.    PLAINTIFFS and the other members of the CALIFORNIA LABOR SUB-
13     CLASS therefore request recovery of all overtime wages, according to proof, interest,
14     statutory costs, as well as the assessment of any statutory penalties against DEFENDANT,
15     in a sum as provided by the California Labor Code and/or other applicable statutes. To the
16     extent minimum and/or overtime compensation is determined to be owed to the
17     CALIFORNIA LABOR SUB-CLASS Members who have terminated their employment,
18     DEFENDANT's conduct also v'iolates Labor Code§§ 201 and/or 202, and therefore these
19     individuals are also be entitled to waiting time penalties under Cal. Lab. Code § 203, which
20     penalties are sought herein on behalf of these CALIFORNIA LABOR SUB-CLASS
21     Members. DEFENDANT's conduct as alleged herein was willful, intentional and not in
22     good faith. Further, PLAINTIFFS and other CALIFORNIA LABOR SUB-CLASS
23     Members are entitled to seek and recover statutory costs.
24    Ill
25    Ill
26    Ill
27    Ill
28    Ill
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 1                                  FOURTH CAUSE OF ACTION
 2                          For Failure to Provide Required Meal Periods
 3                                  [Cal. Lab. Code§§ 226.7 & 512]
 4       (By PLAINTIFFS and the CALIFORNIA LABOR SUB-CLASS and Against All
 5                                              Defendants)
 6           93.    PLAINTIFFS, and the other members of the CALIFORNIA LABOR SUB-
 7    CLASS, reallege and incorporate by this reference, as though fully set forth herein, the prior
 8    paragraphs of this Complaint.
 9           94.    During the CALIFORNIA CLASS PERIOD, DEFENDANT from time to time
10    failed to provide all the legally required off-duty meal breaks to PLAINTIFFS and the other
11    CALIFORNIA LABOR SUB-CLASS Members as required by the applicable Wage Order
12    and Labor Code. The nature of the work performed by PLAINTIFFS and CALIFORNIA
13    LABOR SUB-CLASS MEMBERS did not prevent these employees from being relieved of
14    all of their duties for the legally required off-duty meal periods. As a result of their rigorous
15    work schedules, PLAINTIFFS and other CALIFORNIA LABOR SUB-CLASS Members
16    were from time to time not fully relieved of duty by DEFENDANT for their meal periods.
17    Additionally, DEFENDANT's failure to provide PLAINTIFFS and the CALIFORNIA
18    LABOR SUB-CLASS Members with legally required meal breaks prior to their fifth (5th)
19    hour of work is evidenced by DEFENDANT's business records from time to time. Further,
20    DEFENDANT failed to provide PLAINTIFFS and CALIFORNIA CLASS Members with a
21    second off-duty meal period in some workdays in which these employees were required by
22    DEFENDANT to work ten (10) hours of work from time to time. As a result, PLAINTIFFS
23    and other members of the CALIFORNIA LABOR SUB-CLASS therefore forfeited meal
24    breaks without additional compensation and in accordance with DEFENDANT's strict
25    corporate policy and practice.
26           95.    DEFENDANT further violates California Labor Code§§ 226.7 and the
27    applicable IWC Wage Order by failing to compensate PLAINTIFFS and CALIFORNIA
28    LABOR SUB-CLASS Members who were not provided a meal period, in accordance with
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 1     the applicable Wage Order, one additional hour of compensation at each employee's regular
 2     rate of pay for each workday that a meal period was not provided.
 3             96.   As a proximate result of the aforementioned violations, PLAINTIFFS and
 4     CALIFORNIA LABOR SUB-CLASS Members have been damaged in an amount according
 5     to proof at trial, and seek all wages earned and due, interest, penalties, expenses and costs of
 6     suit.
 7
 8                                     FIFTH CAUSE OF ACTION
 9                            For Failure to Provide Required Rest Periods
10                                   [Cal. Lab. Code§§ 226.7 & 512]
11         (By PLAINTIFFS and the CALIFORNIA LABOR SUB-CLASS and Against All
12                                               Defend ants)
13             97.   PLAINTIFFS, and the other members of the CALIFORNIA LABOR SUB-
14     CLASS, reallege and incorporate by this reference, as though fully set forth herein, the prior
15     paragraphs of this Complaint.
16             98.   PLAINTIFFS and other CALIFORNIA LABOR SUB-CLASS Members were
17     from time to time required to work in excess of four (4) hours without being provided ten
18     ( 10) minute rest periods. Further, these employees from time to time were denied their first
19     ~est periods of at least ten (10) minutes for some shifts worked of at least two (2) to four (4)
20     hours, a first and second rest period of at least ten ( 10) minutes for some shifts worked of
21     between six (6) and eight (8) hours, and a first, second and third rest period of at least ten
22     (10) minutes for some shifts worked of ten (10) hours or more from time to time.
23     PLAINTIFFS and other CALIFORNIA LABOR SUB-CLASS Members were also not
24     provided with one hour wages in lieu thereof. As a result of their rigorous work schedules,
25     PLAINTIFFS and other CALIFORNIA LABOR SUB-CLASS Members were periodically
26     denied their proper rest periods by DEFENDANT and DEFENDANT's managers.
27             99.   DEFENDANT further violated California Labor Code§§ 226.7 and the
28     applicable IWC Wage Order by failing to compensate PLAINTIFFS and CALIFORNIA
                                                 37
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 1     LABOR SUB-CLASS Members who were not provided a rest period, in accordance with

 2     the applicable Wage Order, one additional hour of compensation at each employee's regular

 3     rate of pay for each workday that rest period was not provided.

 4             100.    As a proximate result of the aforementioned violations, PLAINTIFFS and

 5     CALIFORNIA LABOR SUB-CLASS Members have been damaged in an amount according

 6     to proof at trial, and seek all wages earned and due, interest, penalties, expenses and costs of

 7     suit.

 8                                     SIXTH CAUSE OF ACTION

 9                         For Failure to Provide Accurate Itemized Statements

10                                        [Cal. Lab. Code§ 226]

11         (By PLAINTIFFS and the CALIFORNIA LABOR SUB-CLASS and Against All

12                                              Defendants)

13             ·101.   PLAINTIFFS, and the other members of the CALIFORNIA LABOR SUB-

14     CLASS, reallege and incorporate by this reference, as though fully set forth herein, the prior
15     paragraphs of this Complaint.

16             102.    Cal. Labor Code § 226 provides that an employer must furnish employees with

17     an "accurate itemized" statement in writing showing:

18             ( 1) gross wages earned,               •
               (2) total hours worked by the employee, except for any employee whose
19             compensation is solely based on a salary and who is exempt from payment of
               overtime under subdivision (a) of Section 515 or any applicable order of the
20             Industrial Welfare Commission,
               (3) the number of piecerate units earned and any applicable piece rate if the employee
21               f
               is aid on a piece-rate basis,
               (4 all deductions, provided that all deductions made on written orders of the

               !
22             employee may be aggregated and shown as one item,
                5l net wages earneo,
23              6 the inclusive dates of the period for which the employee is paid,
                7 the name of the employee and his or her social secunty number, except that by
24             January 1, 2008, only the last four digits of his or her social security number or an
               employee identificat10n number other than a social security number may be shown on
25             the itemized statement,
               (8) the name and address of the legal entity that is the employer, and
26             (9) all applicable hourly rates in effect during the pay penod and the corresponding
               number of hours worked at each hourly rate by the employee.
27
28
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 1           103.   From time to time, DEFENDANT also failed to provide PLAINTIFFS and the
 2    other members of the CALIFORNIA LABOR SUB-CLASS with complete and accurate
 3    wage statements which failed to show, among other things, the correct gross and net wages
 4    earned. Cal. Lab. Code § 226 provides that every employer shall furnish each of his or her
 5     employees with an accurate itemized wage statement in writing showing, among other
 6    things, gross wages earned and all applicable hourly rates in effect during the pay period and
 7    the corresponding amount of time worked at each hourly rate. PLAINTIFFS and
 8    CALIFORNIA LABOR SUB-CLASS Members were paid on an hourly basis. As such, the
 9    wage statements should reflect all applicable hourly rates during the pay period and the total
10    hours worked, and the applicable pay period in which the wages were ea~ed pursuant to
11    California Labor Code Section 226(a). The wage statements DEFENDANT provided to
12    PLAINTIFFS and other CALIFORNIA LABOR SUB-CLASS Members failed to identify
13    such information. More specifically, the wage statements failed to identify the accurate total
14    hours worked each pay period. When the hours shown on the wage statements were added
15    up, they did not equal the actual total hours worked during the pay period in violation of Cal.
16    Lab. Code 226(a)(2). Aside, from the violations listed above in this paragraph,
17    DEFENDANT failed to issue to PLAINTIFFS an itemized wage statement that lists all the
18    requirements under California Labor Code 226 et seq. As a result, DEFENDANT from time
19    to time provided PLAINTIFFS and the other members of the CALIFORNIA LABOR SUB-
20    CLASS with wage statements which violated Cal. Lab. Code § 226.
21           104.   DEFENDANT knowingly and intentionally failed to comply with Cal. Lab.
22    Code § 226, causing injury and damages to PLAINTIFFS and the other members of the
23    CALIFORNIA LABOR SUB-CLASS. These damages include, but are not limited to, costs
24    expended calculating the correct wages for all missed meal and rest breaks and the amount
25    of employment taxes which were not properly paid to_ state and federal tax authorities.
26    These damages are difficult to estimate. Therefore, PLAINTIFFS and the other members of
27    the CALIFORNIA LABOR SUB-CLASS may elect to recover liquidated damages of fifty
28    dollars ($50.00) for the initial pay period in which the violation occurred, and one hundred
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 1    dollars ($100.00) for each violation in a subsequent pay period pursuant to Cal. Lab. Code§
 2     226, in an amount according to proof at the time of trial (but in no event more than four
 3    thousand dollars ($4,000.00) for PLAINTIFFS and each respective member of the
 4    CALIFORNIA LABOR SUB-CLASS herein).
 5
 6                                  SEVENTH CAUSE OF ACTION
 7                   For Failure to Reimburse Employees for Required Expenses
 8                                       [Cal. Lab. Code § 2802]
 9        (By PLAINTIFFS and the CALIFORNIA LABOR SUB-CLASS and Against All
10                                              Defendants)
11            105.   PLAINTIFFS and the other CALIFORNIA LABOR SUB-CLASS members
12    reallege and incorporate by this reference, as though fully set forth herein, the prior
13    paragraphs of this Complaint.
14            106.   Cal. Lab. Code § 2802 provides, in relevant part, that:
15            An employer shall indemnify his or her employee for all necessary
              expenditures or losses incurred by the employee in direct conse9.uence of the
16            discharge of his or her duties, or of his or her obedience to the dtrections of
              the employer, even though unlawful, unless the employee, at the time of
17            obeying the directions, believed them to be unlawful.
18            107.   At all relevant times herein, DEFENDANT violated Cal. Lab. Code§ 2802,
19    by failing to indemnify and reimburse PLAINTIFFS and the CALIFORNIA LABOR SUB-
20    CLASS members for required expenses incurred in the discharge of their job duties for
21    DEFENDANT's benefit. DEFENDANT failed to reimburse PLAINTIFFS and the
22    CALIFORNIA LABOR SUB-CLASS members for expenses which included, but were not
23    limited to, costs related to using their personal cellular phones on behalf of and for the
24    benefit of DEFENDANT. Specifically, PLAINTIFFS and other CALIFORNIA LABOR
25     SUB-CLASS Members were required by DEFENDANT to use their personal cellular
26    phones and home offices in order to perform work related job tasks. DEFENDANT's policy
27    and practice was to not reimburse PLAINTIFFS and the CALIFORNIA LABOR SUB-
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 1    CLASS members for expenses resulting from using their personal cellular phones and home
 2    offices for DEFENDANT within the course and scope of their employment for
 3    DEFENDANT. These expenses were necessary to complete their principal job duties.
 4    DEFENDANT is estopped by DEFENDANT's conduct to assert any waiver of this
 5    expectation. Although these expenses were necessary expenses incurred by PLAINTIFFS
 6    and the CALIFORNIA LABOR SUB-CLASS members, DEFENDANT failed to indemnify
 7    and reimburse PLAINTIFFS and the CALIFORNIA LABOR SUB-CLASS members for
 8    these expenses as an employer is required to do under the laws and regulations of California.
 9           108.    PLAINTIFFS therefore demand reimbursement for expenditures or losses
10    incurred by themselves and the CALIFORNIA LABOR SUB-CLASS members in the
11    discharge of their job duties for DEFENDANT, or their obedience to the directions of
12    DEFENDANT, with interest at the statutory rate and costs under Cal. Lab. Code§ 2802.
13
                                   EIGHTH CAUSE OF ACTION
14
                                 For Failure to Pay Wages When Due
15
                                  [ Cal. Lab. Code §§ 201, 202, 203]
16
                    (By Plaintiff Fox and the CALIFORNIA LABOR SUB-CLASS
17
                                      and Against All Defendants)
18
             109.    Plaintiff Fox, and the other members of the CALIFORNIA LABOR SUB-
19
      CLASS, reallege and incorporate by reference, as though fully set forth herein, the prior
20
      paragraphs of this Complaint.
21
            110. Cal. Lab. Code § 200 provides, in relevant part, that:
22          As used in this article:
            (a) "Wages" includes all amounts for labor performed by employees of
23          every description, whether the amount is fixed or ascertained by the
            standard of time, task, piece, Commission basis, or other method of calculation.
24          (b) "Labor" includes labor, work, or service whether rendered or
            performed under contract, subcontract, partnership, station plan, or other
25          agreement if the labor to be paid for is performed personally by the person
            demanding payment.
26
27
28
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 1           111.   Cal. Lab. Code § 201 provides, in relevant part, "that If an employer
 2    discharges an employee, the wages earned and unpaid at the time of discharge are due and
 3    payable immediately."
 4           112.   Cal. Lab. Code§ 202 provides, in relevant part, that:
 5           If an employee not having a written contract for a definite period quits his
             or her employment, his or her wages shall become due and payable not
 6           later than 72 hours thereafter, unless the employee has given 72 hours
             previous notice of his or her intention to qmt, in which case the employee
 7           1s entitled to his or her wages at the time of guitting. Notwithstanding any
             other provision of law, an employee who qmts without providing a 72-
 8           hour notice shall be entitled to receive payment by mail if he or she so
             requests and designates a mailing address. The date of the mailing shall
 9           constitute the date of payment for purposes of the requirement to provide
             payment within 72 hours of the notice of quitting.
10
             113.   There was no definite term in Plaintiff Fox's or any CALIFORNIA LABOR
11
      SUB-CLASS Members' employment contract.
12
             114.   Cal. Lab. Code § 203 provides, in relevant part, that:
13
             If an employer willfully fails to pay, without abatement or reduction, in
14           accordance with Sections 201, 201.5, 202, and 205.5, any wages of an
             employee who is discharged or who quits, the wages of the employee shall
15           continue as a penalty from the due date thereof at the same rate until paid
             or until an act10n therefor is commenced; but the wages shall not continue
16           for more than 30 days.
17           115.   The employment of Plaintiff Fox and many CALIFORNIA LABOR SUB-
18    CLASS Members has terminated and DEFENDANT has not tendered payment of all wages
19    owed as required by law. Additionally, at all times during the term of Plaintiff Fox's
20    employment with DEFENDANT, Plaintiff Fox and CALIFORNIA LABOR SUB-CLASS
21    Members earned and accrued vested vacation and holiday time on the date of their
22    termination pursuant to DEFENDANT's uniform vacation policies and applicable California
23    law. The amount of vacation pay Plaintiff Fox and the other CALIFORNIA LABOR SUB-
24    CLASS Members earned and accumulated is evidenced by DEFENDANT's business
25    records. Additionally, DEFENDANT also underpaid accrued vested vacation wages to
26    Plaintiff Fox and other CALIFORNIA LABOR SUB-CLASS MEMBERS by failing to pay
27    such wages at the regular rate of pay and more specifically the final rate of pay that included
28    all non-discretionary incentive compensation. Rather than pay vacation wages at the regular
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 1    rate of pay, DEFENDANT underpaid vacation wages to Plaintiff Fox and other
 2    CALIFORNIA LABOR SUB-CLASS Members at their base rates of pay, instead of
 3    including all of Plaintiff Fox's and CALIFORNIA LABOR SUB-CLASS Members' non-
 4    discretionary incentive compensation into the vacation wage payment calculations.
 5    DEFENDANT failed to specify in DEFENDANT's written vacation policy the rate at which
 6    Plaintiff Fox and other CALIFORNIA LABOR CLASS Members would be paid vacation
 7    upon leaving employment with DEFENDANT. As a result of DEFENDANT's unlawful
 8    practice, policy and procedure to deny paying Plaintiff Fox and the other members of the
 9    CALIFORNIA LABOR SUB-CLASS all of their vested vacation and holiday time,
10    DEFENDANT failed to pay Plaintiff Fox and the members of the CALIFORNIA LABOR
11    SUB-CLASS all vested vacation time as wages due upon employment termination, in
12    violation of the California Labor Code, Sections 201,202,203 and 227.3. Similarly,
13    DEFENDANT underpaid waiting time penalties to Plaintiff Fox and other CALIFORNIA
14    LABOR SUB-CLASS Members at their base rates of pay, instead of including all of
15    Plaintiff Fox's and CALIFORNIA LABOR SUB-CLASS Members' non-discretionary
16    compensation into the waiting time penalty calculations. This failure by DEFENDANT is
17    believed to be the result of DEFENDANT's unlawful, unfair and deceptive refusal to
18    provide compensation for earned, accrued and vested vacation and holiday time, as well as
19    the corresponding waiting time penalties that were paid. DEFENDANT perpetrated this
20    unlawful, unfair and deceptive practice to the detriment of Plaintiff Fox and the members of
21    the CALIFORNIA LABOR SUB-CLASS . DEFENDANT's uniform practice and policy of
22    failing to pay the LABOR SUB-CLASS Members for all vested vacation and holiday time
23    accumulated at employment termination violated and continues to violate Section 227.3 of
24    the California Labor Code.
25           116.   Therefore, as provided by Cal Lab. Code § 203, on behalf of himself and the
26    members of the CALIFORNIA LABOR SUB-CLASS whose employment has terminated
27    and who have not been fully paid their wages due to them, Plaintiff Fox demands thirty days
28    of pay as penalty for not paying all wages due at time of termination for all employees who
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 I    terminated employment during the CALIFORNIA LABOR SUB-CLASS PERIOD and
 2    demands an accounting and payment of all wages due, plus interest and statutory costs as
 3    allowed by law.
 4
                                      NINTH CAUSE OF ACTION
 5
                                  For Failure to Pay Sick Pay Wages
 6
                              [Cal.Lab. Code§§ 201-204, 210,233,246]
 7
                    (By PLAINTIFFS and the CALIFORNIA LABOR SUB-CLASS
 8
                                      and Against All Defendants)
 9
             117.    PLAINTIFFS, and the other members of the CALIFORNIA LABOR SUB-
10
      CLASS, reallege and incorporate by reference, as though fully set forth herein, the prior
11
      paragraphs of this Complaint.
12
             118.    Cal Lab. Code§ 233 provides that an employer must permit an employee to
13
      use accrued sick leave in accordance with Cal Lab. Code§ 246.5 at the employee's then
14
      current rate of entitlement. Cal Lab. Code § 246 provides that an employee is entitled to
15
      sick pay wages for use of accrued sick leave pursuant to Cal Lab. Code § 246.5.
16
      Specifically, once accrued sick leave is used as paid sick time, an employee has a vested
17
      right to sick pay wages, which an employer must calculate and compensate based on one of
18
      two calculations: (i) "Paid sick time for nonexempt employees shall be calculated in the
19
      same manner as the regular rate of pay for the workweek in which the ·employee uses paid
20
      sick time, whether or not the employee actually works overtime in that workweek," or (ii)
21
      "Paid sick time for nonexempt employees shall be calculated by dividing the employee's
22
      total wages, not including overtime premium pay, by the employee's total hours worked in
23
      the full pay periods of the prior 90 days of employment." Under Cal Lab. Code §§ 218 and
24
      233, employees may sue to recover underpaid sick pay wages as damages.
25
             119.    As a matter of policy and practice, DEFENDANT pays sick pay wages to
26
      PLAINTIFFS and the other members of the CALIFORNIA LABOR SUB-CLASS at the
27
      incorrect rate of pay. PLAINTIFFS and the other members of the CALIFORNIA LABOR-
28
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 1    SUB-CLASS regularly use accrued sick leave in the workweeks in which they also earn
 2    non-hourly remuneration. As a matter of policy and practice, DEFENDANT pays sick pay
 3    wages to PLAINTIFFS and the other members of the CALIFORNIA LABOR-SUB-CLASS
 4    at the base hourly pay, as opposed to the regular rate of pay, which would consider all non-
 5    hourly remuneration in addition to base hourly wages, or the rate resulting from dividing the
 6    employee's total wages, not including overtime premium pay, by the employee's total hours
 7    worked in the full pay periods of the prior 90 days of employment. As a result,
 8    DEFENDANT underpaid sick pay wages to PLAINTIFFS and the other members of the
 9    CALIFORNIA LABOR-SUB-CLASS.
             120.   Cal. Lab. Code§ 204 provides that wages generally are due and payable twice
11    during each calendar month and are to be paid no later than the payday for the next regular
12    payroll period. Consistent with Cal. Lab. Code§ 204, Cal. Lab. Code§ 246 specifically
13    requires that, upon use of accrued sick leave, vested sick pay wages are due and to be paid
14    no later than the payday for the next regular payroll period after accrued sick leave is used as
15    paid sick time. Similarly, Cal. Lab. Code§ 201 provides that if an employer discharges an
16    employee, wages earned and unpaid at the time of discharge are due and payable
17    immediately. Cal. Lab. Code § 202 provides that an employee is entitled to receive all
18    unpaid wages no later than 72 hours after an employee quits his or her employment, unless
19    the employee has given 72-hour notice of his or her intention to quit, in which case the
20    employee is entitled to his or her wages at the time of quitting. The Labor Code penalizes
21    untimely payments. For example, Cal. Lab. Code § 203 provides that if an employer
22    willfully fails to pay wages owed in accordance with Cal. Lab. Code§§ 201-202, then the
23    wages of the employee shall continue as a penalty from the due date, and at the same rate
24    until paid, but the wages shall not continue for more than thirty (30) days. Likewise, Cal.
25    Lab. Code § 210 provides penalties for violations of Cal. Lab. Code § 204 and untimely
26    payments during employment. Under Cal. Lab. Code§§ 203,210 and 218, employees may
27    sue to recover applicable penalties.
28           121.   As alleged herein and as a matter of policy and practice, DEFENDANT
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 1     routinely underpays sick pay wages and thus did not timely pay PLAINTIFFS and the other
 2     members of the CALIFORNIA LABOR-SUB-CLASS all owing and underpaid sick pay
 3    wages. As a result, DEFENDANT violates Cal. Lab. Code§§ 201-204, 210,233, and 246,
 4    among other Labor Code provisions. PLAINTIFFS are informed and believe that
 5    DEFENDANT was advised by skilled lawyers and knew, or should have known, of the
 6    mandates of the Labor Code as it relates to PLAINTIFFS' allegations, especially since the
 7    California Supreme Court has explained that "[c]ourts have recoginzed that 'wages' also
 8     include those benefits to which an employee is entitled as a part of his or her compensation,
 9     including money, room, board, clothing, vacation pay, and sick pay." Murphy v. Kenneth
10     Cole Prods., Inc., 40 Cal. 4th 1094, 1103 (2007)(emphasis added). Because DEFENDANT
11    willfully fails to timely pay PLAINTIFFS and the other members of the CALIFORNIA
12    LABOR-SUB-CLASS all sick pay wages due, DEFENDANT is subject to applicable
13    penalties.
14            122.   Such a pattern, practice, and uniform administration of corporate policy is
15    unlawful and entitles PLAINTIFFS and the other members of the CALIFORNIA LABOR-
16     SUB-CLASS to underpaid sick pay wages, including interest thereon, applicable penalties,
17    attorney's fees, and costs of suit.
18
19                                    TENTH CAUSE OF ACTION
20        [Disability Discrimination and Retaliation For the Exercise of Rights Guaranteed
21             Under the FEHA, Participating in Protected Activities, and/or Opposing
22                          DEFENDANT's Failure to Provide Such Rights]
23                      Violation of FEHA Government Section 12900, et. seq.
24                             (By Plaintiff Santi Against All Defendants)
25            123.   Plaintiff Santi realleges and incorporates by reference, as though fully set forth
26    herein, the prior paragraphs of this Complaint.
27            124.   On or around December 31, 2022, DEFENDANT directed Plaintiff Santi to be
28    despatched to the fire station to retrieve sand bags as there was local flooding around the
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 1    building Plaintiff Santi was assigned to work at for DEFENDANT. During the handling of
 2    the heavy and wet sandbags, Plaintiff Santi injured himself badly. Plaintiff Santi visited the
 3    emergency room and was diagnosed with a bulging/protruding L4 disc in his back. Plaintiff
 4    Santi experienced severe symptoms including extreme pain. Plaintiff Santi consulted and
 5    requested numerous times for an accommodation with DEFENDANT to allow him to
 6    remain employed but in a modified light duty position (Alpha 4 or another position with
 7    DEFENDANT) instead of a position that would require at times manual labor as described
 8    above. Plaintiff Santi' s managers failed to accommodate his requests and brushed off
 9    Plaintiff Santi' s complaints. Plaintiff Santi suffered mental and physical issues as a result of
10    the stress caused by DEFENDANT's failure to accommodate his requests. Furthermore, the
11    continuous stress from the injury and not being able to work caused Plaintiff Santi to feel
12    afraid of going into work. Shortly after the injury on or around January 5, 2023, Plaintiff
13     Santi went on formal disability leave. Plaintiff Santi continues to be employed with
14    DEFENDANT and on disability leave at the time of filing this Complaint. Prior to filing
15    this action PLAINTIFF exhausted his administrative remedies by filing a timely
16    administrative complaint with the Department of Fair Employment and Housing ("DFEH")
17    and received a DFEH Right to Sue letter on May 30, 2023.
18            125.   DEFENDANT discriminated against and failed to reasonably accommodate
19    Plaintiff Santi for his physical disabilities. Plaintiff Santi herein alleges that the actions
20    taken by employees of DEFENDANT against Plaintiff Santi occurred within the normal
21     scope and course of these individuals' employment with DEFENDANT. Plaintiff Santi
22    further alleges that these employees were Plaintiff Santi's supervisors while Plaintiff Santi
23     was employed by DEFENDANT. However, Plaintiff Santi's request for accommodation
24     fell on deaf ears, as DEFENDANT failed to respond to Plaintiff Santi's requests. Plaintiff
25     Santi requested disability accommodation and raised complaints while he worked for
26     DEFENDANT and DEFENDANT retaliated against Plaintiff Santi by taking adverse
27    employment actions, including denial of employment opportunities and privileges.
28
                                                      47
                                          CLASS ACTION COMPLAINT
     Case 5:23-cv-04996-SVK          Document 1-1       Filed 09/28/23       Page 55 of 112




 1           126.    DEFENDANT's conduct, as alleged, violated FERA, Government Code
 2    Section 12900, et seq., and DEFENDANT committed unlawful employment practices,
 3    including the following bases for liability:
 4           127.    Taking adverse employment actions against Plaintiff Santi, including barring,
 5    refusing to transfer, retain, hire, select, and/or employ, and/or otherwise discriminating
 6    against Plaintiff Santi, in whole or in part on the basis of Plaintiff Santi' s disability in
 7    violation of Government Code Section 12940(a);
 8           128.    Harassing Plaintiff Santi and/or creating a hostile work environment, in whole
 9    or in part on the basis of Plaintiff Santi disability, and/or having taken FMLA leave in
10    violation of Government Code Section 12940(j);
11           129.    Failing to take all reasonable steps to prevent discrimination and harassment
12    based on disability in violation of Government Code section 12940(k);
13           130.    Retaliating against Plaintiff Santi for seeking to exercise rights guaranteed
14    under FEHA, participating in protected activities, and/or opposing DEFENDANT's failure
15    to provide such rights, in vio'iation of Government Code Section 12940(h).
16           131.    As a proximate result ofDEFENDANT's willful, knowing, and intentional
17    discrimination against Plaintiff Santi, Plaintiff Santi has sustained and continues to sustain
18    substantial losses of earnings and other employment benefits.
19           132.    As a proximate result of DEFENDANT's willful, knowing, and intentional
20    discrimination against Plaintiff Santi, Plaintiff Santi has suffered and continues to suffer
21    humiliation, emotional distress, and physical and mental pain and anguish, all to his damage
22    in a sum according to proof.
23           133.    Plaintiff Santi has incurred and continues to incur legal expenses and
24    attorneys' fees. Pursuant to Government Code Section 12965(b), Plaintiff Santi is entitled
25    to recover reasonable attorneys' fees and costs (including expert costs) in an amount
26    according to proof.
27
28
                                                       48
                                          CLASS ACTION COMPLAINT
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 1            134.    DEFENDANT's misconduct was committed intentionally, in a malicious,
 2     oppressive manner, and fraudulent manner entitling Plaintiff Santi to punitive damages
 3     against DEFENDANT.
 4
                                     ELEVENTH CAUSE OF ACTION
 5
                              For Failure to Provide Reasonable Accommodation
 6
                                         [Cal. Gov. Code§ 12940(m)]
 7                              (By Plaintiff Santi and Against All Defendants)
 8            135.    Plaintiff Santi realleges and incorporates by reference, as though fully set forth
 9     herein, the prior paragraphs of this Complaint.
10
              136.    DEFENDANT was an employer who met all of the requirements set forth under
11
       the California Fair Employment and Housing Act.
12
              137.    Plaintiff Santi suffered from a mental disability as defined under Cal. Gov. Code
13
       § 12926G).
14
15            138.    Plaintiff Santi suffered from a physical disability as defined under Cal. Gov. Code
16     § 12926(m).
17
              139.    DEFENDANT was aware that Plaintiff Santi suffered from a physical disability
18
       as set forth herein.
19
              140.    On or around December 31, 2022, DEFENDANT directed Plaintiff Santi to be
20
       despatched to the fire station to retrieve sand bags as there was local flooding around the
21
22     building Plaintiff Santi was assigned to work at for DEFENDANT. During the handling of the
       heavy and wet sandbags, Plaintiff Santi injured himself badly. Plaintiff Santi visited the
23
       emergency room and was diagnosed with a bulging/protruding L4 disc in his back. Plaintiff
24
       Santi experienced severe symptoms including extreme pain. Plaintiff Santi consulted and
25
26     requested numerous times for an accommodation with DEFENDANT to allow him to remain
       employed but in a modified light duty position (Alpha 4 or another position with
27
       DEFENDANT) instead of a position that would require at times manual labor as described
28
                                                      49
                                           CLASS ACTION COMPLAINT
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 1    above. PlaintiffSanti's managers failed to accommodate his requests and brushed off Plaintiff
 2    Santi' s complaints. Plaintiff Santi suffered mental and physical issues as a result of the stress
 3    caused by DEFENDANT's failure to accommodate his requests. Furthermore, the continuous
 4    stress from the injury and not being able to work caused Plaintiff Santi to feel afraid of going
 5    into work. Shortly after the injury on or around January 5, 2023, Plaintiff Santi went on formal
 6    disability leave. Plaintiff Santi continues to be employed with DEFENDANT and on disability
 7    leave at the time of filing this Complaint. Prior to filing this action Plaintiff Santi exhausted
 8    his administrative remedies by filing a timely administrative complaint with the Department of
 9    Fair Employment and Housing ("DFEH") and received a DFEH Right to Sue letter on May 30,
10    2023.
11            141.   DEFENDANT discriminated against and failed to reasonably accommodate
12    Plaintiff Santi for his physical disabilities. Plaintiff Santi herein alleges that the actions taken
13    by employees of DEFENDANT against Plaintiff Santi occurred within the normal scope and
14    course of these individuals' employment with DEFENDANT. Plaintiff Santi further alleges
15    that these employees were Plaintiff Santi 's supervisors while Plaintiff Santi was employed by
16    DEFENDANT. However, Plaintiff Santi's request for accommodation fell on deaf ears, as
17    DEFENDANT failed to respond to Plaintiff Santi' s requests. Plaintiff Santi requested disability
18    accommodation and raised complaints while he worked for DEFENDANT and DEFENDANT
19    retaliated against Plaintiff Santi by taking adverse employment actions, including denial of
20    employment opportunities and privileges.
21            142.   DEFENDANT failed to provide Plaintiff Santi with reasonable accommodation
22    for his mental and physical disabilities.

23            143.   As a direct and proximate result of DEFENDANT refusing to provide Plaintiff
24    Santi with reasonable accommodation, Plaintiff Santi was met with a series of adverse
25    employment actions as set forth herein. As a further direct result ofDEFENDANT's failure to
26    provide Plaintiff Santi with a reasonable accommodation, Plaintiff Santi was harmed in the
27    form of emotional and physical pain and suffering.
28
                                                      50
                                          CLASS ACTION COMPLAINT
     Case 5:23-cv-04996-SVK         Document 1-1        Filed 09/28/23    Page 58 of 112




 1           144.    DEFENDANT's failure to provide reasonable accommodation was a substantial
 2    factor in causing Plaintiff Santi' s harm.
 3
             145.    The actions alleged herein were taken by managing agents and/or officers of
 4
      DEFENDANT and/or ratified by managing agents and/or officers of DEFENDANT. In so
 5
      doing, said managing agents and/or officers of DEFENDANT acted with malice and oppression
 6
      as those terms are used in California Code of Civil Procedure § 3294. As such, Plaintiff Santi
 7
      is entitled to an award of punitive damages.
 8
             146.    Plaintiff Santi is also entitled to recover reasonable attorney's fees and costs
 9
10    pursuant to Cal. Gov. Code § 12965(b).

11
12                                  TWELFTH CAUSE OF ACTION
                         •For Failure to Provide Reasonable Accommodation
13
                                       [Cal. Gov. Code§ 12940(m)]
14
                             (By Plaintiff Fox and Against All Defendants)
15           147.    Plaintiff Fox realleges and incorporates by reference, as though fully set forth
16    herein, the prior paragraphs of this Complaint.
17
             148.    DEFENDANT was an employer who met all of the requirements set forth
18
      under the California Fair Employment and Housing Act.
19
20           149.    Plaintiff Fox suffered from a mental disability as defined under Cal. Gov.

21    Code § 12926(j).

22           150.    Plaintiff Fox suffered from a physical disability as defined under Cal. Gov.
23    Code§ 12926(m).
24
             151.    DEFENDANT was aware that Plaintiff Fox suffered from a physical disability
25
      as set forth herein.
26
27           152.    Subsequent to Plaintiff Fox's participation in protective activity by
28    complaining to DEFENDANT ofDEFENDANT's unlawful employment practices,
                                                     51
                                         CLASS ACTION COMPLAINT
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 1    DEFENDANT subjected Plaintiff Fox to adverse employment actions by retaliating against
 2    Plaintiff Fox. Specifically, after Plaintiff Fox complained to his supervisor(s) of
 3    DEFENDANT's unlawful employment practices in November of 2022, including but not
 4    limited to reporting to DEFENDANT that DEFENDANT's company policy of requiring
 5    Plaintiff Fox and other CALIFORNIA CLASS Members to carry a firearm without a round
 6    in the chamber created a dangerous and unsafe working environment as this would create an
 7    unnecessary handling of a firearm in a public space which could increase the liability and
 8    chance of an accidental discharge (among many other issues), DEFENDANT terminated
 9    Plaintiff Fox's employment with DEFENDANT in early January of 2023. Additionally,
10    after Plaintiff Fox reported what he reasonably deemed to be an illegal and unsafe working
11    condition, DEFENDANT also instituted a brand new policy that would require Plaintiff Fox
12    to pass a fitness test known as a "Physical Readiness Test" in order to remain employed with
13    the company. DEFENDANT knew Plaintiff Fox had pre-existing medical conditions
14    including, diabetes and hypothyroidism. In fact, Plaintiff Fox obtained a Dr.' s report that
15    read "Due to [Plaintiff Fox's pre-existing medical conditions, he is not able to participate in
16    strenuous physical activities as it will adversely affect his physical health." In December of
17    2022 and January of 2023, Plaintiff Fox repeatedly asked DEFENDANT to accommodate
18    his disability and place him in a role that did not require strenuous physical activity (also
19    note prior to DEFENDANT rolling out the new "Physical readiness Test", Plaintiff Fox was
20    able to perform all his work duties satisfactorily). DEFENDANT denied Plaintiff Fox's
21    requests and ultimately terminated his employment on January 19, 2023. As a result, there
22    is a causal link between the protected activity and DEFENDANT's decision to terminate his
23    employment, which is against public policy. Prior to filing this action Plaintiff Fox
24    exhausted his administrative remedies by filing a timely administrative complaint with the
25    Department of Fair Employment and Housing ("DFEH") and received a DFEH Right to Sue
26    letter on May 30, 2023.
27
28
                                                     52
                                         CLASS ACTION COMPLAINT
     Case 5:23-cv-04996-SVK         Document 1-1         Filed 09/28/23   Page 60 of 112




 1            153.   DEFENDANT failed to provide Plaintiff Fox with reasonable accommodation
 2    for his mental and physical disabilities.
 3
              154.   As a direct and proximate result of DEFENDANT refusing to provide Plaintiff
 4
      Fox with reasonable accommodation, Plaintiff Fox was met with a series of adverse
 5
      employment actions as set forth herein. As a further direct result of DEFENDANT's failure
 6
      to provide Plaintiff Fox with a reasonable accommodation, Plaintiff Fox was harmed in the
 7
       form of emotional and physical pain and suffering and ultimately terminated from his
 8
      employment with DEFENDANT.
 9
              155.   DEFENDANT's failure to provide reasonable accommodation was a
10
       substantial factor in causing Plaintiff Fox's harm.
11
12            156.   The actions alleged herein were taken by managing agents and/or officers of
13    DEFENDANT and/or ratified by managing agents and/or officers of DEFENDANT. In so
14    doing, said managing agents and/or officers of DEFENDANT acted with malice and
15     oppression as those terms are used in California Code of Civil Procedure § 3294. As such,
16     Plaintiff Fox is entitled to an award of punitive damages.
17
              157.   Plaintiff Fox is also entitled to recover reasonable attorney's fees and costs
18
      pursuant to Cal. Gov. Code§ 12965(b).
19
20                                THIRTEENTH CAUSE OF ACTION
21                        Wrongful Termination In Violation of Public Policy
                                (By Plaintiff Fox Against All Defendants)
22
              158.   Plaintiff Fox realleges and incorporates by reference, as though fully set forth
23
       herein, the prior paragraphs of this Complaint.
24
25            159.   Subsequent to Plaintiff Fox's participation in protective activity by complaining
26     toDEFENDANTofDEFENDANT'sunlawfulemploymentpractices,DEFENDANTsubjected
27     Plaintiff Fox to adverse employment actions by retaliating against Plaintiff Fox. Specifically,
28     after Plaintiff Fox complained to his supervisor(s) ofDEFENDANT's unlawful employment
                                                     53
                                         CLASS ACTION COMPLAINT
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 1     practices in November of 2022, including but not limited to reporting to DEFENDANT that
 2     DEFENDANT's company policy ofrequiring Plaintiff Fox and other CALIFORNIA CLASS
 3     Members to carry a firearm without a round in the chamber created a dangerous and unsafe
 4     working environment as this would create an unnecessary handling of a firearm in a public
 5     space which could increase the liability and chance of an accidental discharge ( among many
 6     other issues), DEFENDANT terminated Plaintiff Fox's employment with DEFENDANT in
 7     early January of 2023. Additionally, after Plaintiff Fox reported what he reasonably deemed
 8     to be an illegal and unsafe working condition, DEFENDANT also instituted a brand new policy
 9     that would require Plaintiff Fox to pass a fitness test known as a "Physical Readiness Test" in
10     order to remain employed with the company. DEFENDANT knew Plaintiff Fox had pre-
11     existing medical conditions including, diabetes and hypothyroidism. In fact, Plaintiff Fox
12     obtained a Dr.' s report that read "Due to [Plaintiff Fox's pre-existing medical conditions, he is
13     not able to participate in strenuous physical activities as it will adversely affect his physical
14    health." In December of 2022 and January of 2023, Plaintiff Fox repeatedly asked
15     DEFENDANT to accommodate his disability and place him in a role that did not require
16     strenuous physical activity (also note prior to DEFENDANT rolling out the new "Physical
17    readiness Test", Plaintiff Fox was able to perform all his work duties satisfactorily).
18     DEFENDANT denied Plaintiff Fox's requests and ultimately terminated his employment on
19    January 19, 2023. As a result, there is a causal link between the protected activity and
20     DEFENDANT's decision to terminate his employment, which is against public policy.
21            160.   Plaintiff Fox raised complaints of illegality while he worked for DEFENDANT
22     and was believed to be willing to raise complaints, and DEFENDANT retaliated against her by
23     taking adverse employment actions, including employment termination, against him.
24
              161.   As a proximate result of DEFENDANT's willful, knowing, and intentional,
25
      Plaintiff Fox has suffered and continues to suffer humiliation, emotional distress, and mental
26
       and physical pain and anguish, all to her damage in a sum according to proof.
27
28
                                                      54
                                          CLASS ACTION COMPLAINT
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 1            162.   As a result of DEFENDANT' s adverse employment actions against PlaintiffFox,
 2     Plaintiff Fox has suffered general and special damages in sums according to proof.
 3
              163.   DEFENDANT's misconduct was committed intentionally, in a malicious,
 4
       oppressive manner, and fraudulent manner entitling Plaintiff Fox to punitive damages against
 5
       DEFENDANT.
 6
                                        PRAYER FOR RELIEF
 7
 8           WHEREFORE, PLAINTIFFS pray for judgment against each Defendant, jointly and
 9    severally, as follows:
10
       1.    On behalf of the CALIFORNIA CLASS:
11
             A)      That the Court certify the First Cause of Action asserted by the CALIFORNIA
12
                     CLASS as a class action pursuant to Cal. Code of Civ. Proc.§ 382;
13
14           B)      An order temporarily, preliminarily and permanently enjoining and restraining
15                   DEFENDANT from engaging in similar unlawful conduct as set forth herein;
16
             C)      An order requiring DEFENDANT to pay all wages and all sums unlawfuly
17
                     withheld from compensation due to PLAINTIFFS and the other members of the
18
                     CALIFORNIA CLASS; and,
19
             D)      Restitutionary disgorgement ofDEFENDANT's ill-gotten gains into a fluid fund
20
                     for restitution of the sums incidental to DEFENDANT's violations due to
21
                     PLAINTIFFS and to the other members of the CALIFORNIA CLASS.
22
23    2.     On behalf of the CALIFORNIA LABOR SUB-CLASS:
24
             A)      That the Court certify the Second, Third, Fourth, Fifth, Sixth, Seventh, Eighth
25
                     and Ninth Causes of Action asserted by the CALIFORNIA LABOR SUB-
26
                     CLASS as a class action pursuant to Cal. Code of Civ. Proc. § 382;
27
28
                                                    55
                                        CLASS ACTION COMPLAINT
     Case 5:23-cv-04996-SVK          Document 1-1         Filed 09/28/23    Page 63 of 112




 1          B)        Compensatory damages, according to proof at trial, including compensatory
 2                    damages for minimum and overtime compensation due PLAINTIFFS and the
 3                    other members of the CALIFORNIA LABOR SUB-CLASS, during the
 4                    applicable CALIFORNIA LABOR SUB-CLASS PERIOD plus interest thereon
 5                    at the statutory rate;
 6
            C)        The greater of all actual damages or fifty dollars ($50) for the initial pay period
 7
                      in which a violation occurs and one hundred dollars ($100) per each member of
 8
                      the CALIFORNIA LABOR SUB-CLASS for each violation in a subsequent pay
 9
                      period, not exceeding an aggregate penalty of four thousand dollars ($4,000), and
10
                      an award of costs for violation of Cal. Lab. Code § 226;
11
            D)        Meal and rest period compensation pursuant to Cal. Lab. Code§§ 226.7, 512 and
12
                      the applicable IWC Wage Order;
13
14          E)        For liquidated damages pursuant to California Labor Code Sections 1194.2 and
15                    1197;
16
            F)        The amount of the expenses PLAINTIFFS and each member of the
17
                      CALIFORNIA LABOR SUBCLASS incurred in the course of their job duties,
18
                      plus interest, and costs of suit.; and,
19
            G)        The wages of all terminated employees m the CALIFORNIA LABOR
20
                      SUB-CLASS as a penalty from the due date thereof at the same rate until paid or
21
                      until an action therefore is commenced, in accordance with Cal. Lab. Code § 203.
22
23     3.   On behalf of PLAINTIFFS for the Tenth, Eleventh, Twelfth and Thirteenth causes of
24          action:
25           (

            A)        Compensatory damages, according to proof at trial, but in excess of $25,000.
26
            B)        Special and General damages according to proof;
27
28          C)        Statutory damages, penalties and attorney's fees;
                                                     56
                                               CLASS ACTION COMPLAINT
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 1           D)     For punitive damages in an amount necessary to make an example of and to
 2                  punish DEFENDANT and deter DEFENDANT from engaging in future similar
 3                  conduct;
 4
             E)     For loss of earnings (both past and future); and,
 5
             F)     For interest at the legal rate in an amount according to proof.
 6
 7    4.     On all claims:
 8
             A)     An award of interest, including prejudgment interest at the legal rate;
 9
             B)     Such other and further relief as the Court deems just and equitable; and,
10
11           C)     An award of penalties, attorneys' fees and cost of suit, as allowable under the
12                  law, including, but not limited to, pursuant to Labor Code §221, §226, §1194,
13                  and/or §2802.
14
      Dated: July 7, 2023      BLUMENTHAL NORDREHAUG BHOWMIK. DE BLOUW LLP
15
16                                               Isl Nicholas De Blouw
                                         By:
17
                                                Norman B. Blumenthal
18                                              Nicholas J. De Blouw

19                                              Attorneys for Plaintiffs
20
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                                                    57
                                        CLASS ACTION COMPLAINT
     Case 5:23-cv-04996-SVK      Document 1-1                    Filed 09/28/23                            Page 65 of 112




 1                               DEMAND FOR A JURY TRIAL
 2
            PLAINTIFFS demands a jury trial on issues triable to a jury.
 3
 4
 5 Dated: July 7, 2023      BLUMENTHAL NORDREHAUG BHOWMIK DE BLOUW LLP

 6
                                       By: __,_,,/s..._l.......N.....ic....h......o=Ia.....s.......D"'""e._..B
                                                                                                           .....I.....
                                                                                                                   o=uw..LL.-_ _ __
 7                                              Norman B. Blumenthal
 8                                              Nicholas J. De Blouw

 9                                                    Attorneys for Plaintiffs
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                                      CLASS ACTION COMPLAINT
          Case 5:23-cv-04996-SVK                 Document 1-1             Filed 09/28/23                 Page 66 of 112

                                                                                                             ATTACHMENT CV-5012
CIVIL LAWSUIT NOTICE
Superior Court of California, County of Santa Clara                      CASE NUMBER: _ _. . _23.. .,c. ._v.lL:41.J1'-""8""'86w.;:4:,;. .__ _ _ __
191 North First St., San Jose, CA 95113

                                    PLEASE READ THIS ENTIRE FORM

PLAINTIFF (the person suing): Within 60 days after filing the lawsuit, you must serve each Defendant with the Complaint,
Summons, an Alternative Dispute Resolution (ADR) Information Sheet, and a copy of this Civil Lawsuit Notice, and you must file
written proof of such service.

   DEFENDANT (The person sued): You must do each of the following to protect your rights:
   1. You must file a written response to the Complaint, using the proper legal form or format, in the Clerk's Office of the
      Court, within 30 days of the date you were served with the Summons and Complaint;
   2. You must serve by mail a copy of your written response on the Plaintiffs attorney or on the Plaintiff if Plaintiff has no
      attorney (to "serve by mail" means to have an adult other than yourself mail a copy); and
   3. You must attend the first Case Management Conference.
         Warning: If you, as the Defendant, do not follow these instructions, you may automatically lose this case.



RULES AND FORMS: You must follow the California Rules of Court and the Superior Court of California, County of
<_CountyName_> Local Civil Rules and use proper forms. You can obtain legal information, view the rules and receive forms, free
of charge, from the Self-Help Center at 201 North First Street, San Jose (408-882-2900 x-2926).

     ■    State Rules and Judicial Council Forms: www.courtinfo.ca.gov/forms and www.courtinfo.ca.gov/rules
     ■    Local Rules and Forms: http://www.sccsuperiorcourt.org/civi1/rule1toc.htm
CASE MANAGEMENT CONFERENCE (CMC}: You must meet with the other parties and discuss the case, in person or by
telephone at least 30 calendar days before the CMC. You must also fill out, file and serve a Case Management Statement
(Judicial Council form CM-110) at least 15 calendar days before the CMC.

          You or your attorney must appear at the CMC. You may ask to appear by telephone - see Local Civil Rule 8.


    Your Case Management Judge is: _ _ ___..,.s.... eau...c.8roWJbwae,._c_ _ _ _ _ _ Department: _ _
                                               as....                                               1_6_ _ _ __

    The 1st CMC is scheduled for: (Completed by Clerk of Court)
                                Date: 12/05/2023           Time:      1:30pm                in Department: _ _1_6_ _ _ __
    The next CMC is scheduled for: (Completed by party if the 1st CMC was continued or has passed)
                                Date: _ _ _ _ _ _ Time: _ _ _ _ _ _ in Department: _ _ _ _ _ __


ALTERNATIVE DISPUTE RESOLUTION (ADR}: If all parties have appeared and filed a completed ADR Stipulation Form (local
form CV-5008) at least 15 days before the CMC, the Court will cancel the CMC and mail notice of an ADR Status Conference.
Visit the Court's website at www.sccsuperiorcourt.org/civil/ADR/ or call the ADR Administrator (408-882-2100 x-2530) for a list of
ADR providers and their qualifications, services, and fees.

WARNING: Sanctions may be imposed if you do not follow the California Rules of Court or the Local Rules of Court.




CV-5012 REV 08/01/16                               CIVIL LAWSUIT NOTICE                                                                 Page 1 of 1
                  Case 5:23-cv-04996-SVK                              Document 1-1                 Filed 09/28/23               Page 67 of 112
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                                                 number. and address/:                                                                  FOR COURT USE ONLY

   Kyle Nordrehaug        (Bar# 205975)
   Blumenthal Nordrehaug Bhowmik De Blouw LLP
   2255 Calle Clara, La Jolla, CA 92037                                                                            Electronically Filed
        TELEPHONE NO.: (858) 551-1223                   FAXN0.:(858) 551-1232
  ATTORNEY FOR (Name/: Plaintiffs Rustin Fox and Gabriele Santi                                                    t y Superior Court of CA,
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SANTA CLARA                                                                C ounty of Santa Clara,
      sTREETADDREss: 191 North First Street                                                                        en 7n/20231:10 PM
      MAILING ADDREss: 191 North First Street
                                                                                                                   F eviewed By: R. Cachux
     c1TY AND z1P coDE: San Jose 951 I 3
         BRANCH NAME: Downtown
                                                                                                                   Case #23CV418864
   CASE NAME:                                                                                                      c nvelope: 12421879
        RUSTIN FOX et al. v. CRISIS24 PROTECTIVE SOLUTIONS, LP
        CIVIL CASE COVER SHEET                                           Complex Case Designation                     CASE NU2':!CV418864
[X] Unlimited                      D     Limited
                                                                     D     Counter          D      Jolnder
    (Amount                              (Amount
                                                                                                                       JUDGE:
    demanded                             demanded is                Filed with first appearance by defendant
    exceeds $25,000)                     $25,000 or less)               (Cal. Rules of Court, rule 3.402)               DEPT:
                                             Items 1-6 below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:
      Auto Tort                                                   Contract                                    Provisionally Complex Clvll Litigation

      B         Auto(22)
                Uninsured motorist (46)
                                                                  D
                                                                  D
                                                                        Breach of contract/warranty (06)
                                                                         Rule 3.740 collections (09)
                                                                                                              (Cal. Rules of Court, rules 3.400-3.403)
                                                                                                              D      Antitrust/Trade regulation (03)
      Other PI/PD/WD (Personal Injury/Property                    D      Other collections (09)               D      Construction defect (10)
      Damage/Wrongful Death) Tort                                 D      Insurance coverage (18)              D      Mass tort (40)
      D         Asbestos (04)                                     D      Other contract (37)                  D      Securities litigation (28)
      D         Product liability (24)                            Real Property                               D      EnvironmentalfToxic tort (30)
      D         Medical malpractice (45)            D condemnation
                                                           Eminent domain/Inverse                             D
                                                                                                Insurance coverage claims arising from the
      D    Other PI/PD/WD (23)                                          (14)                    above listed provisionally complex case
      Non-PI/PD/WD (Other) Tort                     D Wrongful eviction (33)                    types (41)

      D Business tort/unfair business practice (07) D Other real property (26)            Enforcement of Judgment
      D Civil rights (08)                           Unlawful Detainer                     D Enforcement of judgment (20)
      D Defamation (13)                             D Commercial (31)                     Miscellaneous Clvll Complaint
      D Fraud (16)                                  D Residential (32)                    D RIC0(27)
      D Intellectual property (19)                  D Drugs (38)                          D Other complaint (not specified above) (42)
      D Professional negligence (25)                Judicial Review                       Miscellaneous Clvll Petition
      D Other non-PI/PD/WD tort (35)                D Asset forfeiture (05)               D     Partnership and corporate governance (21)
      D loyment
          Wrongful termination (36)
                                                    D Petition re: arbitration award (11) D Other petition (not specified above) (43)
                                                    D Writ of mandate (02)
      [X] Other employment (15)                                   n      Other judicial review (39)
2.     This case       W is   LJ is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
       factors requiring exceptional judicial management:
       a.   D      Large number of separately represented parties                    d. [X] Large number of witnesses
      b. [X] Extensive motion practice raising difficult or novel                    e.   D Coordination with related actions pending in one or more courts
             issues that will be time-consuming to resolve                                      in other counties, states, or countries, or in a federal court
      c. [X] Substantial amount of documentary evidence                              f.   D Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a.[X] monetary b. [X] nonmonetary; declaratory or injunctive relief                                              c. [X] punitive
4. Number of causes of action (specify): THIRTEEN (13)
5. This case           [X] is          D is not           a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: July 7, 2023
                                                                                                       Isl Nicholas De Blouw
                          Nicholas J. De Blouw
                                   (TYPE OR PRINT NAME)
                                                                                               ►             (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                                   NOTICE
     • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
       under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
       in sanctions.
     • File this cover sheet in addition to any cover sheet required by local court rule.
     • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
       other parties to the action or proceeding.
     • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onlv.
                                                                                                                                                                         Pa11e 1 of 2
Form Adopted for Mandatory Use                                    CIVIL CASE COVER SHEET                                  Cal. Rules of Court. rules 2.30. 3.220. 3.400-3.403, 3.740;
  Judicial council of California                                                                                                  Cal. Standards of Judicial Administration. std. 3.10
   CM-010 (Rev. July 1, 2007]                                                                                                                                   www.courtinfo.ca.gov
                                                                                                              LexisNexis® Al110111ated California Judicial Council Forms
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                                                                                                                                                     CM-010
                                            INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3. 740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)-Personal Injury/Property              Breach of Contract/Warranty (06)               Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                             Breach of Rental/Lease                                   AntitrusVTrade Regulation (03)
      Uninsured Motorist (46) (if the                            Contract (not unlawful detainer                     Construction Defect (10)
          case involves an uninsured                                 or wrongful eviction)                           Claims Involving Mass Tort (40)
          motorist claim subject to                         Contract/Warranty Breach-Seller                          Securities Litigation (28)
          arbitration, check this item                           Plaintiff (not fraud or negligence)                 Environmentalrroxic Tort (30)
          instead of Auto)                                  Negligent Breach of ContracV                             Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                                 Warranty                                                 (arising from provisionally complex
Property Damage/Wrongful Death)                             Other Breach of Contract/Warranty                             case type listed above) (41)
Tort                                                    Collections (e.g., money owed, open                     Enforcement of Judgment
      Asbestos (04)                                         book accounts) (09)                                      Enforcement of Judgment (20)
          Asbestos Property Damage                          Collection Case-Seller Plaintiff                             Abstract of Judgment (Out of
                                                            Other Promissory Note/Collections                                 County)
          Asbestos Personal Injury/
               Wrongful Death                                    Case                                                    Confession of Judgment (non-
      Product Liability (not asbestos or                Insurance Coverage (not provisionally                                 domestic relations)
          toxic/environmental) (24)                         complex) (18)                                                Sister State Judgment
      Medical Malpractice (45)                              Auto Subrogation                                             Administrative Agency Award
          Medical Malpractice--                             Other Coverage                                                  (not unpaid taxes)
                Physicians & Surgeons                   Other Contract (37)                                              Petition/Certification of Entry of
          Other Professional Health Care                    Contractual Fraud                                               Judgment on Unpaid Taxes
                Malpractice                                 Other Contract Dispute                                       Other Enforcement of Judgment
                                                    Real Property                                                             Case
      Other PI/PD/WD (23)
          Premises Liability (e.g., slip                Eminent Domain/Inverse                                  Miscellaneous Civil Complaint
               and fall)                                   Condemnation (14)                                         RICO (27)
          Intentional Bodily Injury/PD/WO               Wrongful Eviction (33)                                       Other Complaint (not specified
                                                                                                                        above) (42)
                (e.g., assault, vandalism)              Other Real Property (e.g., quiet title) (26)
          Intentional Infliction of                                                                                     Declaratory Relief Only
                                                           Writ of Possession of Real Property                          Injunctive Relief Only (non-
                Emotional Distress                         Mortgage Foreclosure                                              harassment)
          Negligent Infliction of                          Quiet Title
                Emotional Distress                                                                                      Mechanics Lien
                                                           Other Real Property (not eminent
          Other PI/PD/WD                                                                                                Other Commercial Complaint
                                                           domain, landlord/tenant, or
                                                                                                                             Case (non-tort/non-complex)
Non-Pl/PD/WO (Other) Tort                                  foreclosure)
                                                                                                                        Other Civil Complaint
      Business Tort/Unfair Business                 Unlawful Detainer                                                       (non-tort/non-complex)
         Practice (07)                                  Commercial (31)
                                                                                                                Miscellaneous Civil Petition
      Civil Rights (e.g., discrimination,               Residential (32)                                             Partnership and Corporate
          false arrest) (not civil                      Drugs (38) (if the case involves illegal                         Governance (21)
           harassment) (08)                                  drugs, check this item; otherwise,                      Other Petition (not specified
      Defamation (e.g., slander, libel)                      report as Commercial or Residential)                        above) (43)
            (13)                                    Judicial Review                                                      Civil Harassment
      Fraud (16)                                        Asset Forfeiture (05)                                            Workplace Violence
      Intellectual Property (19)                        Petition Re: Arbitration Award (11)                              Elder/Dependent Adult
      Professional Negligence (25)                      Writ of Mandate (02)                                                  Abuse
          Legal Malpractice                                 Writ-Administrative Mandamus                                 Election Contest
         Other Professional Malpractice                     Writ-Mandamus on Limited Court
                                                                                                                         Petition for Name Change
            (not medical or legal)                              Case Matter                                              Petition for Relief From Late
      Other Non-PI/PD/WD Tort (35)                          Writ-Other Limited Court Case                                     Claim
Employment                                                      Review                                                   Other Civil Petition
      Wrongful Termination (36)                         Other Judicial Review (39)
      Other Employment (15)                                Review of Health Officer Order
                                                            Notice of Appeal-Labor
                                                               Commissioner Appeals
CM-010 !Rev. July 1, 2007)                                                                                                                               Page 2 of 2
                                                        CIVIL CASE COVER SHEET                         LexisNexis® Automated California Judicial Council Forms
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                                 SANTA CLARA COUNTY SUPERIOR COURT
                                   ALTERNATIVE DISPUTE RESOLUTION
                                         INFORMATION SHEET
Many cases can be resolved to the satisfaction of all parties without the necessity of traditional litigation, which can be expensive, tlme
consuming, and stressful. The Court finds that ii is In the best interests of the parties that they participate in alternatives to traditional
lltlgatlon, including arbitration, mediation, neutral evaluation, special masters and referees, and settlement conferences .. Therefore, all
matters shall be referred to an appropriate form of Alternatlve Dispute Resolution (ADR) before they are set for trial, unless there Is good
cause to dispense with the ADR requirement.                                             •

WhatisADR?
ADR Is the general term for a wide variety of dispute resolution processes that are alternatives to litigation. Types of ADR processes
include ·mediation, arbitration, neutral evaluation, special masters and referees, and settlement conferences, among others forms.

What are the advantages of choosing ADR instead of litigation?
ADR can have a number of advantages over litigation:

   •     ADR can save time. A dispute can be resolved in a matter of months, or even weeks, while litigallon can take years.

   •     ADR can save money. Attorney's fees, court costs, and expert fees can be reduced or avoided altogether.

   •     ADR provides more participation. Parties have more opportunities with ADR to express their Interests and concerns, instead
         of focusing exclusively on legal rights.

   •     ADR provides more control and flexlblllty. Parties can choose the ADR process that is most likely to bring a satisfactory
         resolution to their dispute.

   •     ADR can reduce stress. ADR encourages cooperation and communication, while discouraging the adversarial atmosphere of
         litigation. Surveys of parties who have participated In an ADR process have found much greater satisfaction than with parties
         who have gone through litigation.

What ate the main forms of ADR offered by th~ Court?
Mediation Is an Informal, confidential, flexible and non-binding process in the mediator helps the parties to understand the Interests of
everyone involved, and their practical and legal choices. The mediator helps the parties to communicate better, explore legal and practical
settlement options, and reach an acceptable solution of the problem. The mediator does not decide the solution to the dispute; the parties
do.

•Mediation may be appropriate when:
   •      The parties want a non-adversary procedure
   •      The parties have a continuing business or personal relationship
   •      Communication problems are interfering with a resolution
   •      There is an emollonal element involved
   •      The parties are interested in an injunction, consent decree, or other form of equitable relief

Neutral evaluation, sometimes called "Early Neutral Evaluation" or "ENE", Is an informal prooess In which the evaluator, an experienced
neutral lawyer, hears a compact presentation of both sides of the case, gives a non-binding assessment of the strengths and weaknesses
on ea_ch side, and predicts the likely outcome. The evaluator can help parties to identify Issues, prepare stipulations, and draft discovery
plans. The parties may use the neutral's evaluation to discuss settlement.

Neutral evaluation may be appropriate when:
  •      The parties are far apart In their view of the law or value of the case
  •      The case involves a technical Issue in which the evaluator has expertise
  •      Case planning assistance would be helpful and would save legal fees and costs
  •      The parties are Interested in an Injunction, consent decree, or other form of equitable relief

                                                                    -over-




CV-5003 REV 6fl6/13              ALTERNATIVE DISPUTE RESOLUTION INFORMATION SHEET
                                                   CIVIL DIVISION
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Arbitration Is a less formal process than a trial, with no jury. The arbitrator hears the evidence and arguments of the parties and then
makes a written decision: The parties can agree to binding or non-binding arbitration. In binding arbitration, the arbitrator's decision is final
and completely resolves the case, without the opportunity for appeal. In non-binding arbitration, the arbitrator's decision could resolve the
case, without the opportunity for appeal, unless a party timely rejects the arbitrator's decision within 30 days and requests a trial. Private
arbitrators are allowed to charge for their time.

Arbitration may be appropriate when:
   •      The action is for personal injury, property damage, or breach of contract
   •      Only monetary damages are sought
   •      Witness testimony, under oath, needs to be evaluated
   •      An advisory opinion Is sought from an experienced litigator (If a non-binding arbitration)

C_ivil Judge ADR allows parties to have a mediation or settlement conference with an experienced Judge of the Superior Court. Mediation
is an Informal, confidential, flexible and non-binding process in which the judge helps the parties to understand the interests of everyone
involved, and their practical and legal choices. A settlement conference is an informal process In which the judge meets with the parties or
their attorneys, hears the facts of the dispute, helps Identify issues to be resolved, and normally suggests a resolution that the parties may
accept or use as a basis for further negotiations. The request for mediation or settlement conference may be made-promptly by stipulaUon
(agreement) upon the filing of the Civil complaint and the answer. T~ere is no charge for this service.

Civil Judge ADR may be appropriate when:
   •      The parties have complex facts to review
   •      The case Involves multiple parties and problems
   •      The courthouse surroundings would he· helpful to the settlement process

Special masters and referees are neutral parties who may be appointed by the court to obtain Information or to make spectflc fact
findings that may lead fo a resolution of a dispute.
Special masters and referees can be particularly effective in complex cases with a number of parties, like construction disputes.

Settlement conferences are informal processes in which the neutral (a judge or an experienced attorney) meets with the parties or their
attorneys, hears the facts of the dispute, helps identify Issues to be resolved, and normally suggests a resolution that the parties may
accept or use as a basis for further negotiations.
Settlement conferences can be effective when the authority or expertise of the Judge or experienced attorney may help the parties reach a
resolution.

What kind of disputes can be resolved by ADR?
 Although some disputes must go to court, almost any dispute can be resolved through ADR. This Includes disputes Involving business
matters; civil rlghts; collections; corporations; construction; consumer protection; contracts; copyrights; defamation; disabilities;
·discrimination; employment; environmental problems; fraud; harassment; health care; housing; Insurance; intellectual properly; labor;
 landlord/tenant; media; medical malpractice and other professional negligence; neighborhood problems; partnerships; patents; personal
 injury; probate; product liability; property damage; real estate; securities; sports; trade secret; and wrongful death, among other matters.

Where can you get assistance with selecting an appropriate form of ADR and a neutral for your case, information about ADR
procedures, or answers to other questions about ADR?

Contact:
Santa Clara County Superior Court                                                   Santa Clara County DRPA Coordinator
ADR Administrator                                                                   408-792-2784
408-882-2530




CV-5003 REV 6/26/13               ALTERNATIVE DISPUTE RESOLUTION INFORMATION SHEET
                                                    CML DIVISION
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                                                                              Revised December 28, 2020

                                       Complex Civil Guidelines


                                     GUIDELINES AND PROTOCOLS

                                COMPLEX CIVIL LITIGATION DEPARTMENT

Welcome to the Complex Civil Litigation Departments of the Superior Court of California, County of
Santa Clara. We apply case management principles designed to reduce the time and expense normally
associated with complex civil litigation cases.

Counsel are expected to be familiar with the applicable California Rules of Court, Local Rules - Superior
Court of California. County of Santa Clara, The Santa Clara County Bar Association Code of
Professionalism, and the Deskbook on the Management of Complex Civil Litigation. Counsel should also
be familiar with the complex litigation portion of the Santa Clara County Superior Court website:
https:l/www.scscourt.org/court divisions/civil/complex/civil complex.shtml.

Familiarity with these guidelines and protocols will answer common procedural questions and should
assist you in your appearances in these Departments. Note: These Guidelines and Protocols are revised
from previous versions. Your thoughts and suggestions are always welcome. Significant practice
highlights include:

         The website for the Complex Departments is now integrated into the Court's site,
www.scscourlorg.        Please go to the following portion of the Court's website:
ltttps:/lwww.scscourlorg/court divisions/civil/complex/civil complex.shtml.

        Tentative rulings on motions of all types are posted online by 2:00 p.m. the day before the
hearing, and, unless an objection is properly raised by 4:00 p.m. the day before the hearing, the ruling
will automatically become the Court's order the next day. For specific information, go to:
http://www.scscourlorglonline services/tentatives/tentative rulings.slttml and- select the appropriate
department

       Ex parte hearings require advance reservation with the Coordinator. Letter briefs are not
acceptable.

        Case management conference statements are to be in a combined format; see VIL 3 below.

       No discovery motions may be filed until the parties have meaningfully met and conferred AND
met with the Court for a face-to-face Informal Discovery Conference.

       The Court requires detailed JOINT pre-trial statements in advance of a pre-trial conference
where counsel are expected to make concrete suggestions as to efficient trial management; see XI
below.




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        Counsel should NOT use a Form CIV-110 in a case involving class or PAGA claims, as
resolution of such claims requires court approval.

       For class actions, counsel should be familiar with the Court's Guidelines for Motions Relating
to Class Certification and Guidelines for Motions Relating to Preliminary Approval and Final Fairness
Hearings. Both sets of Guidelines are on the complex litigation portion of the Court's website.




                         PLAINTIFF MUST SERVE A COPY OF THESE GUIDELINES
                                WITH THE SUMMONS AND COMPLAINT.



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I.      CONTACT INFORMATION

        Departments 1 and 3: Physical Address:

        Downtown Superior Courthouse, 191 North First Street, San Jose, CA 95113.

        Department 1:           The Honorable Sunil R. Kulkarni                          408-882-2110
                                Courtroom Clerk: Mark Rosales/JeeJee Vizconde            408-882-2110

        Department 3:           The Honorable Patricia M. Lucas                          408-882-2130
                                Courtroom Clerk: JeeJee Vizconde                         408-882-2130

        Complex Litigation Coordinator {for both Departments 1 and 3):
        Rowena Walker               rwalker@scscourt.org                                 408-882-2286

        E-Filing Web Site:            http://www.scscourt.org/forms and filing/efiling.shtml


II.     INTRODUCTION

        Complex cases suitable for assignment to the Complex Civil Litigation Department are defined in
        Rule 3.400, California Rules of Court ("CRC Rules"). Cases will be assigned to the Complex
        Civil Litigation Department, for all purposes, including discovery and trial, by the Court's own
        motion, or on motion of any of the parties, pursuant to the procedures specified in Rule 3 .400.
        Motions for complexity determination shall be heard in the Complex Civil Litigation Department.
        It is within the Court's discretion to accept or reject a case for complex designation.

        In general, cases assigned to the Complex Civil Litigation Department will be managed in
        accordance with the principles set forth in the Deskbook on the Management of Complex Civil
        Litigation ("Deskbook").




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   III. COURTROOM DEMEANOR, CONDUCT AND ETIQUETTE

        I. The Court expects formality, civility and proper decorum at all times. Witnesses and parties
        are to be addressed and referred to by their surnames. COURTESY AND RESPECT TOWARDS
        EVERYONE IN THE COURTROOM JS REQUIRED. Advise all witnesses and parties to
        observe appropriate courtroom demeanor and punctuality. The civil and courteous treatment of
        courtroom staff and opposing counsel is a paramount professional obligation of counsel.

        The Santa Clara County Superior Court, by standing order, has adopted the Code of
        Professionalism of the Santa Clara County Bar Association. Counsel are expected to be familiar
        with the Code and use it as a guide for appropriate attorney behavior.

        2. All pagers, cell phones and other audible electronic devices must be TURNED OFF while in
        the courtroom whether or not court is in session, unless specific permission is obtained from the
        Court.

        3. Do not approach the clerk or reporter while court is in session for any reason.

        4. Objections, statements and arguments must be addressed to the Court rather than opposing
        counsel. Counsel may speak from the lectern (if present) or the counsel table. Counsel must stand
        when objecting or addressing the Court. Counsel may approach any witnesses as necessary only
        with leave of Court.

        5. At the end of each day, counsel must clear work areas including the area in the rear of the
        courtroom.

        6. Use of the department's copier or telephone requires the Court's permission.

        7. It is counsel's responsibility to note the date and time set for any future hearing. Hearing dates
        are set by contacting the Coordinator.

        8. Courtroom staff will not make copies at counsel's request unless directed to do so by the
        Court. Copy work completed by courtroom staff is subject to the current per-page copy fee.

        9. If a peremptory challenge or challenge for cause is upheld, the case will be referred to the Civil
        Supervising Judge for reassignment.


   JV. GENERAL MATTERS

              1. The Court expects all counsel to maintain regular communication with each other
                  regarding hearing dates, progress of the case, and settlement possibilities. A condition of



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                 remaining in a complex department is that counsel will behave toward all counsel and
                 other participants with civility, courtesy and professionalism, both in and out of court.
                 Meeting and conferring with opposing counsel on both procedural issues as well as
                 substantive issues is mandated.

             2. Continuances of hearing or trial dates are discouraged but may be necessary from time to
                 time. Continuances of hearings and trial dates by stipulation are not permitted without
                 prior approval of the Court, and only to a date pre-approved by the Court. Please call the
                 Coordinator for available dates before contacting other counsel. If preliminary approval is
                 given, a written stipulation must be provided before the hearing or trial date. Faxed
                 signatures on stipulations are permitted.

             3. In the event a case settles before a court hearing or trial date, parties must telephonically
                 notify the Court as soon as the disposition is agreed upon and must file with the Complex
                 Litigation Department either a Notice of Settlement, Request for Dismissal, a Stipulation
                 for Entry of Judgment or a Judgment on Stipulation that is ready for the Court's signature.
                 If the applicable document is not ready, counsel must appear at the time scheduled for
                 hearing and recite the settlement for the record.

             4. Cross-complainants must serve a copy of these guidelines upon any new parties and give
                 notice of any scheduled hearings and depositions at the time the cross-complaint is served.

             5. All actions classified as complex or provisionally complex are subject to the Court's
                 Electronic Filing and Service Standing Order, unless exempted by order of the Court for
                 good cause. Further information is posted on the Court's website at
                 http://www.scscourlorglforms and fi/inglefi[ing.shtml.

             6. For class actions, counsel should be familiar with the Court's Guidelines for Motions
                 Relating to Class Certification and Guidelines for Motions Relating to Preliminary
                 Approval and Final Fairness Hearings. Both sets of Guidelines are on the complex
                 litigation portion of the Court's website.




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   V.      EX PARTE APPLICATIONS

             1. Ex parte appearances are discouraged except in unusual situations. Hearing dates must be
                 coordinated with the Coordinator. Strict compliance with CRC Rules 3.1200-3.1207 is
                 required. In addition, the ex parte application and all supporting papers, including any
                 proposed pleading, motion or order shall be electronically submitted to the Court's
                 website by noon the Court day before the scheduled ex parte hearing date.

             2. The Court is eager to assist counsel when specific problems arise that may not require a
                 formal motion. To arrange a conference with the Court when all counsel agree to the
                 advisability of such a discussion, please contact the Coordinator to reserve a time for the
                 conference. In these instances "letter briefs" are not acceptable, but briefs on court
                 pleading paper not exceeding 3 pages may be submitted.

             3. During the COVID-19 pandemic, the Court requires telephone or videoconference
                 appearances (both through CourtCall), unless specific permission is given by the Court for
                 counsel to appear in person.


   VI. DISCOVERY

             l. The Court believes in open discovery in accordance with the law, but expects counsel to
                 refrain from engaging in excessive and abusive discovery.

             2. Discovery meet and confer obligations require an actual conference (in-person, telephonic,
                 or videoconference) between counsel. If a resolution is not reached, parties are required
                 to have an informal discovery conference (IDC) with the Court before filing any
                 discovery motion, unless otherwise authorized by the Court. Each side must serve and
                 lodge a short brief, limited to no more than 3 pages, two court days in advance of the
                 IDC. To schedule an IDC with the Court, please contact the Coordinator.

             3. Any dates given by the Court relating to this JDC process have no impact on statutory
                 deadlines for filing motions or any other papers, including, but not limited to, the 45-
                 day deadline for filing a motion to compel further responses. The party who files a
                                                   1


                 discovery motion must address the motion's timeliness in its moving papers.




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             4. Counsel and/or parties with full authority to resolve the discovery issue(s) must personally
                 attend the IDC unless excused by the Court.

             5. During the COVID-19 pandemic, the Court requires telephone or videoconference
                 appearances (both through CourtCall) for IDCs, unless specific permission is given by the
                 Court for counsel to appear in person.

   VII. LAW AND MOTION

             1. Law and Motion matters are generally heard at I :30 p.m. on Wednesday for Department 3
                 and at I :30 p.m. on Thursday for Department 1.

             2. Counsel must first clear the hearing date with the other parties before contacting the
                 Coordinator. You must provide the Court with the name of the case, the case number,
                 type of hearing, hearing date requested, and name and telephone number of the filing
                 attorney.

             3. Before the hearing of any motion, petition or application, all counsel and parties
                 representing themselves shall meet and confer in a good faith effort to eliminate the
                 necessity of the hearing.

             4. The Court values the importance of the training of the next generation of trial
                 lawyers, which must include substantive speaking opportunities in court. The Court
                 strongly encourages the parties and senior attorneys to allow the participation of
                junior lawyers in all court proceedings, particularly in arguing motions where the
                junior lawyer drafted or contributed significantly to the motion or opposition.

             5. Motions or applications to seal must be heard no later than any motion relying on the
                materials for which sealing is sought. Upon denial of a motion or application to seal, the
                moving party must notify the Court that the materials are to be filed unsealed (CRC Rule
                2.55 l(b)(b)) or refrain from relying on the materials, which will not be part of the record.

             6. When the Court sustains a demurrer or grants a motion to strike with leave to amend and
                an amended pleading is filed, the plaintiff or cross-complainant shall file with its
                opposition to any successive demurrer or motion to strike a redline comparing the
                amended pleading to the previous version of the pleading.

             7. Counsel for moving parties must notify the Court as soon as possible regarding any matter
                 to be taken off calendar or continued. Notice of continuances of hearings must be
                 provided by the moving party.




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                8. During the COVID-19 pandemic, counsel are required to appear for hearings through
                telephone or videoconference (through CourtCall), unless specific permission is obtained
                from the Court to appear in person. There will be a public access line so members of the
                public can virtually attend.


   VIII.   CASE MANAGEMENT CONFERENCE

             1. The first case management conference is generally scheduled one hundred twenty (120)
                 days after the action is filed. Plaintiff is required to give notice of this conference date to
                 all other parties.

             2. Case Management Conferences are generally heard at 2:30 p.m. on Wednesday for
                 Department 3 and at 2:30 p.m. on Thursday for Department I. Such conferences are
                 scheduled as necessary to monitor the progress of the case and to assist counsel and the
                 parties as the matter progresses. The parties should expect the Court to schedule a status
                 conference approximately every 120 days.

             3. Judicial Council Form CM-110, Civil Case Management Statement (required by CRC
                 3.725(c)), is not well-suited for complex cases. Instead, the parties shall file a joint case
                 management statement no later than five calendar days before the hearing for each
                 conference addressing the following subjects:

                (a) a brief objective summary of the case,
                (b) a summary of any orders from prior case management conferences and the progress of
                the parties' compliance with said orders,
                (c) significant procedural and practical problems that may likely be encountered,
                (d) suggestions for efficient management, including a proposed timeline of key events, and
                (e) any other special consideration to assist the Court in determining an effective case
                management plan.

        A status conference statement may be filed as an alternative to the case management statement
        when appropriate. A status conference statement is generally less detailed than a case
        management statement and is to be used to advise the Court of progress or developments in the
        case which have occurred since the last review hearing.

                4. During the COVID-19 pandemic, counsel are required to appear for hearings through
                telephone or videoconference (through CourtCall), unless permission is obtained from the
                Court to appear in person. There will be a public access line so members of the public can
                virtually attend.




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   IX. CASE MANAGEMENT AND REFERENCE ORDERS

              1. Case Management Orders are not required in all cases, but may be helpful in cases where
                 the sequencing and timing of key events are necessary in the management of the litigation
                  and preparation of the case for trial. However, even if a case management order is not
                  necessary in a particular case, all complex cases must be managed by counsel, or the
                  Court, or both.

             2. Mediation and Reference matters should not commence until all parties are before the
                Court but not later than six months after the original complaint was filed, except for good
                cause.

             3. Mediation and Reference matters should be concluded 12 months after their initiation
                (approximately 18 months after the-original complaint was filed), except for good cause.

             4. Brevity in drafting the Order may help focus your case and assist in reaching the desired
                 goal (i.e., early informed resolution of your case in a cost-effective manner).

             5. After a date is scheduled with the Court, it may not be continued by stipulation of the
                 parties without the Court's consent.




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   X.   MANDATORY SETTLEMENT CONFERENCES (MSC)

             1. If there is an objection to the trial judge's participation in the mandatory settlement
                 conference, counsel must advise the Court as soon as possible, and in no event, later than
                 the date the MSC is set. No case will be tried before a good faith effort is made to settle.
                 Mandatory settlement conferences set on the Court's calendar are typically set at the time
                 the trial is set, and generally, the final mandatory settlement conference takes place a
                 week to two weeks before the first day of trial, typically on a Wednesday.

             2. Trial counsel, parties, and persons with full authority to settle the case must personally
                 attend unless excused by the Court. If insurance coverage is available to satisfy the
                 plaintiffs settlement demand and a representative of defendant's insurer with full
                 settlement authority attends the mandatory settlement conference with defendant's trial
                 counsel, named defendants need not attend unless their personal consent is necessary to
                 settle the case. Named defendants must also personally attend the mandatory settlement
                 conference when (a) there is an insurance coverage dispute; (b) plaintiff seeks to recover
                 damages not covered by insurance; or (c) plaintiffs demand exceeds insurance policy
                 limits. Failure to appear will result in the imposition of sanctions. Settlement Conference
                 Statements must be filed at least five (5) court days before the scheduled conference (Rule
                 3.1380).

             3. Any request for a waiver of the requirement to personally appear at the MSC, whether
                 conducted by the Court or a special master, must be made by written application to the
                 Court.


   XI. MINI-TRIALS

        There may be a pivotal issue, such as a special defense or evidentiary ruling, upon which the rest
        of the case depends. If counsel agree, the Court will set aside time before or during the trial to
        hear mini-trials on such issues. Time will be appropriately limited. Briefs and factual stipulations
        must be submitted in advance. Limited testimony may be taken, for example, as in an Evidence
        Code § 402 situation. Contact the Coordinator to schedule a date and submit a stipulation signed
        by all counsel.




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   XII. PRE-TRIAL CONFERENCE

        There will be a detailed pre-trial conference l 0-15 days before trial to discuss procedural issues
        and preliminary matters in order to make the trial process as predictable and smooth as possible.

        The conference may be a time for the Court to discuss trial evidence presentation and use of audio-
        visual equipment. The conference is not for the purpose of hearing motions in limine. An example
        of an issue for the conference: Product liability case in which the manner of presenting the
        underlying case is of concern. Will the Court allow counsel to read the transcript into the record?
        Live testimony? A combination of transcript and live testimony? Is a trial by jury requested?
        During the COVID-19 pandemic, will witnesses be appearing telephonically or by
        videoconference?

        At least 10 days before the pretrial conference, counsel shall meet and confer and execute
        necessary documents listed below. Counsel shall meet in person at a mutually agreeable time and
        location.

        At the meet and confer, the parties shall:

             1. Prepare a Joint Statement of the Case.

             2. Prepare a Joint Witness List, excluding impeachment or rebuttal witnesses, with accurate
                 time estimates.

        Witness lists should not be exaggerated. Only witnesses that a party expects to actually call should
        be listed, with a brief synopsis of the proposed testimony. In addition to the list contained in the
        statements, each list should also be prepared in the form attached as follows. Witnesses should be
        listed last name first. Titles (e.g. Dr., Officer) should be placed after the comma following the last
        name. This is so that lists can be sorted correctly.

        As noted above, counsel should include in their witness list the amount of time they expect to
        spend on direct examination of each witness. The amount of time should be stated in minutes (not
        days or hours). Counsel must also be prepared to state at the conference how much time they will
        require for cross-examination of each witness identified on the other party's list.

        At the conference the Court will make separate arrangements for the preparation of a joint list, for
        jury selection purposes, of possible witnesses and persons or entities that might otherwise be
        mentioned at trial.




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        Format for Witness Lists

        Plaintiffs' List


                                Party
                                         Direct    Cross     Redirect
        Witness                 (P or                                 Total       Subject
                                         (min.)    (min.)    (min.)
                                D)

                                p                                                 Formation of
        Smith, John                      20        30           5        55
                                                                                  contract


        Brown, Nancy            p         15       20           5        40       Breach of contract


        White, Ron              p        70        10           15       95       Damages


                                p                                                 Formation of
        Black, Peter                     60        30           15       105
                                                                                  contract

        Garcia, Dr. Ruth        p         120      100       30          250      Damages

                           ~




                                p
                                                   -                              Arrest of Susan
       Rogers, Officer Ted               60        30           10       100
                                                                                  Petersen
        Defendant's List


                                Party
                                        Direct    Cross     Redirect
        Witness                 (P or                                Total       Subject
                                        (min.)    (min.)    (min.)
                                D)
                                                                                 Formation of
        Doe, Edward             D       20        10        5           35
                                                                                 contract


        Chang, Sam              D       75        30        15          120      Damages




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       I Martin, Dr. Eric                                                       I Damag~s



             3. Exchange exhibits and inspect photos and diagrams (to be submitted on the date of trial),
                 excluding those contemplated to be used for impeachment or rebuttal. Stipulate to all
                 facts amenable to stipulation.

             4. Prepare a Joint List of Controverted Issues. If all the parties fail to agree to an issue as
                 controverted or uncontroverted, then the issue is controverted. (Required for both jury
                 and non-jury trials).

             5. Exchange all motions in limine.

             6. Prepare voir dire questions for the Court to include when examining the panel.

             7. Execute the Statement of Compliance indicating counsel has complied with the Local
                 Rules and these Guidelines.

             8. Prepare joint proposed jury instructions (CACI only) and verdict forms, and exchange
                 disputed instructions.

        The above items, including opposition to motions in limine, trial briefs and the Statement of
        Compliance signed by all counsel, shall be submitted to the Complex Civil Litigation Coordinator
        no later than noon on the 1st court day before the date set for trial, or such other time and
        date set by the Court.


  XIII.    TRIALS - GENERALLY

             1. General Matters - the following applies to all trials Gory and non-jury):

            a.       Except for the afternoon devoted to motions and case management conferences, jury
                     trials generally will proceed four days a week as follows: Monday through Thursday
                     (9:00 a.m. to 4:30 p.m.), Court trials may also proceed on Friday, and counsel in jury
                     trials may be required to appear on Friday for proceedings that do not require the jury.
                     The Court will provide the parties, generally at the conclusion of the Mandatory
                     Settlement Conference, a proposed trial schedule.




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            b.       Jury deliberations will proceed five days a week, from 9:00 a.m. to 4:30 p.m., unless
                     otherwise specified by the Court.

            c.       Trial attorneys must be in the courtroom 30 minutes before the start of each morning
                     session, unless another time is agreed upon by the Court. Counsel should expect that
                     the court will take appropriate action if counsel is late for any appearance and does not
                     have a justification for a late appearance.

            d.       Before rearranging tables or other courtroom furniture, or installing equipment such as
                     projectors or screens, permission must first be obtained from the bailiff or the Court.

            e.       Unless the Court expressly advises otherwise, counsel may not approach a witness who
                     is testifying to hand the witness exhibits, or to help the witness locate portions thereof,
                     without first obtaining the Court's permission.

            f.       Counsel must advise opposing counsel and the Court of the identity of each witness
                     intended to be called no later than 4:30 p.m. on the court day preceding the time for the
                     witness or witnesses to testify.

            g.       Counsel presenting their case shall be expected to have witnesses ready to call through
                     at least 4:30 p.m., and may be deemed to have rested their case if they are not prepared
                     to proceed. Counsel shall advise the Court immediately of any circumstances that may
                     prompt a request for a modification of the established trial schedule.

            h.       Counsel should advise the Court at the outset of the proceedings, or as soon as the issue
                     becomes apparent, of any legal issues or evidentiary matters that counsel anticipate will
                     require extended time for consideration or hearing outside the presence of the jury.

            1.       If during the course of trial, counsel wish to discuss a matter with the Court and
                     opposing counsel outside of the presence of the jury, counsel MUST advise the Court
                     of this request at the conclusion of the preceding court session and NOT immediately
                     before proceedings are scheduled to resume.

            j.       The amount of jury fees required to be posted in advance of a jury trial is $150.00.
                     (See Code Civ. Proc., § 631, subd. (b).) If a case settles after jury fees have been
                     deposited, the jury fees will not be returned unless the Court is notified of the
                     settlement by 2:00 p.m. on the court day preceding the trial date for which the deposit
                     was made.

            k.       The Court does not provide court reporters in complex civil cases.) See General Local
                     Rule 7.) If one or more parties privately arrange for court reporter services, the failure



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                     of such court reporter to appear will not be grounds for continuing or delaying a trial or
                     other proceedings.

            I.       Counsel must confer in advance of the trial, attempt to stipulate on as many issues and
                     facts as possible, and reduce all stipulations to writing. The written stipulation is filed
                     and during jury trials is read aloud into the record.

            m.       The Court strongly encourages the parties and senior attorneys to permit junior
                     lawyers to have an important role at trial, including the examination of witnesses.

             2. Documents

                 Unless the case was settled at the Mandatory Settlement Conference or dismissed in full
                 prior thereto, or unless otherwise ordered by the Court, the following items must be lodged
                 in the department of the trial judge or, if none, with the Complex Civil Coordinator, and
                 served on all other parties by noon on the last court day before the date set for trial:

                     a. all in limine motions and a list of the in limine motions;

                         (2) exhibit lists/indices, except impeachment exhibits;

                         (3) witness lists, except impeachment witnesses, and unusual scheduling problems;
                         each witness listed shall include a succinct (no more than one or two sentences)
                         statement of the general subject matter of the witness' testimony and an estimate of
                         the time that will be required for the direct examination of each such witness;

                         (4) jury instruction requests, except for instructions that cannot reasonably be
                         anticipated prior to trial;

                         (5) proposed special verdicts;

                         (6) any stipulations on factual or legal issues;

                        • (7) a concise, non-argumentative statement of the case to be read to the jury in jury
                          trials;

                         (8) trial briefs;

                         (9) the original of all deposition transcripts to be used during the course of the trial.
                         If counsel anticipates reading from the deposition transcript for any purpose other




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                         than impeachment, counsel must deliver to opposing counsel a written specification
                         of the pages and lines proposed to be read.

                 An extra copy of all the above documents (except deposition transcripts) shall be delivered
                 to the courtroom clerk on the morning of the trial for use by the clerk.

                Counsel seeking to display to the jury any exhibit which required time and equipment to
                observe, such as slides, transparencies, movies, videotapes and audiotapes, MUST make
                such exhibit available to opposing counsel for review prior to commencement of the
                session of court at which the exhibit will be used. Proceedings will not be delayed to
                permit such a review if the review has not occurred by the time court is scheduled to begin.

             3. Technology

                 Counsel must meet and confer regarding the use of computers, projectors, screens and
                 other forms of equipment for showing evidence to the jury or Court. Counsel must confer
                 with court staff regarding the placement and use of any such equipment.

             4. Stipulations

                 Before the commencement of trial, all counsel will be requested to stipulate:

                 1. At the commencement of each session of the Court, all parties, attorneys and jurors are
                    present unless otherwise indicated.

                 2. After the first occasion on which the jury has been admonished not to discuss or
                    prejudge the case in conformity with CCP § 611, the jury will be deemed to have been
                    so admonished at every subsequent recess or separation without the need for further
                    admonition; and

                3. Reporting of juror voir dire and jury instructions are waived.

             5. Opening and Closing Arguments

                a.       Counsel should avoid discussing routine matters of court procedure, such as the
                         sequence of trial, in opening statements and closing arguments. These matters will
                         be covered by the Court and need not be repeated by counsel.

                b.       Do not display charts, diagrams or proposed exhibits to the jury until they have
                         been shown to opposing counsel outside of the presence of the jury. If opposing
                         counsel indicates no objection, the exhibits or other object may be displayed to the


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                            jury without first requesting Court approval. If opposing counsel objects, the
                            exhibit or object may not be displayed without Court approval, which must be
                            requested outside the presence of the jury.

             6. Examination of Witnesses

                       1.   Objections: Counsel should only state the legal ground(s) of objection and, unless
                            the Court specifically requests explanation or argument, should refrain from
                            argument, elaboration, or any other form of extended objection-making. Counsel
                            may request permission to approach the side bar to present argument, but should
                            not approach unless and until the Court grants the request.

                      ii. When calling a witness to testify under Evidence Code section 776, do not
                          announce in the presence of the jury that the witness being called under this
                          provision or as a "hostile" or "adverse" witness. Simply proceed with the
                          examination of the witness; the Court will rule upon the applicability of section 776
                          only if such a ruling is required by an objection asserted by opposing counsel.

                      iii. Do not propose a stipulation to opposing counsel in the hearing of the jury unless
                           there is prior agreement of counsel.

             7. Transcripts

                1.          If counsel anticipates requesting a transcript of the testimony of any witness or
                            other proceedings during the course of trial, arrangements should be made with the
                            court reporter in advance so that arrangements can be made to obtain a second court
                            reporter if necessary.

                11.         If counsel requests any court reporter to prepare a transcript of any portion of the
                            proceedings, counsel MUST contemporaneously advise opposing counsel of the
                            request and of the precise portions that will be transcribed.

             8. Jury Trials

                1.          Motions in limirie and other trial-related preliminary motions (such as Evidence
                            Code § 402) must be submitted in writing before answering ready. Motions in
                            limine may be ruled on by the Court without hearing. Such motions should be brief
                            and should address specific subject matter. (See Amtower v. Photon Dynamics,
                            Inc., (2008) 158 Cal.App.4 th 1582.)

                11.         CACI instructions are to be used whenever feasible. Submit proposed instructions
                            in Word format. When reasonably possible, mark up the official version rather than
                            retyping so the changes are apparent to the Court and other counsel. The Court


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                         may send at least 4 "clean" sets of instructions provided by counsel into the jury
                         room. "Clean" means just the text of the instruction, as corrected. Plaintiff has the
                         primary, but not exclusive, responsibility to provide the "clean" sets, in binders.

                 111.    Counsel should consider stipulating that the determination as to which members of
                         the trial jury shall be alternates will be determined by random draw of names
                         immediately before deliberations commence. If counsel so stipulate, the size of the
                         panel selected at the outset of trial will be 12 plus the number of alternates expected
                         to be needed, with the peremptory challenges allotted to each side increased by the
                         number of jurors in excess of 12.

                 1v.     Hardship Requests - Requests by members of the panel to be excused on the ground
                         of undue hardship will be considered by the court prior to beginning voir dire
                         examination.

                 v.      Jury selection proceeds generally under the "6 pack" method, modified to fit the
                         case. Court and counsel will work out the management of voir dire in accordance
                         with Code of Civil Procedure section 225.5 to fit the circumstances of the case.
                         Counsel may submit specific juror questions for the Court to consider asking during
                         voir dire.

                 v1.     Voir dire examination will initially be directed to 18 or more members of the jury
                         panel seated in the jury box. Any of these 18 or more panel members excused for
                         cause will be replaced by additional panel members before peremptory challenges
                         begin. Peremptory challenges will then proceed, directed to the first 12 panel
                         members, who will be replaced by the next six panel members in order as any of
                         the 12 are peremptorily challenged. The peremptory challenges will continue until
                         the panel seated-in the jury box is reduced to 11 members, at which time additional
                         panel members (normally an additional seven) will be selected and examined prior
                         to resuming peremptory challenges. Whenever there are successive passes from all
                         parties who have not exhausted their challenges, or all parties exhaust their
                         challenges, the jury has been selected and will be sworn. The same process will
                         then continue for the selection of alternate jurors.

                 v11.    All challenges for cause will be heard out of the hearing of the jury panel.

                 viii.   The Court will initiate voir dire examination. Upon completion of the judge's
                         examination, counsel will have the right to examine the jurors within reasonable
                         time limits prescribed by the trial judge.




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                1x.      The Court preinstructs the jury once it is empaneled. CACI Instructions relating to
                         the basic responsibilities of the jurors, management of evidence and the like will be
                         given and, in most cases, repeated at the close of trial.

                x.       Objections of any kind are to be addressed to the Court (not to other counsel) with a
                         concise statement of the legal grounds. Argument on the objection without
                         invitation by the Court is not permitted. Advise the Court if argument is necessary
                         for the record.

                x1.      Make no references to charts, models, blowups or other demonstrative evidence in
                         front of the jury unless: (a) it is in evidence; (b) counsel have previously stipulated
                         the item is in evidence; or (c) you have leave of Court to make that reference.

                XII.     TRIAL EXHIBITS

                                a.       Introduction

                                      1. The electronic representations of such exhibits may be presented to
                                         the jury/Court as substitutes for the exhibits themselves. Counsel
                                         should keep in mind that one of the purposed of the complex project
                                         is to enhance the orderly presentation of evidence to the fact finder,
                                         and to maintain the record for potential post trial proceedings.

                                     ii. Exhibits may be in either electronic or physical form. Physical
                                         exhibits are not required to be presented in a digitized format.
                                         However, at the conclusion of trial the court may order that a photo
                                         be substituted and stored electronically in lieu of the physical
                                         evidence.

                                     111. Parties must exchange exhibits excluding documents for bona fide
                                          impeachment at the Pre-Trial Meet and Confer. Each counsel must
                                          provide the Court with an EXHIBIT LIST describing each exhibit,
                                          indicating whether the exhibit is to be admitted into evidence by
                                          stipulation.

                                     iv. Counsel must submit to the Clerk original negotiable instruments for
                                         cancellation pursuant to Rule 3.1806, unless otherwise ordered by
                                         the Court.




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                                b. Submission of Exhibits

                                       1.   Counsel must provide the Court with the exhibits, plus one copy.
                                            Exhibits will be marked by the Clerk, as they are identified, m
                                            chronological order. Exhibits shall not be pre-marked by counsel.

                                      11.   Enlargements and transparencies normally will not be admitted into
                                            evidence. Any large exhibit or transparency should be accompanied
                                            by an 8½ x I I version to which the exhibit tag is attached. Models,
                                            etc. should be photographed if proposed as exhibits. Be sure to
                                            discuss evidentiary issues of this nature with opposing counsel.

                                      iii. Responses to interrogatories and requests for admission that are
                                           expected to be used at trial must be extracted and lodged with the
                                           Court, and a copy given to counsel, at the appropriate time. In jury
                                           trials, questions and answers must be read into the record, subject to
                                           proper objections. The extracts may be submitted as exhibits in a
                                           Court trial. In no case will entire sets of written discovery
                                           documents be lodged or received.

                                      iv. Before trial commences, counsel will be asked to sign a stipulation
                                          for the return and maintenance of exhibits when the trial is
                                          completed. Plaintiff will maintain joint exhibits, unless otherwise
                                          stipulated.

                                c. Use of Deposition Transcripts

                                       i. Deposition transcripts that are expected to be used at trial must be
                                          lodged with the Court on the first day of trial. Pertinent provisions
                                          must be read into the record in jury trials, subject to proper
                                          objections. In Court trials, extracts may be submitted and marked as
                                          exhibits. In no case will an entire transcript be received.




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CURRICULUM VITAE FOR JUDGE SUNIL R. KULKARNI

                                         Judge Sunil R. Kulkarni
                                       Superior Court of California
                                          County of Santa Clara
                                          191 North First Street
                                        San Jose, California 95113
                                              Department 1
                                              408-882-2110

JUDICIAL CAREER:
Tenure
Appointed to the Superior Court on October 4, 2013
Elected to 6-year terms (unopposed): 2016

Assignments
Complex Civil Litigation: November 2020 - present
Assistant Supervising Judge (civil): January 2021 - present
Civil Case Manager (pretrial case management): 2019-20
Civil Trials: 2018
Appellate Divis.ion: 2017-18
Criminal Calendars/Trials: 2013-2017

External Committee Roles:
Member, CJER Qualifying Ethics 8 Workgroup: 2021 (upcoming)
Member, CJER Ethics and Fairness Curriculum Committee: 2015-2020
Member, Santa Clara County Bar Association Fairness/Equity Committee: 2018

Teaching:
Faculty Member, CJER New Judge Orientation: 2021 (upcoming)
Faculty Member, CJER Qualifying Ethics: 2019-21
Trial Advocacy, Stanford Law School: 2014-20
Appellate Advocacy, Stanford Law School: 2020-21
Appellate Advocacy, Giles R. Rich Moot Court (patent law): 2014-20

Pub Iications:
Editor, CEB (various publications): 2017, 2019-20
Editor, CJER (various publications): 2017, 2019-20
Numerous articles, San Francisco Daily Journal: 2014-16
Article regarding tentative rulings, California Litigation: 2019



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Awards:
Trailblazer Award, South Asian Bar Association of Northern California: 2014
Champion of Diversity, Minority Bar Coalition: 2016

PAST EXPERIENCE:
Senior In-House Litigation Counsel, University of California Office of the President: 2011-2013

Morrison & Foerster LLP (specializing in complex intellectual property, securities, and business
litigation):
     • Partner: 2005-2010
     • Associate: 1998-2004
     • Seconded to Apple Inc.'s in-house patent litigation group for five months (September 2009 -
         January 2010) to supervise patent cases.

Judicial Law Clerk, Eastern District of California (Judge Oliver W. Wanger): 1996-97

EDUCATION:
University of California, Hastings College of the Law: J.D., 1996
University of California, Berkeley: B.S. (mechanical engineering), I 993




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CURRICULUM VITAE FOR JUDGE PATRICIA M. LUCAS

                                     Judge Patricia M. Lucas
                                   Superior Court of California
                                     County of Santa Clara
                                     191 North First Street
                                   San Jose, California 95113
                                         Department 3
                                        408-882-2130


JUDICIAL CAREER:
               Appointed to the Superior Court December 20, 2002
               Elected to 6-year terms (unopposed): 2004, 2010, 2016
               Complex Civil Litigation, 2020-
               Presiding Judge, 2017-18
               Assistant Presiding Judge, 2015-16
               Civil Trials, 2013, 2016
               Civil Pretrial Case Management, 2011-12, 2014-15
               Civil Discoveryffrials, 2004
               Supervising Judge, Civil Division, 2014-15
               Family Law, 2005-08
               Supervising Judge, Family Division, 2006-08
               Appellate Division, 2004, 2013
               Presiding Judge, Appellate Division, 2013
               Criminal Trials, 2003, 2009-10
               Temporary assignment on the Sixth District Court of Appeal, 2011

                         Chair, Trial Court Presiding Judges Advisory Committee, 2017-18
                         Member, Judicial Council of California, 2017-18 .
                         B. E. Witkin Judicial College of California: Dean, 2017-18
                                Associate dean, 2015-16
                                Faculty, 2004 to present
                                Seminar leader, 2005-06 and 2009-2014
                         Faculty/Seminar Leader, New Judge Orientation, 2005 to present
                         Faculty, CJER Civil Law Institute, 2006 to present
                         Member, CJER New Judge Educ./Judicial College Steering Committee;
                                New Judge Orientation Working Group;
                                Experienced Judge Working Group (chair)
                         Member, CJER Governing Committee, 2005, advisory member, 2015-18
                         Member, Judicial Council Civil & Small Claims Advisory Committee,



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                         2006-2015 (chair, 2013-15)
                         Member and vice-chair, Judicial Council Court Facilities Advisory
                         Committee, 2011 to present       J
                         Member, Elkins Family Law Task Force and Implementation Task Force,
                         2008-12
                         Instructor, National institute for Trial Advocacy, 1990 to present

                         Private practice, complex civil litigation, 1979-2003
                         University of California, Berkeley, J.D.
                         Rice University, B.A.




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 EXHIBIT B
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 9 Facsimile:     (213) 687-3702

10 Attorneys for Defendant CRISIS24
   PROTECTIVE SOLUTIONS, LP
11

12                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

13                                    COUNTY OF SANTA CLARA

14

15 RUSTIN FOX and GABRIELE SANTI,                       Case No. 23CV418864
   individuals, on behalf of all other persons
16 similarly situated,                                  ANSWER AND GENERAL DENIAL TO
                                                        PLAINTIFFS’ CLASS ACTION
17                  Plaintiffs,                         COMPLAINT

18          vs.                                         Judge:                 Amber S. Rosen
                                                        Dept:                  Dept. 16
19 CRISIS24 PROTECTIVE SOLUTIONS, LP, a
   Limited Partnership; and DOES 1-50,                  Action Filed:          July 7, 2023
20 inclusive.

21                  Defendants.

22

23          Defendant CRISIS24 PROTECTIVE SOLUTIONS, LP, (“Defendant”), hereby answers

24 the Complaint (“Complaint”) of Plaintiffs RUSTIN FOX and GABRIELE SANTI (“Plaintiffs”) as

25 follows:

26                                         GENERAL DENIAL

27          Pursuant to California Code of Civil Procedure section 431.30(d), Defendant generally

28 denies each and every material allegation in each of the causes of action asserted in Plaintiffs’

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 1 Complaint. Defendant further denies that any of Plaintiffs’ rights were violated, that Plaintiffs

 2 have suffered any damages whatsoever as a consequence of Defendant’s actions, and that

 3 Plaintiffs are adequate representatives of the putative class referenced in the Complaint.

 4 Defendant also denies that Plaintiffs are entitled to any legal or equitable relief whatsoever.

 5                                     AFFIRMATIVE DEFENSES

 6          Without admitting any of the allegations in Plaintiffs’ Complaint, Defendant asserts the

 7 following separate and independent affirmative defenses. Defendant does not, by stating the

 8 matters set forth in these defenses, allege or admit that it has the burden of proof and/or persuasion

 9 with respect to any of these matters, and does not assume the burden of proof or persuasion as to

10 any matters as to which Plaintiffs have the burden of proof or persuasion.

11                                 FIRST AFFIRMATIVE DEFENSE

12                                        (Statute of Limitations)

13          1.      Each cause of action in Plaintiffs’ Complaint is barred, in whole or in part, by the

14 applicable statute of limitations, including but not limited to California Government Code Section

15 12960, and California Code of Civil Procedure sections 337, 338, 339, 340 and/or 343,

16 Government Code sections 12960 and 12965, and/or California Business and Professions Code

17 section 17208.

18                                SECOND AFFIRMATIVE DEFENSE

19                                                (Waiver)

20          2.      As a separate and distinct defense to the Complaint, Defendant is informed and

21 believe that a reasonable opportunity for investigation and discovery will reveal, and on that basis

22 allege, that the Complaint, and each cause of action set forth therein, is barred by doctrine of

23 waiver, in whole or in part.

24                                 THIRD AFFIRMATIVE DEFENSE

25                                                (Laches)

26          3.      As a separate and distinct defense to the Complaint, Defendant is informed and

27 believe that a reasonable opportunity for investigation and discovery will reveal, and on that basis

28

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 1 allege, that the Complaint, and each cause of action set forth therein, is barred by the equitable

 2 doctrine of laches, in whole or in part.

 3                                 FOURTH AFFIRMATIVE DEFENSE

 4                                               (Consent)

 5          4.     As a separate and distinct defense to the Complaint, Defendant is informed and

 6 believe that a reasonable opportunity for investigation and discovery will reveal, and on that basis

 7 allege, that the Complaint, and each cause of action set forth therein, is barred by the doctrine of

 8 consent, in whole or in part.

 9                                  FIFTH AFFIRMATIVE DEFENSE

10                                               (Estoppel)

11          5.     As a separate and distinct defense to the Complaint, Defendant is informed and

12 believes that a reasonable opportunity for investigation and discovery will reveal, and on that basis

13 alleges, that the Complaint, and each cause of action set forth therein, or some of them, is barred

14 by the equitable doctrine of estoppel.

15                                  SIXTH AFFIRMATIVE DEFENSE

16                                            (Unclean Hands)

17          6.     As a separate and distinct defense to the Complaint, Defendant is informed and

18 believes that a reasonable opportunity for investigation and discovery will reveal, and on that basis

19 alleges, that the Complaint, and each cause of action set forth therein, or some of them, is barred

20 by the equitable doctrine of unclean hands.

21                                 SEVENTH AFFIRMATIVE DEFENSE

22                                      (Avoidable Consequences)

23          7.     As a separate and distinct defense to the Complaint, each of Plaintiffs’ causes of

24 action is barred, in whole or in part, by the doctrine of avoidable consequences, including because

25 Plaintiffs failed to exercise reasonable care and diligence to avoid harm or loss that reasonably

26 could have been prevented by such reasonable efforts, including utilizing Defendant’s complaint

27 procedures.

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 1                                 EIGHTH AFFIRMATIVE DEFENSE

 2                                          (Unjust Enrichment)

 3          8.      As a separate and distinct defense to the Complaint, Defendant alleges that

 4 Plaintiffs and other putative class members would be unjustly enriched if allowed to recover on the

 5 Complaint.

 6                                  NINTH AFFIRMATIVE DEFENSE

 7                                                  (Offset)

 8          9.      As a separate and distinct defense to the Complaint, to the extent Plaintiffs engaged

 9 in dishonest, willful or grossly negligent conduct, Defendant is/was entitled to set off any losses due

10 to such conduct against Plaintiffs’ wages or other compensation and cannot be liable for damages

11 and/or penalties based on allegedly unpaid wages that were/will be set off.

12                                 TENTH AFFIRMATIVE DEFENSE

13                                     (Failure to Mitigate Damages)

14          10.     As a separate and distinct defense to the Complaint, without admitting any

15 wrongful conduct by Defendant, Plaintiffs are barred and precluded from any relief of their

16 Complaint to the extent that Plaintiffs have failed to mitigate or reasonably attempt to mitigate

17 their damages, if any, as required by law.

18                               ELEVENTH AFFIRMATIVE DEFENSE

19                                          (Federal Preemption)

20          11.     As a separate and distinct defense to the Complaint, Defendant alleges that, to the

21 extent Plaintiffs’ claims involve conduct that is, or seek remedies that are, governed or regulated

22 by federal law, such claims are preempted.

23                               TWELFTH AFFIRMATIVE DEFENSE

24                                           (Bona Fide Dispute)

25          12.     As a separate and distinct defense to the Complaint, Defendant alleges that the

26 Complaint fails to state a claim for recovery of wages, penalties, or other relief in that (1) there

27 was a bona fide, good faith dispute as to Defendant’s obligations under any applicable Labor Code

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 1 provisions, including, without limitations Labor Code section 203, and (2) Defendant did not

 2 willfully violate such Labor Code provisions.

 3                             THIRTEENTH AFFIRMATIVE DEFENSE

 4                                              (Good Faith)

 5          13.     As a separate and distinct defense to the Complaint, any violation of the Labor

 6 Code or an Order of the Industrial Welfare Commission or other applicable law was an act or

 7 omission made in good faith, and Defendant had reasonable grounds for believing that their wage

 8 and hour practices and other applicable policies and procedures complied with applicable laws and

 9 that any act or omission was not a violation of the Labor Code or any Order of the Industrial

10 Welfare Commission or other applicable law.

11                            FOURTEENTH AFFIRMATIVE DEFENSE

12                              (Good Faith Precludes Punitive Damages)

13          14.     As a separate and distinct defense to the Complaint, without admitting any

14 wrongful conduct by Defendant, Defendant made good faith efforts to comply with the law,

15 which precludes any punitive damages claims. None of Defendant’s acts were malicious, in bad

16 faith, or were motivated by ill will or fraud, Defendant did not authorize or ratify such alleged

17 acts, Defendant had no advance knowledge of the unfitness of any employee or employees who

18 allegedly committed such an act, and/or Defendant did not employ any such employee or

19 employees with a conscious disregard of the rights or safety of others.

20                              FIFTEENTH AFFIRMATIVE DEFENSE

21                               (Purported Violations Are De Minimis)

22          15.     As a separate and distinct defense to the Complaint, to the extent Plaintiffs seek to

23 recover penalties for alleged violations of the Labor Code, including without limitation alleged

24 violations concerning overtime and meal and rest periods, Plaintiffs cannot maintain such claims

25 because such alleged violations, if any, are de minimis.

26

27

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 1                             SIXTEENTH AFFIRMATIVE DEFENSE

 2                                         (Lack of Knowledge)

 3          16.    As a separate and distinct defense to the Complaint, Plaintiffs cannot recover for

 4 alleged off-the-clock work (which Defendant denies) when Defendant lacked actual or

 5 constructive knowledge of the alleged off-the-clock work.

 6                           SEVENTEENTH AFFIRMATIVE DEFENSE

 7                                   (Entitlement to Credit or Setoff)

 8          17.    As a separate and distinct defense to the Complaint, Defendant alleges that,

 9 assuming Plaintiffs or other putative class members are entitled to any recovery, Defendant is

10 entitled to a credit or setoff, including without limitation for amounts erroneously overpaid to

11 Plaintiffs or such other employees.

12                            EIGHTEENTH AFFIRMATIVE DEFENSE

13                                           (Excessive Fines)

14          18.    As a separate and distinct defense to the Complaint, Defendant alleges that

15 imposition of civil penalties sought by the Complaint would result in excessive fines in violation

16 of article I, sections 7 and 17 of the California Constitution and the Eighth and Fourteenth

17 Amendments to the United States Constitution. See People ex rel. Lockyer v. R.J. Reynolds

18 Tobacco Co., 37 Cal. 4th 707 (2005).

19                            NINETEENTH AFFIRMATIVE DEFENSE

20                                             (Due Process)

21          19.    As a separate and distinct defense to the Complaint, Plaintiffs’ claims for punitive

22 damages are barred by, without limitation, California law, the due process clauses of the Fifth and

23 Fourteenth Amendments to the United States Constitution, and/or other constitutional and

24 statutory protections.

25                             TWENTIETH AFFIRMATIVE DEFENSE

26                              (Insufficient Facts for Punitive Damages)

27          20.    As a separate and distinct defense to the Complaint, without admitting any

28 wrongful conduct by Defendant, Plaintiffs are not entitled to recover punitive damages because

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 1 Plaintiffs have failed to allege facts sufficient to state a claim for such damages, and the statutory

 2 requirements for an award of punitive damages pursuant to Civil Code section 3294 are not met.

 3                            TWENTY-FIRST AFFIRMATIVE DEFENSE

 4                              (Insufficient Facts for Emotional Distress)

 5          21.     As a separate and distinct defense to the Complaint, without admitting any

 6 wrongful conduct by Defendant, Plaintiffs are not entitled to recover emotional distress damages

 7 because Plaintiffs have failed to allege facts sufficient to state a claim for such damages,

 8 including, but not limited to, facts sufficient to constitute extreme or outrageous conduct on the

 9 part of Defendant.

10                          TWENTY-SECOND AFFIRMATIVE DEFENSE

11                                  (On-Duty Meal Period Agreements)

12          22.     As a separate and distinct defense to the Complaint, the claims in the Complaint

13 pertaining to meal periods fail to the extent that Plaintiffs or other putative class members signed

14 valid on-duty meal period agreements and were provided with on-duty meal periods.

15                           TWENTY-THIRD AFFIRMATIVE DEFENSE

16                            (Failure to Comply with Employer Directives)

17          23.     As a separate and distinct defense to the Complaint, each cause of action is barred,

18 in whole or in part, by Labor Code section 2856, to the extent that Plaintiffs failed substantially to

19 comply with Defendant’s directions and such failure proximately caused the alleged losses for

20 which Plaintiffs seek relief.

21                          TWENTY-FOURTH AFFIRMATIVE DEFENSE

22                                 (Labor Code Section 226 – No Injury)

23          24.     As a separate and distinct defense to the Complaint, Plaintiffs’ claims based on

24 alleged violation of California Labor Code section 226 are barred because Plaintiffs and other

25 putative class members have not suffered any injury from any alleged failure by Defendant to

26 comply with California Labor Code section 226.

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 1                            TWENTY-FIFTH AFFIRMATIVE DEFENSE

 2                 (Labor Code Section 226 – Not a “Knowing and Intentional Failure”)

 3           25.     As a separate and distinct defense to the Complaint, Defendant alleges that, even

 4 assuming arguendo that Plaintiffs and other putative class members were not provided with proper

 5 itemized statements of wages and deductions, any failure to comply with California Labor Code

 6 section 226 was not a “knowing and intentional failure” under California Labor Code section

 7 226(a).

 8                            TWENTY-SIXTH AFFIRMATIVE DEFENSE

 9                  (Failure to Take Meal and Rest Breaks Provided Under the Law)

10           26.     As a separate and distinct defense to the Complaint, Defendant alleges that

11 Plaintiffs and other putative class members have no right to a premium payment under California

12 Labor Code section 226.7 to the extent they (1) failed to take breaks that were provided to them in

13 compliance with California law, (2) chose not to take the rest breaks that were authorized and

14 permitted, or (3) waived their right to meal breaks under California Labor Code section 512(a).

15                          TWENTY-SEVENTH AFFIRMATIVE DEFENSE

16           27.     As a separate and distinct defense to the Complaint, Defendant alleges that any

17 claim under the Unfair Competition Law is barred, in whole or in part, because Defendant’s

18 business acts and practices were not unlawful, unfair, or fraudulent.

19                           TWENTY-EIGHTH AFFIRMATIVE DEFENSE

20                             (Failure to Exhaust Administrative Remedies)

21           28.     As a separate and distinct affirmative defense, Defendant alleges that Plaintiffs are

22 not entitled to recover civil penalties on behalf of themselves or any putative class members to the

23 extent that Plaintiffs failed to exhaust their administrative remedies.

24                            TWENTY-NINTH AFFIRMATIVE DEFENSE

25           29.     As a separate and distinct affirmative defense, Defendant alleges that the

26 Complaint, and at least some of the alleged causes of action or claims contained therein, is barred,

27 in whole or in part, because, to the extent Plaintiffs seek relief under the Fair Employment and

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 1 Housing Act (FEHA), their allegations are not identical to, or within the scope of, any timely

 2 administrative complaint filed by Plaintiffs, or on Plaintiffs’ behalf.

 3                               THIRTIETH AFFIRMATIVE DEFENSE

 4                                         (Class Action not Proper)

 5          30.     As a separate and distinct defense to the Complaint, Defendant alleges that the

 6 Complaint, and each cause of action set forth therein, are barred because Plaintiffs cannot satisfy

 7 the requirements for the maintenance of a class, representative, or collective action, including, but

 8 not limited to, ascertainability, predominance, adequacy of representation by the proposed class

 9 representatives, and superiority (under the requirements of California Code of Civil Procedure

10 section 382), and Defendant further alleges that public policy considerations do not favor such a

11 certification.

12                             THIRTY-FIRST AFFIRMATIVE DEFENSE

13                                            (Exclusive Remedy)

14          31.     As a separate and distinct defense to the Complaint, Defendant alleges that the

15 Complaint, and at least some of the alleged causes of action or claims contained therein, are

16 barred, in whole or in part, to the extent Plaintiffs have failed to pursue the exclusive remedies of

17 the California Workers’ Compensation Act for any alleged physical or emotional injury arising

18 from their employment.

19                            THIRTY-SECOND AFFIRMATIVE DEFENSE

20                                         (Reduction of Penalties)

21          32.     As a separate and distinct affirmative defense, Defendant alleges that in the event

22 any penalties are imposed based on any of the claims alleged, such penalties should be reduced to

23 the full extent necessary to avoid imposing any penalties that are unjust, arbitrary and oppressive,

24 or confiscatory.

25                             THIRTY-THIRD AFFIRMATIVE DEFENSE

26                                   (Failure to State a Cause of Action)

27          33.     As a separate and distinct defense to the Complaint, Plaintiffs’ Complaint, and each

28 claim for relief contained therein, fail to state facts sufficient to constitute a cause of action.

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 1                          THIRTY-FOURTH AFFIRMATIVE DEFENSE

 2                                  (Not Compensable Working Time)

 3          34.     As a separate and distinct affirmative defense, Defendant alleges that the Complaint

 4 is barred, in whole or in part, because some or all of the time for which Plaintiffs seek to recover is

 5 not compensable working time under California law.

 6                            THIRTY-FIFTH AFFIRMATIVE DEFENSE

 7                             (Expenses Not Incurred in Course of Duties)

 8          35.     As a separate and distinct affirmative defense, Defendant alleges that the Complaint

 9 is barred, in whole or in part, because Plaintiffs cannot seek recovery based on alleged

10 unreimbursed business expenses (which Defendant denies) that were not incurred in direct

11 consequence of the discharge of their or other employees’ duties, or in obedience to the directions

12 of Defendant.

13                            THIRTY-SIXTH AFFIRMATIVE DEFENSE

14                                   (Preliminary/Postliminary Work)

15          36.     As a separate and distinct affirmative defense, Defendant alleges that the Complaint

16 is barred, in whole or in part, because if any amount of time worked was unpaid, any such work

17 was preliminary or postliminary in nature.

18                          THIRTY-SEVENTH AFFIRMATIVE DEFENSE

19                     (Other Actions Pending/Exclusive Concurrent Jurisdiction)

20          37.     As a separate and distinct affirmative defense, Defendant alleges that the Complaint

21 is barred, in whole or in part, including without limitation on the basis of the doctrine of exclusive

22 concurrent jurisdiction, based on the pendency of other putative class action litigation against

23 Defendant asserting the same or substantially the same factual allegations and claims asserted in

24 the Complaint.

25                           THIRTY-EIGHTH AFFIRMATIVE DEFENSE

26                                   (Res Judicata/Claim Preclusion)

27          38.     As a separate and distinct affirmative defense, Defendant alleges that the Complaint

28 is or would be barred, in whole or in part, by the doctrines of res judicata and claim preclusion,

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 1 including without limitation based on judgments that may be entered in other lawsuits against

 2 Defendant asserting the same or substantially the same factual allegations and claims as are

 3 asserted in the Complaint.

 4                            THIRTY-NINTH AFFIRMATIVE DEFENSE

 5                                     (Unavailability of Jury Trial)

 6          39.     As a separate and distinct affirmative defense, Plaintiffs’ demand for a jury trial is

 7 improper to the extent their claims are properly tried to the Court, not to a jury.

 8                               FORTIETH AFFIRMATIVE DEFENSE

 9                                          (Duplicative Claims)

10          40.     As a separate and distinct affirmative defense, the Complaint, and at least some of

11 the alleged causes of action or claims contained therein, is barred, in whole or in part, to the extent

12 Plaintiffs’ claims are duplicative, because Plaintiffs cannot receive multiple recovery for the same

13 duplicative claims.

14                             FORTY-FIRST AFFIRMATIVE DEFENSE

15                                      (Own Conduct/Third Party)

16          41.     As a separate and distinct defense to the Complaint, each of Plaintiffs’ individual

17 causes of action are barred, in whole or in part, because Plaintiffs have not sustained any injury or

18 damage by reason of any act or omission of Defendant, or if Plaintiffs were damaged, the damage

19 or injury was due wholly to Plaintiffs’ own conduct or, in the alternative, to acts undertaken by

20 third parties.

21                           FORTY-SECOND AFFIRMATIVE DEFENSE

22                                           (Health and Safety)

23          42.     As a separate and distinct affirmative defense, Defendant asserts that any alleged

24 adverse employment actions were lawful and not discriminatory because, even with reasonable

25 accommodations, Plaintiffs were unable to perform their essential job duties without endangering

26 their own health or safety or the health or safety of others.

27

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 1                            FORTY-THIRD AFFIRMATIVE DEFENSE

 2                                            (Undue Hardship)

 3          43.     As a separate and distinct affirmative defense, Plaintiffs’ claims are barred to the

 4 extent that accommodating Plaintiffs’ alleged disabilities would have created an undue hardship to

 5 the operation of Defendant’s business.

 6                           FORTY-FOURTH AFFIRMATIVE DEFENSE

 7                             (Requested Accommodations Unreasonable)

 8          44.     As a separate and distinct affirmative defense, the Complaint, and at least some of

 9 the alleged causes of action or claims contained therein, is barred, in whole or in part, because to

10 the extent Plaintiffs’ requests for accommodation were denied, the requested accommodations

11 were unreasonable.

12                             FORTY-FIFTH AFFIRMATIVE DEFENSE

13                         (Plaintiffs Could Not Perform Essential Functions)

14          45.     As a separate and distinct affirmative defense, the Complaint, and at least some of

15 the alleged causes of action or claims contained therein, is barred, in whole or in part, to the extent

16 that no reasonable accommodation existed that would have enabled Plaintiffs to perform the

17 essential functions of their position.

18                             FORTY-SIXTH AFFIRMATIVE DEFENSE

19                              (Failure to Engage in Interactive Process)

20          46.     As a separate and distinct affirmative defense, the Complaint, and at least some of

21 the alleged causes of action or claims contained therein, is barred, in whole or in part, to the extent

22 Plaintiffs failed to request any reasonable accommodation(s) and/or failed to reasonably and in

23 good faith engage in the interactive process.

24                          FORTY-SEVENTH AFFIRMATIVE DEFENSE

25                                     (Reasonable Accommodation)

26          47.     As a separate and distinct affirmative defense, the Complaint, and at least some of

27 the alleged causes of action or claims contained therein, is barred, in whole or in part, because

28 Defendant reasonably accommodated Plaintiffs.

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 1                           FORTY-EIGHTH AFFIRMATIVE DEFENSE

 2                                          (Business Necessity)

 3          48.     As a separate and distinct affirmative defense, and without admitting any wrongful

 4 conduct, Defendant asserts they acted in good faith and any decisions made with respect to

 5 Plaintiffs were done for legitimate, non-discriminatory, non-retaliatory, and non-pretextual

 6 business-related reasons.

 7                             FORTY-NINTH AFFIRMATIVE DEFENSE

 8                                             (Public Policy)

 9          49.     As a separate and distinct affirmative defense, the Complaint, and at least some of

10 the alleged causes of action or claims contained therein, is barred, in whole or in part, because

11 none of Defendant’s acts, omissions, or conduct were in contravention of public policy.

12                               FIFTIETH AFFIRMATIVE DEFENSE

13                                   (Same Decision/Mixed Motives)

14          50.     As a separate and distinct affirmative defense, and without admitting any

15 wrongdoing by Defendant, under the Fair Employment and Housing Act, even if Defendant acted

16 with the motive alleged by Plaintiffs, which it denies, Defendant still would have taken the same

17 actions complained of by Plaintiffs in the Complaint based on legitimate, non-discriminatory, non-

18 retaliatory, and non-pretextual reasons unrelated to any protected characteristic alleged by

19 Plaintiffs or any protected activity undertaken by Plaintiffs.

20                             FIFTY-FIRST AFFIRMATIVE DEFENSE

21                                          (Compliant Policy)

22          51.     As a separate and distinct defense to the Complaint, the Complaint, and at least

23 some of the alleged causes of action or claims contained therein, is barred, in whole or in part, to

24 the extent Plaintiffs seek punitive damages, because at all relevant times there was a written policy

25 that specifically forbids discriminatory, retaliatory and/or harassing practices against employees,

26 and this policy was implemented in good faith.

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                                          ANSWER TO COMPLAINT
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 1                            FIFTY-SECOND AFFIRMATIVE DEFENSE

 2                                         (Preventive Measures)

 3          52.     As a separate and distinct defense to the Complaint, the Complaint, and at least

 4 some of the alleged causes of action or claims contained therein, is barred, in whole or in part, to

 5 the extent Plaintiffs unreasonably failed to take advantage of preventative and/or corrective

 6 opportunities, and to the extent Plaintiffs unreasonably failed to exhaust other internal remedies

 7 provided by Defendant.

 8                             FIFTY-THIRD AFFIRMATIVE DEFENSE

 9                                   (Attorneys’ Fees Not Warranted)

10          53.     As a separate and distinct defense to the Complaint, the Complaint, and at least

11 some of the alleged causes of action or claims contained therein, is barred, in whole or in part,

12 because Plaintiffs have failed to state facts sufficient to state a claim for which attorneys’ fees

13 and/or costs may be granted under the FEHA or any other statutory or common law provision.

14                             ADDITIONAL AFFIRMATIVE DEFENSES

15          Defendant has alleged the affirmative defenses of which they are currently aware.

16 Defendant may become aware of additional affirmative defenses available to them after further

17 discovery, or investigation. Accordingly, Defendant reserves the right to assert additional

18 affirmative defenses once such defenses have been identified.

19                                                PRAYER

20          WHEREFORE, Defendant prays as follows:

21          1.      That Plaintiffs’ Complaint, and each cause of action therein, be dismissed with

22 prejudice;

23          2.      That Plaintiffs take nothing by the Complaint;

24          3.      That Defendant be awarded their costs incurred herein; and

25          4.      That the Court grant Defendant such other relief as it deems just and proper.

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 1 DATED: September 27, 2023           MUNGER, TOLLES & OLSON LLP

 2

 3
                                       By:         /s/ Joseph D. Lee
 4                                            JOSEPH D. LEE

 5                                     Attorneys for Defendant CRISIS24 PROTECITIVE
                                       SERVICES, LP
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   PROTECTIVE SOLUTIONS, LP
11

12                        SUPERIOR COURT OF THE STATE OF CALIFORNIA

13                                   COUNTY OF SANTA CLARA

14

15 RUSTIN FOX and GABRIELE SANTI,                    Case No. 23CV418864
   individuals, on behalf of all other persons
16 similarly situated,                               PROOF OF SERVICE

17                   Plaintiffs,                     Judge:             Amber S. Rosen
                                                     Dept:              Dept. 16
18             vs.
                                                     Action Filed:      July 7, 2023
19 CRISIS24 PROTECTIVE SOLUTIONS, LP, a
   Limited Partnership; and DOES 1-50,
20 inclusive.

21                   Defendants.

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                                            PROOF OF SERVICE
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 1                                           PROOF OF SERVICE

 2                 Rustin Fox and Gabriele Santi, et al. v. Crisis24 Protective Solutions, LP
                         Santa Clara County Superior Court Case No. 23CV418864
 3
      STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 4
           At the time of service, I was over 18 years of age and not a party to this action. I am
 5 employed in the County of Los Angeles, State of California. My business address is 350 South
   Grand Avenue, Fiftieth Floor, Los Angeles, CA 90071-3426.
 6
           On September 27, 2023, I served true copies of the following document(s) described as
 7 ANSWER AND GENERAL DENIAL TO PLAINTIFFS’ CLASS ACTION COMPLAINT
   on the interested parties in this action as follows:
 8
   Norman B. Blumenthal                                            Attorneys for Plaintiffs
 9 norm@bamlawca.com                                               Rustin Fox and Gabriele Santi
   Kyle R. Nordrehaug
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17         BY MAIL: I enclosed the document(s) in a sealed envelope or package addressed to the
   persons at the addresses listed in the Service List and placed the envelope for collection and
18 mailing, following our ordinary business practices. I am readily familiar with the firm’s practice
   for collecting and processing correspondence for mailing. On the same day that correspondence is
19 placed for collection and mailing, it is deposited in the ordinary course of business with the United
   States Postal Service, in a sealed envelope with postage fully prepaid.
20
           BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the
21 document(s) to be sent from e-mail address Seana.Flanagin@mto.com to the persons at the e-mail
   addresses listed in the Service List. I did not receive, within a reasonable time after the
22 transmission, any electronic message or other indication that the transmission was unsuccessful.

23           I declare under penalty of perjury under the laws of the State of California that the
      foregoing is true and correct.
24
               Executed on September 27, 2023, at Los Angeles, California.
25

26
                                                               /s/ Seana Flanagin
27                                                      Seana Flanagin
28

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                                              PROOF OF SERVICE
